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                   EXHIBIT B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                     :
UNITED STATES OF AMERICA                                             :
                                                                     :   22 Cr. 105 (DLC)
 – v. –                                                              :
                                                                     :
JAMES VELISSARIS,                                                    :
                                                                     :
 Defendant.                                                          :
                                                                     :
---------------------------------------------------------------------x




                                REPORT OF FATEN SABRY, PH.D.

                                            September 12, 2022




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I.     ASSIGNMENT AND SUMMARY OF ANALYSES

            1.      I have been retained by the Department of Justice (“DOJ”) in connection with the
 prosecution of James Velissaris regarding his management of and financial reporting of a mutual
 fund and a hedge fund as Chief Investment Officer of Infinity Q Capital Management LLC
 (“Infinity Q” or “IQ”) in United States of America v. James Velissaris (1:22-cr-00105, USDC
 SDNY). Infinity Q managed and ran two funds consisting of a mutual fund Diversified Alpha
 Fund (“DAF”) with a reported net asset value (“NAV”) of approximately $1.7 billion in
 February 2021 and a hedge fund Volatility Alpha Fund (“VAF”) with a reported NAV of
 approximately $1.4 billion in February 2021.1 I have been asked to analyze IQ’s valuation of
 over-the-counter (“OTC”) derivatives in DAF and VAF and review and assess the code, inputs
 and parameters that Infinity Q used in those valuations.

            2.      I understand that the DOJ alleges that James Velissaris defrauded investors in
 DAF and VAF from at least 2018 through at least February 2021 by making false and misleading
 statements about Infinity Q’s valuations of OTC derivative securities.2 One of the allegations is
 that Mr. Velissaris made alterations to the contractual terms of OTC derivative securities in his
 valuations which led to allegedly inflated prices that did not reflect the fair value of the
 positions.3 Infinity Q told investors that it reported the fair value of OTC derivatives using
 Bloomberg or other independent third-party providers.4 I understand that while Mr. Velissaris
 used valuation software from Bloomberg for his valuation work, he altered the underlying inputs
 of certain OTC derivative securities and changed the code and parameters from what was
 reported in the term sheets as he valued the positions in the Infinity Q portfolios.5 As a result of
 the inflated valuations, investors allegedly overpaid management fees and performance
 allocation.




 1
     United States of America v. James Velissaris, Sealed Indictment, 1:22-cr-00105, USDC SDNY, p. 5.
 2
     United States of America v. James Velissaris, Sealed Indictment, 1:22-cr-00105, USDC SDNY, pp. 1-3.
 3
     United States of America v. James Velissaris, Sealed Indictment, 1:22-cr-00105, USDC SDNY, pp. 1-3.
 4
     United States of America v. James Velissaris, Sealed Indictment, 1:22-cr-00105, USDC SDNY, pp. 1-3.
 5
     United States of America v. James Velissaris, Sealed Indictment, 1:22-cr-00105, USDC SDNY, pp. 9-13.


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           3.       The Infinity Q funds invested in several categories of securities, including OTC
securities. OTC securities are bilateral trades between two parties, as opposed to trades that occur
over an exchange. Each OTC security is governed by a document that is referred to as a term
sheet, which includes the details of agreed-upon terms such as the size of the trade (notional
amount or vega notional), start and end dates (effective date and maturity date), and calculations
for the payment between the parties at the maturity date. OTC securities typically do not have
readily available market prices and are generally less liquid than exchange-traded securities.
OTC securities can have standard pricing models that market participants use to value the
positions. OTC derivative securities are a type of OTC securities where the position value
derives from the price of another asset or rate, such as the S&P 500 Index.

           4.       Swaps contracts made up the majority of the investments by the Infinity Q funds
in its OTC derivative positions. A swap is “an agreement between two companies to exchange
cash flows in the future” based on the performance of an underlying reference asset, such as the
S&P 500 Index, and notional principal amount.6 Each cash flow is referred to as one leg of the
swap. Generally, swaps involve a fixed leg, while the other is variable. The payoff of the swap is
based on the performance of various reference rates or assets, such as interest rates, foreign
exchange rates, returns of equities, or the volatility of equities.7

           5.        The majority of the Infinity Q funds’ investments in derivatives were swap
contracts on the variance or volatility of certain assets. In finance, volatility is the degree of
variation of the price of an asset over time.8 For some positions, IQ would take a long position on
the volatility of a given index. In that case, IQ would be the buyer of volatility and profit if
volatility is high and lose if volatility is low. In other positions, IQ would be short volatility and
would be the seller of volatility. In this case, IQ as a seller of volatility would profit from the
swap if volatility is low and lose if volatility is high.




6
    Hull, John C. Options, Futures, and Other Derivatives (8th Ed.). Prentice Hall, Boston, 2012, p. 148.
7
    Volatility of the S&P 500 Index, for example, is the rate of change in the price of the index and can be thought of
    as the level of uncertainty in the value of the index.
8
    Generally, volatility is measured by the standard deviation of logarithmic returns. Variance is the square of
    volatility.


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       6.      Variance and volatility swaps are zero-sum transactions where the short position
pays the long position usually at maturity of the agreement if the volatility is higher than
expected and the long position pays the short position if the volatility is lower than expected. In
this type of swap, the parties would agree to a strike price which is the expected or benchmark
volatility for the swap (for example, it could be 20%). That is, the terms of a swap agreement are
typically set so that the two sides of the swap agreement have equal value at the start of the
agreement.

       7.      If the volatility of the S&P 500 Index between the start date (effective date) of the
swap and the end date (maturity date) is above the strike price, then the seller would have to pay
the buyer, and vice versa. The amount of the payment would depend on how far above or below
the actual or final realized volatility during the life of the swap is compared to the strike price
and also depends on the notional amount or size of the swap. The notional amount is the size of
the transaction agreed upon by the parties and is the basis for calculating the payment obligations
between the parties—for example, the notional amount could be $10K or $10 million.

       8.      Infinity Q valued OTC derivative securities using Bloomberg valuation tools. IQ
would enter the OTC derivative securities trades into the Bloomberg system and create the
positions by inputting the trade terms. IQ could and did edit the positions in the Bloomberg
system and altered the trade terms, such as changes in the strike price or notional amount to
values that are different from the ones in the contractual terms. The Bloomberg system has an
“audit trail” feature that recorded some but not all the changes made to the positions and
simultaneously tracked the values of some of the parameters, including changes to effective date
and changes to maturity date. In addition, the Bloomberg system kept records of IQ’s historical
valuations, including the code it used, the parameters, and the inputs (“Bloomberg scripts” or
“scripts”). The DOJ provided me with Bloomberg files that document the changes that IQ made
to the contractual terms of the positions.

       9.      I examined various financial files related to the mutual and hedge funds including
the margin reports which include the valuations of the counterparties, the valuations of the net
asset values of the funds, the term sheets, among other documents. In addition, I examined 733
month-end valuations for 62 OTC derivative positions through January 2021. I selected the 62
positions using two criteria: (1) identical positions between DAF and VAF that had the largest


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differences in the valuations as of the month-end valuation in May 2020; or (2) positions with the
largest number of updates, including the changes that IQ made to the contractual terms of the
securities as documented by the Bloomberg audit trail records. Identical positions are defined as
ones that are held in the hedge and mutual funds at the same time and had identical specifications
according to the term sheets, including the strike price, effective and maturity dates, and notional
amounts. Certain identical positions had conflicting IQ valuations across the DAF and VAF
positions as of the same dates. The selection criteria of the 62 positions aims to identify positions
with alterations to the contractual terms that IQ made at the time of the valuations. The goal is to
evaluate the impact of the alterations on the valuations, if at all. The DOJ provided me with the
Bloomberg documentation that I refer to as “scripts” for each of the 62 positions. The Bloomberg
scripts recorded the terms that IQ used in its valuations. Using the monthly scripts and the
Bloomberg valuation tools, I examined the impact of the alterations on the valuations.

       10.     My findings can be summarized as follows:

                  a.   I examined IQ’s alterations to the contractual terms of the 62 OTC
                       derivatives using the monthly Bloomberg scripts for 733 month-end
                       valuations for these positions and IQ’s valuations using the same
                       Bloomberg valuation tools IQ used to value the positions. My analysis
                       shows that IQ’s alterations led to inflated valuations. The analysis of the
                       733 month-end valuations of the 62 positions that I examined show that: 1)
                       92.9% of the month-end valuations as reported by IQ for the 62 positions
                       were generated with altered contractual terms as compared to the term
                       sheets. Using a cutoff of 10.0% difference between the term sheets and
                       IQ’s valuation inputs as the definition of alterations, I find that 78.0% of
                       the month-end valuations as reported by IQ for the 62 positions were
                       generated with altered contractual terms as compared to the term sheets; 2)
                       42.3% of the month-end valuations of the 62 positions were generated
                       with alterations to the strike prices that exceeded a 10.0% difference from
                       the strike prices as reported in the term sheets. Also, 14.7% of the month-
                       end valuations were generated with alterations to the notional amount that
                       exceeded a difference of 10.0% from the contractual notional, among other



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               alterations; 3) the discrepancies in the DAF and VAF valuations for
               identical positions can be explained by IQ’s alterations to the contractual
               terms; 4) using altered terms, IQ reported a market value of the 62
               positions with monthly scripts in March 2020 as $186.1 million. However,
               using the actual inputs from the term sheets, I estimate the market value of
               the positions to be negative $46.2 million in March 2020, a difference of
               $232.3 million; and 5) I identified that 33 out of the 62 positions had
               closed by January 2021 and IQ had changed the terms of the positions
               back towards the contractual terms at or near the maturity dates for 9 of
               them. IQ’s changes back towards the contractual terms for the 9 positions
               resulted in IQ valuations that are more in line with the valuations of its
               counterparties. See Section IV.

          b.   Certain alterations that IQ made to the contractual terms of variance swaps
               with IQ as seller resulted in mathematically impossible estimates because
               of the alterations. The variance is the degree of dispersion of the prices of
               the reference assets and cannot be a negative number. The valuations were
               impossible because the IQ valuations implied that the future variability of
               the price of assets like the Russell 2000 Index underlying the positions
               would be negative, which cannot be the case. In cases where IQ is the
               seller of a variance swap, its position increases in value as the variance of
               the price of the underlying asset decreases and is low. The maximum gain
               to IQ as a seller in these cases would be if the variance falls to zero.
               However, IQ reported valuations for some of its variance swaps that
               exceeded the maximum possible values (which is assuming variance is
               zero) and implied negative future variances of the prices of the reference
               assets, which is mathematically impossible. Out of the 62 positions with
               Bloomberg scripts, there are seven variance swaps where IQ was the
               variance seller. Each of the seven positions had mathematically impossible
               valuations reported by IQ in one or more months. Overall, I identified 30
               impossible month-end IQ valuations for the seven positions. IQ’s
               alterations to the contractual terms inflated the 30 monthly valuations and


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               led to mathematically impossible values (using the correct terms of the
               positions). The total inflation in the IQ valuations for the 30 instances of
               impossible valuations is $211.8 million, which is the difference between
               the IQ valuations and my valuations according to the contractual terms of
               the positions. See Section V.

          c.   To further assess possible inconsistencies in the IQ valuations due to the
               alterations in the contractual terms, I compared the variance rate or
               expected volatility of positions with the same reference asset and maturity
               date for positions where IQ was a buyer and a seller. When valuing a
               variance swap, the forecast of the degree of dispersion of the price of the
               reference asset should be consistent whether the position is long or short.
               This is not the case in IQ’s valuations due to the alterations. IQ altered the
               terms of long and short variance swaps on the Russell 2000 Index, for
               example, which had the same maturity date in a way that inflated the
               valuations of both positions. In addition, the alterations implied that IQ
               had contradictory expectations about the future variance of the Russell
               2000 Index over the same time period. By contrast, my valuations and the
               counterparties’ valuations of the same set of positions demonstrate
               consistent expectations about the expected variance whether the IQ
               positions are long or short. This means that IQ used high estimates of the
               future variance of the price of the Russell 2000 Index when it was a buyer
               and low estimates of the future variance of the price of the Russell 2000
               Index when it was a seller, resulting in inflated values for both short and
               long positions. While different market participants may have different
               views regarding expected or projected variance of the prices of the
               underlying assets, there are no parameters or features in the term sheets
               that would explain why the same person would have conflicting or
               inconsistent expected future variances of the price of the same asset over
               the same time period. IQ’s valuations implied conflicting variance
               assumptions because of the alterations it made, leading to inflated
               valuations. See Section VI.


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                  d.   The historical NAV based on IQ’s valuations is overstated as compared to
                       the NAV based on the valuations of the counterparties. Even if I focus on
                       the valuations of the 62 positions only and recalculate the NAV of the
                       hedge fund, my valuations show that IQ overstated the NAV of the fund.
                       First, I recalculated the NAV of the hedge fund each month by replacing
                       the historical IQ valuations with valuations from IQ’s counterparties. The
                       overstatements were largest in and after March 2020 following the
                       COVID-19 crisis. The largest difference between the reported VAF NAV
                       and the counterparties-based VAF NAV is in March 2020, with a
                       difference in the NAV of about $617.7 million. In other words, the IQ
                       reported a NAV for the hedge fund that was 223.4% larger than the NAV
                       using the valuations of the counterparties. Given that the counterparties’
                       estimates are usually lower than IQ’s reported valuations, the management
                       fees and performance allocation would have been lower under the NAV
                       using the valuations from the counterparties than the fees and allocation
                       that IQ actually charged its investors. Using IQ’s valuations, lifetime
                       management fees to Infinity Q in VAF totaled $24.4 million. Management
                       fees would equal $16.1 million after correcting for the inflation in IQ’s
                       valuations using the valuations from its counterparties. The difference in
                       management fees for VAF when using the counterparties’ valuations is
                       $8.4 million. The lifetime performance allocation to Infinity Q in VAF
                       was $21.0 million, while it would have been $1.0 million using the
                       valuations of the counterparties. As a result, Infinity Q was allocated $20.0
                       million in excess performance allocation. If I only considered the inflated
                       valuations for the 27 VAF positions with Bloomberg scripts, then Infinity
                       Q received $1.4 million in excess management fees and $8.5 million in
                       excess performance allocation for the hedge fund. See Section VII.

       11.     I understand that the Defendant may advance analyses regarding the issues in this
matter. If requested, I will respond to such analyses and findings in a rebuttal report.




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II.   QUALIFICATIONS AND MATERIALS RELIED UPON

                A. Qualifications

          12.      I am a Managing Director in the Securities and Finance Practice at NERA and the
  Chair of the Global Securities and Finance Practice. I have over twenty years of experience in
  economic and financial consulting in the valuation of fixed income securities, derivatives,
  illiquid assets, businesses and litigation settlements. I have consulted in disputes involving
  investment management firms, leveraged buyouts, distressed exchanges, options, swaps, and
  hedging strategies, among other issues. I have testified as an expert in State and Federal Courts.

          13.      I have provided expert testimony on credit default swaps, collateralized debt
  obligations (“CDOs”), residential mortgage-backed securities (“RMBS”), and mortgage
  derivatives; deposition testimony on options trading in an SEC litigation against a hedge fund;
  and deposition testimony, trial testimony and expert reports on econometric analysis of
  materiality and damages, as well as class certification issues in various matters related to
  structured products and fixed income. I have analyzed the performance of hedge funds and
  mutual funds that invested in options and other derivatives positions, allocated settlements in two
  of the largest private residential mortgage-backed securities settlements in the “put-back”
  litigation. In addition, I have provided consulting analyses of trading data and trade allocation for
  various types of funds and analyzed risk management and hedging strategies of securities,
  including options and other derivatives, to assess losses and allegations of misrepresentations of
  the risks of the portfolios.

          14.      I am the author of various articles on the credit crisis, mortgage defaults, credit
  default swaps, LIBOR transition, the impact of securitization on the cost and availability of
  credit to consumers, and claiming behavior. My research has been published as a chapter in The
  Handbook of Mortgage-Backed Securities, edited by Dr. Frank J. Fabozzi. I am also the lead
  author of an econometric study on the impact of securitization on the costs and availability of
  credit for consumers and liquidity. My research has also been published in the Journal of
  Structured Finance, Journal of Real Estate Practice, Journal of Investment Compliance, Journal
  of Alternative Investments, Business Economics, International Trade Journal, the ABA Section of
  Litigation, and other periodicals. I am a member of the American Finance Association and the
  American Statistics Association. I have been accredited as a professional statistician by the


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   American Statistics Association. I received my Ph.D. in Business from Stanford Business School
   and prior to joining NERA, I was a Post-Doctoral Fellow at the International Food Policy
   Research Institute and an assistant professor of economics at the American University in Cairo,
   where I taught graduate and undergraduate economic courses.

           15.      My curriculum vitae, included as Exhibit 1, summarizes my qualifications and
   professional experience, testimony history, and publications I have authored.

                       Exhibit 1. Curriculum Vitae

                 B. Materials Relied Upon

           16.      The materials relied upon in the preparation of this report are listed in Exhibit 2.

                       Exhibit 2. Materials Relied Upon

                 C. Remuneration

           17.      NERA is being compensated for its time at standard billing rates and its out-of-
   pocket expenses at cost. The rates charged for the NERA personnel working on this matter range
   from $275 to $1,050 per hour. NERA’s compensation is not contingent upon the nature of my
   findings or on the outcome of this matter.


III.   BACKGROUND

                 A. Basic Concepts of Variance Swaps

           18.      A swap is a bilateral derivative contract to exchange cash flows at some point in
   the future based on the performance of a reference obligation and given a notional principal
   amount. Each cash flow is referred to as one leg of the swap. Generally, swaps involve a fixed
   leg, while the other is variable.

           19.      Variance swaps are swaps that allow investors to gain exposure to the future
   realized variance of the price of an asset such as the S&P 500 Index. Variance measures the
   degree of variation of the price of the asset over time. Variance does not reflect the direction of
   the price movements but just the magnitude—i.e. variance would not be negative if the S&P 500
   Index decreased in value during a month. Volatility is the square root of variance. A variance



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swap is an agreement to exchange the difference between an agreed upon fixed variance set at
the inception of the contract and the final realized variance over the period of the contract. A
buyer is said to be long on the variance as it profits from higher levels of variance and loses as
variance decreases. A seller is said to be short on variance as it profits from lower levels of
variance and vice versa. See Exhibit 3.

                        Exhibit 3. Diagram of the Payoff of a Variance Swap




           20.      The calculation of the payoffs of a variance swap at maturity are documented in
the term sheet or contract. The term sheet includes details about the start and end dates of the
contract, the name of the counterparty, the size of the contract, the agreed upon fixed variance,
the annualization factor, and the method used to calculate the final realized variance of the
reference asset, among others.9

           21.      Exhibit 4 presents an example of the term sheet of a variance swap where the
underlying asset is the S&P 500 Index.10 The size of the position or vega notional is $100K on
the variance of the price of the S&P 500 Index and the strike price is 16%. A strike price of 16%
represents an agreed upon fixed volatility of 16% and an agreed upon fixed variance of 256%
(volatility squared or 16%^2). The strike price denotes the level of volatility bought or sold and
is determined at the start of the transaction. The strike price is determined according to prevailing
market levels so that the swap initially has a zero value.




9
    Broadie, Mark, and Ashish Jain. “The effect of jumps and discrete sampling on volatility and variance
     swaps.” International Journal of Theoretical and Applied Finance 11, no. 08 (2008): 761-797.
10
     Bossu, Sebastien, Eva Strasser, and Regis Guichard. “Just what you need to know about variance
     swaps.” JPMorgan Equity Derivatives Report 4 (2005).


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       22.     In this example, the variance amount is $3,125 which is defined as the ratio
between the $100K vega notional and twice the strike price of 16%. The notional of a variance
swap is generally expressed as the “vega notional.” The vega notional approximates the average
profit or loss for a 1% (1 percentage point) change in volatility. A vega notional of $100K means
that a 1% increase in volatility will represent a gain of approximately $100K for the variance
buyer. The variance amount represents the profits and losses per squared percentage point
difference between the strike price quoted or expressed as a variance and the realized variance.

                   Exhibit 4. Example of a Term Sheet for a Variance Swap on the S&P 500
                   Index




       23.     At maturity, payoffs are determined as variance amount times the difference
between the final realized variance (the square of the final realized volatility) and the agreed



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upon fixed variance (the square of the strike price). The final realized volatility is to be
calculated according to the mathematical formula included in the term sheet.11

           24.       In this example, if the final realized volatility is 20%, which is greater than the
strike price of 16%, then the buyer who is long volatility receives a $450K payoff from the seller
who is short volatility.12 If the final realized volatility at maturity is 14%, which is less than the
strike price of 16%, then the seller who is short volatility receives a $187.5K payoff from the
buyer who is long volatility.13

           25.       Unrealized gains or losses prior to maturity on a variance swap are calculated as
the mark to market value of the swap. The value of the swap depends on the actual realized
variance from the effective date to the valuation date, and the remaining expected variance
between the valuation and the maturity date. It is a weighted average of the actual and future
expected variance of the reference asset. The expected variance is commonly reported as a
volatility (i.e., the square root of variance is volatility) and is referred to as the variance swap rate
(“VS rate”). The expected variance is the only unobservable variable needed in the valuation of a
variance swap and hence could be a source of discrepancy in the valuation of the swap.14 The VS
rate is the forecast for the expected volatility of an asset over the swap’s remaining life.

           26.       There are many types of variance swaps including volatility swaps, corridor
swaps and other types that are discussed in more detail in Appendix A. Volatility swaps share the
same key terms and valuation inputs as variance swaps, except that volatility swaps track the
volatility instead of the variance of the price of the reference asset. For corridor variance swaps,
the actual realized volatility is only used for computing payoffs when the price of the relevant




11
     From a mathematical standpoint, first the logarithmic returns of the S&P 500 Index are calculated for each
     observation date between the start or effective date and the end or maturity date. Next, the logarithmic returns are
     squared and added up. The result is then multiplied by the annualization factor that in this case is 252 and divided
     by the expected number of trading days between the effective and maturity dates. The final realized volatility is
     obtained after taking the square root of the result and multiplying it by 100.
12
     The payoff is calculated as the variance amount of 3,125 times the difference between the final realized variance
     of 400 (i.e. 202) and the agreed upon fixed variance of 256 (i.e. 162).
13
     The payoff is calculated as the variance amount of 3,125 times the difference between the final realized variance
     of 196 (i.e. 142) and the agreed upon fixed variance of 256 (i.e. 162).
14
     I obtained the discount factor from Bloomberg.


                                                                                                                       12



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asset is within a certain range. Price movements outside of the range may be discarded or
counted as zero-variance movements depending on the contract terms.

                B. Infinity Q’s Diversified Alpha Fund and Volatility Alpha Fund

          27.      Infinity Q was the investment adviser of the Diversified Alpha Fund and the
Volatility Alpha Fund. The DAF was a mutual fund available to the broader investing public.
The VAF was a private hedge fund available to qualified investors.

          28.      The DAF began operations in September 2014 and was registered as an open-end
investment company.15 DAF allowed investors to buy and hold mutual fund shares.16 DAF
would use the funds received from the shareholders to invest in variance swaps, corridor swaps,
stocks and other securities. The mutual fund aimed to provide its shareholders with access to
alternative investment strategies that would produce positive performance in both positive and
negative environments for equities, fixed income, and credit markets.17 Infinity Q Capital
Management, LLC was the DAF’s investment adviser and the fund paid the investment adviser a
monthly management fee that was calculated at the annual rate of 1.70% of the fund’s average
daily net assets.18

          29.      Purchases and redemptions requests by the shareholders were to be priced based
on the NAV per share of the fund.19 The NAV was determined as the value of the DAF’s
securities, cash and other assets minus expenses and liabilities.20 When calculating the DAF’s
NAV the securities were to be valued using market data obtained from independent sources
(observable inputs) and the fund’s own market assumptions (unobservable inputs). If the security
was listed on a securities exchange, then the security would be valued by Infinity Q using the last
sale price on the exchange.21 Equity securities are an example of securities that are actively
traded in securities exchanges and for which Infinity Q would not apply valuation adjustments.

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     USAO_SDNY_00006154-00006274.
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     USAO_SDNY_00005585-00005651.


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Similarly, short-term investments classified as money market instruments would be valued at net
asset value price.22 Money market instruments may include commercial paper and certificates of
deposit. Equity securities and money market instruments are an example of securities valued by
Infinity Q using quoted prices:

          Quoted Prices (Level 1) – “Quoted prices in active markets for identical securities. An
          active market for a security is a market in which transactions occur with sufficient
          frequency and volume to provide pricing information on an ongoing basis. A quoted price
          in an active market provides the most reliable evidence of fair value.”23

          30.    Other securities including derivatives such as options contracts and variance swap
contracts derive their value from underlying asset prices, reference rates, and other inputs and
were to be priced by Infinity Q using a model “tailored to the type of security held.”24 Currency
options were to be valued using valuation models and available market data. Variance swaps and
currency options are an example of securities to be valued by Infinity Q using models based on
“significant observable inputs”:

          Other Significant Observable Inputs (Level 2) – “Observable inputs other than quoted
          prices included in level 1 that are observable for the asset or liability either directly or
          indirectly. These inputs may include quoted prices for the identical instrument on an
          inactive market, prices for similar instruments, interest rates, prepayment speeds, credit
          risk, yield curves, default rates, and similar data.”25

          31.    I understand that Infinity Q represented that it used model pricing to calculate the
“fair volatility level” for derivatives such as corridor variance swaps and dispersion trades.26
Quotes from a pricing service and brokers would be used to estimate “implied volatility levels”
as an input to the models used for these swaps.27 According to Infinity Q, a “significant change
in implied volatility could have a significant impact on the value of a position.”28 Corridor




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variance swaps are an example of securities valued by Infinity Q using models based on
“significant unobservable inputs”:

          Significant Unobservable Inputs (Level 3) – “Significant unobservable inputs, including
          the Fund's own assumptions in determining fair value of investments.”29

          32.    The VAF was structured as a partnership. The General Partner (“GP”) and adviser
to the fund was Infinity Q, and the Limited Partners (“LP”) were the investors. VAF began
operations in February 2017. The VAF private placement memorandum stated that the fund
aimed to generate positive returns though volatility-based strategies that provided exposure to a
diversified portfolio of derivatives.30 The derivatives based their value on the performance of an
underlying security or index and included options, variance swaps, correlation swaps, dispersion
swaps, credit default swaps, swaptions and total return swaps.31 The Limited Partners paid
management fees as a percentage of their ownership interest in the VAF to the General Partner.32
The General Partner could also receive at the end of each fiscal year a fraction of the share of the
Limited Partner in the VAF equal to 15 percent of the return earned on their capital invested.33

          33.    I understand that Infinity Q represented it would rely upon independent pricing
services to help provide valuations for the portfolio underlying VAF.34 VAF had similar
representations to DAF regarding the valuation procedures for securities in its portfolio. Options
that were listed in a securities exchange were to be valued at their mid-price as quoted by the
market exchange or a pricing service. Over-the-counter options that were settled based on the
settlement price of similar exchange-traded options would be priced following the procedure
used for listed options. If there were no similar exchange-traded options, then the option would
be priced using models on Bloomberg. Bloomberg or other recognized pricing sources would be
used to value other OTC derivatives including variance swaps, volatility swaps, and foreign
exchange options. The valuation of these derivatives would require the calculation of realized



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     SEC-SDNY-EPROD-003725092.
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     SEC-SDNY-EPROD-003725092.
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     SEC-SDNY-EPROD-003725092.
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     SEC-SDNY-EPROD-003725092.


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volatility which would be “readily observable” and “implied volatility” which “may be less
observable for certain markets.”35

                C. Overview of Infinity Q Funds’ Portfolio Holdings

          34.      The Infinity Q funds invested in several categories of securities, including
exchanged-traded securities and over-the-counter securities. The securities included derivatives
that derived their value from the price of one or more other securities. Derivatives include
exchange-traded options, such as equity index options, and over-the-counter options, such as FX
options. These positions are liquid in that transaction prices are available for many of them. In
addition, the IQ funds held other types of derivatives including variance swaps, correlation
swaps, and credit default swaps, which are less liquid due to the general lack of transaction
prices and the parties involved usually rely on standard valuation models to mark the positions.

          35.      Exhibit 5 presents the composition of the DAF investments and summarizes the
types of securities held in the mutual fund by type of valuation as of November 30, 2020—the
valuation date in the last DAF SEC filing. As of November 30, 2020, the mutual fund reported
investments of $1,502.3 million. Of the $1,502.3 million, the net market value of common
stocks, short-term investments and securities sold short was $996.8 million or 66.3%. These
securities were valued by Infinity Q using quoted prices.

          36.      Of the $1,502.3 million, the net market value of the derivative positions was
$505.5 million or 33.7%. Vanilla variance swaps, credit default swaps, dividend swaps and
options made up the majority of those investments. These securities represented $373.2 million
or 73.8% of the derivative positions market value and were valued by Infinity Q using
“significant observable” inputs.36 Total return swaps, correlation swaps, dispersion swaps and
corridor swaps represented $132.3 million or 26.2% of the derivative positions market value and
were valued by Infinity Q using “significant unobservable” inputs.37




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     USAO_SDNY_00006541-00006575.


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                         Exhibit 5. Composition of the Diversified Alpha Fund (DAF) Investments as
                         of November 30, 2020

                                                                 Other Significant          Significant
                                                 Quoted            Observable              Unobservable
                                                 Prices              Inputs                   Inputs
                    Category                    (Level 1)           (Level 2)                (Level 3)                 Total
                       (1)                         (2)                  (3)                     (4)                     (5)
                                                                                                                  =(2)+(3)+(4)
                                                   ----------------------------------- $ MM -----------------------------------

     Investments
       Common Stocks                           $      17.2     $                  0.0     $            0.0     $         17.2
       Short-Term Investments                        979.6                        0.0                  0.0              979.6
       Securities Sold Short                          (0.0)                       0.0                  0.0               (0.0)
       Subtotal                                $     996.8     $                  0.0     $            0.0     $        996.8

     Derivative Instruments
       Written Options                         $       0.0     $               (63.0)     $            0.0     $         (63.0)
       Credit Default Swap Contracts                   0.0                      (0.3)                  0.0                (0.3)
       Dividend Swap Contracts                         0.0                       0.7                   0.0                 0.7
       Vanilla Variance Swap Contracts 1               0.0                     319.6                   0.0              319.6
       Options Purchased                               0.0                     116.2                   3.6              119.8
       Total Return Swap Contracts                     0.0                       0.0                   5.8                5.8
       Correlation Swap Contracts                      0.0                       0.0                  34.2               34.2
       Dispersion Swap Contracts                       0.0                       0.0                  19.3               19.3
       Corridor Variance Swap Contracts 1              0.0                        0.0                 69.3                69.3
       Subtotal                                $       0.0     $               373.2      $         132.3      $        505.5

       Total                                   $     996.8     $               373.2      $         132.3      $      1,502.3


Notes and Sources:
- USAO_SDNY_00006541-00006575.
 1
     "The Adviser deems vanilla volatility and variance swaps as Level 2 positions, and corridor variance swaps as
     Level 3 positions in the fair value hierarchy."



           37.      Exhibit 6 presents the composition of the VAF investments and summarizes the
types of securities held in the hedge fund by type of valuation as of December 31, 2019—the
valuation date in the last VAF audited financial report. As of December 31, 2019, the hedge fund
reported investments of $125.9 million. Of the $125.9 million, the net market value of exchange-
traded funds, mutual funds, equity options, index options and index futures was $8.3 million or
6.6%. These securities were represented by Infinity Q to be valued using publicly available
quoted prices.




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         38.    Of the $125.9 million, the net market value of the derivative positions was $117.5
million or 93.4%. Corridor variance swaps, correlation swaps, dispersion swaps and dispersion
options made up the majority of those investments. These securities represented $68.4 million or
58.2% of the derivative positions market value and were valued by Infinity Q using “significant
unobservable” inputs.38 Variance and volatility swaps, credit default swaps, total return swaps,
foreign exchange options, and over-the-counter index options represented $49.1 or 41.8% of the
market value of the derivative positions and were valued by Infinity Q using “significant
observable” inputs.39




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                        Exhibit 6. Composition of the Volatility Alpha Fund (VAF) Investments as of
                        December 31, 2019

                                                   Other Significant       Significant
                                      Quoted         Observable           Unobservable
                                      Prices           Inputs                Inputs
                Category             (Level 1)        (Level 2)             (Level 3)           Total
                  (1)                   (2)               (3)                  (4)                (5)
                                                                                             =(2)+(3)+(4)

     Investments
       Exchange-Traded Funds         $    (3.5)   $               0.0    $           0.0    $        (3.5)
       Mutual Fund                        15.9                    0.0                0.0             15.9
       Equity Options                     (0.1)                   0.0                0.0             (0.1)
       Index Options                      (3.9)                   0.0                0.0             (3.9)
       Index Future                       (0.0)                   0.0                0.0             (0.0)
       Options on Futures                  0.0                    0.0                0.0              0.0
       Subtotal                      $     8.3    $               0.0    $           0.0    $         8.3

     Derivative Instruments
       Total Return Swaps            $     0.0    $              (0.2)   $           0.0    $        (0.2)
       Credit Default Swaps                0.0                   (0.0)               0.0             (0.0)
       FX Options                          0.0                    4.5                0.0              4.5
       Volatility Swaps                    0.0                    3.0                0.0              3.0
       OTC Index Options                   0.0                    2.5                0.0              2.5
       Vanilla Variance Swaps 1            0.0                   39.3                0.0             39.3
       Corridor Variance Swaps 1           0.0                    0.0               30.3             30.3
       Dispersion Options                  0.0                    0.0                0.5              0.5
       Correlation Swaps                   0.0                    0.0               35.2             35.2
       Dispersion Swaps                    0.0                    0.0                2.4              2.4
       Subtotal                      $     0.0    $              49.1    $          68.4    $       117.5

       Total                         $     8.3    $              49.1    $          68.4    $       125.9


Notes and Sources:
- Data are from IQCM-SEC-00601685.
 1
     "The Adviser deems vanilla volatility and variance swaps as Level 2 positions and corridor variance
     swaps as Level 3 positions in the fair value hierarchy."


          39.      Exhibit 7 below presents the quarter-end NAV of the mutual fund over time since
its inception in September 2014 through November 2020. At the end of the first quarter of
November 2014, the mutual fund had a NAV of $50.2 million. The NAV increased steadily over
2015 and 2016 and in two years, as of November 2016, the mutual fund NAV was at $150.9
million. By November 2018, the DAF NAV was at $346.6 million, increasing to $755.3 million




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as of November 2019 and, as of November 2020, the mutual fund had a reported NAV of $1.7
billion.

                                                       Exhibit 7. IQ Reported Quarterly Net Asset Value (NAV) of the Diversified
                                                       Alpha Fund (DAF) from November 2014 Through November 2020

                         $1,800 MM

                         $1,600 MM

                         $1,400 MM
 Net Asset Value (NAV)




                         $1,200 MM

                         $1,000 MM

                          $800 MM

                          $600 MM

                          $400 MM

                          $200 MM

                            $0 MM
                                     Nov-14


                                                        May-15
                                                                 Aug-15
                                                                          Nov-15



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Notes and Sources:
- Data are from Infinity Q Diversified Alpha Fund SEC filings between November 30, 2014
(USAO_SDNY_00004615) and November 30, 2020 (USAO_SDNY_00006541).


                             40.         Exhibit 8 below shows the NAV of the hedge fund over time since its inception in
February 2017 through January 2021. As of the end of February 2017, the hedge fund had a
NAV of $6.8 million. The NAV increased steadily during 2017 and in one year’s time, the hedge
fund NAV stood at $36.2 million as of February 2018. By May 2020, the VAF NAV was $988.3
million and as of January 2021, the hedge fund had a reported NAV of $1.2 billion.




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                                            Exhibit 8. IQ Reported Monthly Net Asset Value (NAV) of the Volatility
                                            Alpha Fund (VAF) from February 2017 Through January 2021



                              1,400 MM


                              1,200 MM


                              1,000 MM
      Net Asset Value (NAV)




                               800 MM


                               600 MM


                               400 MM


                               200 MM


                                 0 MM



           Notes and Sources:
           - Data are from Infinity Q Volatility Alpha Fund, USBank Statement of Net Assets between February 2017 (SEC-SDNY-EPROD-
           002877984) and January 2021 (SEC-SDNY-EPROD-003426868).



IV.                            IQ’S ALTERATIONS OF THE TERMS OF SECURITIES INFLATED THE REPORTED
                               VALUATIONS
                                   41.   This section evaluates the alterations that IQ made to the contractual terms of the
      positions and demonstrates how the alterations inflated its valuations by increasing gains and
      underestimating losses of its positions. The analysis shows that: 1) IQ valued identical positions
      in the hedge fund and mutual fund differently as it changed or altered the terms of the positions
      in one or both funds; 2) IQ made numerous changes to the terms of its OTC positions which
      significantly changed the valuations relative to the ones using the actual contractual terms; and 3)
      the alterations have consistently inflated its portfolio by overestimating its gains and
      underestimating its losses. In addition, I document numerous instances where IQ changed the
      terms of the positions back to be closer to the actual terms as the positions neared maturity,
      which resulted in consistent valuations with the counterparties near the maturity of the positions.




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       42.      Using the Bloomberg valuation tools, I prepared 733 month-end valuations for the
62 OTC positions. I relied on the actual contractual terms of each position and accounted for
changes in the notional amount since inception, if any.

       43.      The DOJ provided me with the Bloomberg monthly scripts for each of the 62
positions which recorded changes that IQ made to the terms of the securities at the time of its
valuations. I then assessed the impact of the recorded alterations on the valuations as
documented in the Bloomberg monthly scripts.

             A. Bloomberg Valuation Tools that IQ Used in Managing the Funds

       44.      Infinity Q relied on Bloomberg to model and value the derivatives securities.
Infinity Q created and maintained files which included the details of its DAF and VAF derivative
positions in the Bloomberg system. I understand that Infinity Q had control of the parameters and
specifications of each of its derivative valuations in the Bloomberg system and could edit or alter
them effectively in any way and without much limitation.

       45.      Unlike publicly traded equities such as Apple for example, there are usually no
transaction prices for the OTC positions that Infinity Q held. Infinity Q relied on several
valuation tools within the Bloomberg system including two tools titled OVME and DLIB to
value its OTC positions. OVME is a Bloomberg valuation tool that can be used to value
derivatives including variance and volatility swaps. OVME is usually used to price OTC
derivatives on equity and interest rate reference assets. Bloomberg has a similar tool for OTC
derivatives on foreign exchange rates and commodities which is called OVML. OVME provides
a template where the user would input information such as strike price and notional amount of
each position. The DOJ provided me with Bloomberg scripts that document the inputs that IQ
used to value positions using OVME templates.

                   Example 1: Long Corridor Variance Swap on the EURO STOXX 50
                   Index in the Hedge Fund (VAF)

       46.      OVME is a Bloomberg valuation platform that is intended to value variance
swaps and does not have functionality to value corridor variance swaps because the OVME
template does not allow for inputting information on upper and lower bounds which is a key


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feature that distinguishes corridor swaps. I present an example of the OVME template and then
show how IQ altered the valuation of a corridor variance swap and how valuing it using OVME
led to inflated values. In effect, IQ valued this corridor swap as if it was a variance swap without
bounds, which inflated the valuations. Exhibit 9 presents a screenshot of an OVME template that
is intended to value variance swaps, yet IQ used it to value a corridor variance swap. The
template allows the user to input the necessary features for valuation including the underlying
reference asset, the type of derivative, the direction of the trade for IQ (whether IQ was buyer or
seller), the strike price, the notional, the start date, the end date, the valuation date, and the
currency, among other inputs. This screenshot is for IQ’s valuation using OVME of a corridor
variance swap with the following attributes: the reference asset is the EURO STOXX 50 Index
(SX5E Index), the strike price is 15.05%, the vega notional is €550K, the trade date and effective
date are February 4, 2020, the maturity date is December 18, 2020, and the lower and upper
corridors were set at 80% and 120% of the reference asset price as of the trade date,
respectively.40




40
     VAF: IS8379140 [IQCM-SEC-00581895]. IQ altered the vega notional in its valuation and the actual term sheet
     value is €500K.


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                   Exhibit 9. Screenshot of the Bloomberg OVME Valuation For Example 1




       47.     IQ was long the corridor variance swap which means that IQ makes money if the
variance of the SX5E Index is above the strike price, or in other words, IQ gains if the variation
in the price of the SX5E index increases during the time of the contract. But, since it is a corridor
variance swap, the variance would only be counted as part of the payoff if the SX5E Index is
between the upper and lower corridors. In other words, if the index is greater than 120% of its
price at inception of the trade, or is below 80% of its price at inception, then IQ would not
contractually benefit because the variance would not be counted in the valuation. However, the
Bloomberg scripts document that IQ valued the position as if it was a variance swap without
accounting for the upper and lower corridors in the term sheets, thereby inflating the value of the
position.




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           48.      Because IQ used OVME as the valuation tool for this corridor variance swap, IQ
ignored the corridors and valued this corridor variance swap as a vanilla variance swap.41 The
lower corridor is 2,985.824 and the SX5E Index decreased below the lower corridor soon after
the February 4, 2020 effective date. The SX5E Index was below the lower corridor for most of
March to May 2020, reaching a low of 2,385.82 which is 600 points (20%) below the lower
corridor, and experienced a high amount of volatility, as did most indices, during the COVID-19
crisis. With the corridors in place, the corridor variance swap would not have included this
volatile period in the market for the valuation. However, IQ’s decision to value this position as if
it was a vanilla variance swap meant that the variance when the SX5E Index is below the lower
corridor, would be included in the valuation. IQ’s decision to ignore the corridors of the position
as stated in the contract benefits IQ as it is long the position and led to inflated valuation.42 For
example, as of August 31, 2020, IQ valued this position in VAF as a variance swap without
corridors using OVME at $22.8 million, whereas using the same Bloomberg valuation tools as
IQ used, I valued the position as a corridor variance swap as stated in the term sheet at $4.5
million and the counterparty of IQ (Société Générale) reported a valuation of $4.6 million for the
same month. The position closed in December 2020 with a realized price of $4.7 million, and my
valuation of the position in November was $4.9 million, the counterparty valuation was $5.0
million and IQ valued the position at $11.2 million.

           49.      DLIB is another Bloomberg valuation tool that allows users much more flexibility
to manually specify the terms of each position for valuation and is usually used to value complex
derivatives such as corridor and correlation swaps. Users of DLIB can rely on built-in templates
and enter the parameters in the templates to value different types of securities. These templates
are referred to as “BLT Templates.” Alternatively, a user of DLIB can use a script mode within
DLIB which allows the user complete discretion in customizing the inputs, assumptions, and




41
     IQ valued the following additional variance swaps with corridors as vanilla variance swaps in OVME: DAF:
     IS8507821 [TAP_SDNY_001909], VAF: IS8379143 [IQCM-SEC-00539564], VAF: IS8438749 [IQCM-SEC-
     00036938], VAF: IS8438801 [IQCM-SEC-00037093], and VAF: IS8300389 [IQCM-SEC-00539799].
42
     In my review of the Bloomberg scripts, I document that IQ also altered the variance amount, sometimes above the
     value in the term sheet and sometimes below the value in the term sheet. IQ’s inflated valuation is driven by the
     alteration to value the position as a vanilla variance swap while the alteration of the variance amount is a factor
     that scales the inflated valuations.


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models used in pricing. The script mode in DLIB is referred to as “BLAN scripts.” IQ used both
modes of DLIB, and OVME in pricing the IQ portfolio.

          50.   When using a BLAN script to value an OTC position, one can input the accurate
strike price for the position, and then add a command to increase/decrease the strike price by a
certain amount or percentage at valuation, which means that the valuation will be conducted
using a different strike price than the contractual one. This level of discretion is only available in
the BLAN script and not the OVME or DLIB template. Bloomberg’s backup files allow me to
identify the positions that IQ valued using BLAN scripts, DLIB templates, or other Bloomberg
pricing tools. The Bloomberg backup files for the BLAN scripts allow me to identify and
document many of the alterations that IQ made to the terms of each position.

                    Example 2: Long Corridor Variance Swap on the EURO STOXX 50
                    Index in the Hedge Fund (VAF)

          51.   Using the Bloomberg script, I document how IQ changed the script in DLIB in its
valuation of another corridor variance swap to price it as if it was a variance swap (without
corridors), leading to inflated valuations.43 Exhibit 10 is a screenshot of the Bloomberg BLAN
script for a corridor variance swap with the following attributes: the reference asset is the EURO
STOXX 50 Index (SX5E Index), the strike price is 17%, the vega notional is $600K, the trade
date is May 14, 2019, the effective date is December 18, 2020, the maturity date is December 16,
2022, and the corridors were set at 70% and 110% of the reference asset price as of the trade
date. IQ was long the corridor variance swap which means IQ makes money if the variance of
the SX5E Index is above the strike price. Similar to Example 1 above, the variance would not
count as part of the valuation if the price of the SX5E Index is greater than 110% or lower than
70% of its level as of the inception of the trade, per the term sheet.

          52.   In Exhibit 10, the left-hand side panel is similar to the OVME template in that it
allows users to input various metrics like underlying asset, notional, strike, etc. The right-hand
side is unique to the Bloomberg DLIB valuation tool as it allows a user to edit the code used to




43
     VAF: XDACVX5D [IQCM-SEC-00582356].


                                                                                                     26



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value the position. The BLAN code (shown on the right-hand side of Exhibit 10 below) can be
edited and allows a user to customize the code and not just the inputs used in the valuation.

                        Exhibit 10. Screenshot of the Bloomberg DLIB Valuation for Example 2




           53.      The BLAN code for a corridor variance swap accounts for lower and upper
bounds as stated in the term sheet. In other words, the BLAN code would check if the historical
prices of the reference index up to the time of the valuations have met the conditions of the upper
and lower corridors as well as consider if future potential prices would meet the conditions of the
upper and lower corridors. In this specific example, starting with the November 2020 month-end
valuation, IQ effectively removed the corridors by changing one word in the code of the
valuation from “and” to “or.” By making this one change to the code, IQ instructed the DLIB
valuation tool to price this position as a vanilla variance swap and not a corridor variance swap.44
IQ altered the BLAN code used to check if the price of the reference index prices would meet the


44
     IQ valued the following additional variance swaps with corridors as vanilla variance swaps as a result of this
     “and” to “or” alteration in the BLAN code during certain months: DAF: XDACRN7H [TAP_SDNY_000902],
     DAF: XDACUIB5 [TAP_SDNY_000044], DAF: XDACVLWK [TAP_SDNY_000154], DAF: XDADBIOT
     [TAP_SDNY_000580], and DAF: XDADBIRG [TAP_SDNY_000500]. IQ’s alterations led to inflated valuations
     almost all the time for month-end valuations of these positions.


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conditions of the upper corridor or the lower corridor, but not necessarily both. The change of
the code to “or” meant removing the corridors altogether because the SX5E index will always be
either above the lower corridor level or below the upper corridor level. By changing one word in
the code of the valuation from “and” to “or,” IQ instructed the DLIB valuation tool to price this
position as a vanilla variance swap and not as a corridor variance swap. See line 23 of the BLAN
code on the right-hand side panel in Exhibit 10: “let corridor = (fix_i > corridor_low) or (fix_i <
corridor_high) in [emphasis added]”. Line 23 in the scripts prior to the November 2020 month-
end valuation used an “and.”45

           54.      IQ’s change that removed the corridors inflated the valuation especially as the
level of the reference index was getting close to the upper corridor. The effective date, or start
date, of the position is December 18, 2020 and the prior closing price of the SX5E Index of
3,560.87 was approximately 100 points (3%) below the upper corridor of 3,667.40 (the lower
corridor is 2,333.80). With the corridors in place, the variance would not accrue if the price of
the reference index price goes above 3,667.40 and this would limit the amount of variance and
gain to IQ and be a detriment to IQ as the buyer (long). By removing the corridors, the variance
swap is unrestricted and can accrue variance and benefits IQ as a buyer of the position, if the
reference index moves higher. With this alteration, IQ reported a valuation of this corridor
variance swap (without corridors) at $8.8 million as of December 31, 2020, while I valued the
position, using the same Bloomberg valuation tools used by Infinity Q, as a corridor variance
swap at $2.5 million.46

           55.      A user of the BLAN script can change the terms of a corridor swap, for example
by changing one word in the editor of the BLAN code (right-hand panel of Exhibit 10) from an
“and” to an “or” such that the swap will be valued without consideration for upper and lower
corridors. This one change in the script would cause the Bloomberg valuation tool to value the
position not as a corridor swap but as a vanilla variance swap. In addition, the user can change
the code in the editor to override terms such as the maturity date of the position even if it was
entered correctly in the parameters on the left-hand panel in Exhibit 10.


45
     For example, USAO_SDNY_00006763.
46
     The counterparty (Morgan Stanley) did not report a valuation for this position as a stand-alone value but
     combined with a paired position.


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          56.      In addition to the scripts, the Bloomberg system keeps an audit trail of some, but
not all, of the changes that users make when using its valuation tools. The audit trail is a record
of different types of actions by users of the valuation tools for each position including the date
and time the changes were made and the user’s Bloomberg ID. Exhibit 11 is a screenshot of the
audit trail data export provided by the DOJ.47 For example, in row 5 of Exhibit 11, the audit trail
shows that IQ added a deal (see column I) or a new position. Row 7 shows that IQ updated the
deal on February 16, 2021 at 9:03 PM as documented in column I by “UPDATE DEAL.” In
communications with Bloomberg, the company has explained that an “UPDATE DEAL” action
will be triggered whenever a user updates the “pricers screens UI [user interface],” including the
user screen in the OVME and DLIB valuation tools, or saves the valuation template for a
position that exists in the Bloomberg system.48

                      Exhibit 11. Screenshot of Bloomberg Audit Trail Data




                B. Analysis of Valuations of 62 OTC Positions in DAF and VAF

          57.      To examine the alterations of the contract terms that IQ made, I selected 62 OTC
positions that were held by DAF and VAF using two criteria. First, I identified twenty identical
positions which were held by both DAF and VAF that had the largest differences in valuations
between DAF and VAF as of May 2020. For example, DAF and VAF both entered into identical
long corridor variance swaps where IQ valued the DAF position at $2.2 million as of May 2020
and the VAF position at $19.6 million, a difference of $17.4 million.49 Second, I identified the
twenty positions with the largest number of “UPDATE DEAL” actions according to the
Bloomberg audit trail data, and I also included the pair positions from the sister fund. For


47
     USAO_SDNY_00000001.
48
     USAO_SDNY_00000010-00000017.
49
     DAF: XDADACKX [TAP_SDNY_001457] and VAF: IS8379143 [IQCM-SEC-00539564].


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example, one of the top twenty positions with the largest number of UPDATE DEAL actions is a
DAF OTC security that had 69 UPDATE DEAL actions recorded in the Bloomberg system and
there is a pair position in VAF (that does not fall within the list of top twenty positions with the
largest number of UPDATE DEAL actions).50 There is some overlap between the positions
identified by these two methods resulting in a total selection of 62 OTC positions – 35 positions
in DAF and 27 positions in VAF. To evaluate the impact of the alterations on the valuations, if
any, I first identified positions where IQ altered the contractual terms used at the time of the
valuations. The selection criteria of the 62 positions aims to identify a subset of such positions.
See Appendix B for a list of these 62 positions and the selection methods.

          58.   Of these 62 positions, IQ valued 50 positions using DLIB scripts and templates
and valued the remaining 12 positions using OVME or OVML. For the 50 positions that IQ
valued using DLIB, the DOJ provided electronic files with monthly scripts and parameters for
the period from June 2018 through May 2021.51 For each month from June 2018 through May
2021, the DOJ provided two files, one file with the scripts and parameters for the outstanding
positions and one file with timing information of the scripts and updates. The files with the
scripts were named with the “as of” date for the scripts. For example, the June 1, 2018 file has
the scripts as of June 1, 2018.52 The files with the timing information have fields with the update
date for the script, which is the date the script was last updated. For example, the timing
information file could tell you that the June 1, 2018 script for a position was last updated on May
30, 2018.53 I used the as of date and update timing date to verify if a script would have been used
in the month-end valuations for the 50 positions IQ valued in DLIB. For example, a script as of
June 1, 2018 that was last updated on May 30, 2018 would have been the one that IQ used for the
May 31, 2018 month-end valuation since the May 31, 2018 valuation date is between the update




50
     DAF: XDAC1O00 [TAP_SDNY_001058] and VAF: XDAC112G [IQCM-SEC-00539070].
51
     USAO_SDNY_00006705 to USAO_SDNY_00006776.
52
     USAO_SDNY_00006705.
53
     USAO_SDNY_00006706. DAF: XDAB22MA [TAP_SDNY_001485].


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date and the as of date for the script. For these 50 positions that IQ valued in DLIB, I reviewed
607 month-end valuations and the Bloomberg scripts for alterations.54

           59.      For the 12 positions that IQ valued using OVME and OVML, the DOJ provided
the full historical scripts data and valuation parameters.55 Since OVME and OVML valuations do
not use DLIB codes or BLT templates, the DOJ provided a record from the Bloomberg system of
each time that IQ changed and updated the valuation terms for a position. For these 12 positions,
I reviewed 126 month-end valuations and the Bloomberg scripts for alterations.

           60.      In total, I assessed 733 month-end valuations for the 62 positions and reviewed
the Bloomberg data that recorded the changes that IQ made to the terms of the securities.

                 C. Infinity Q’s Alterations of the Contractual Terms of the Positions

           61.      For each of the 733 month-end valuations for the 62 positions with Bloomberg
scripts, I compared the inputs that IQ used in the valuation to the terms as documented in the
term sheets for each position. I also accounted for any changes in the notional amounts over
time. The comparison of the term sheets and the Bloomberg scripts of IQ valuations shows
92.9% of the 733 month-end valuations for the 62 positions were generated by IQ with
alterations including changes in strike prices, notional amounts, effective and maturity dates,
exclusion or changes of corridors (upper and lower bounds) of certain swaps, and technical
details used in valuation such as the number of days used to annualize daily volatility, among
other changes.

           62.      I started with electronic files that the DOJ provided which mapped the term sheets
to the unique identifiers for each position. I then conducted a manual review of the term sheets
for the positions to verify the term sheet for each security. See Appendix C for a description of




54
     For the 50 positions IQ valued using DLIB, there are 725 month-end valuations. However, 118 out of the 725
     month-end valuations did not have the parameter values and code as of the month-end valuation date from the
     Bloomberg data and as a result, I did not include them in my analysis. These were the instances when the last
     update to the script in the Bloomberg data occurred after the valuation date and hence I would not be able to
     determine the parameter values and code for the valuation date from the Bloomberg script data I received. I
     reviewed the remaining 607 month-end valuations using DLIB.
55
     USAO_SDNY_00004287 and USAO_SDNY_00004288.


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the matching process of the term sheets to the positions and a list of the matched term sheets for
the 62 positions with Bloomberg scripts.

          63.    Before documenting the alterations, I briefly explain the relevance of each of the
inputs that IQ altered to the valuations. The impact of increasing or decreasing any of the
valuation inputs depends on whether IQ was long or short and other factors.

      •   Strike Price. Alterations to the strike price change the economics of a position and affect
          the threshold in the calculations of gains and losses – whether the realized and future
          expected volatility at maturity is above or below the strike price. All else equal, using a
          higher strike price for short positions (when IQ is seller of the swap) and a lower strike
          price for long positions (when IQ is the buyer of the swap) would result in inflated
          valuations. For example, IQ used a higher strike price than the contractual strike price in
          the term sheet when valuing a short position in a variance swap on a MSCI World Index
          (MXWO).56 In the month-end valuation for January 2020, IQ used a strike price of 26.3%
          whereas the agreed-upon contractual value in the term sheet was 17.3%. All else equal,
          the valuation of the position at the true strike of 17.3% would have been $0.6 million,
          whereas IQ reported a valuation of $3.7 million using a strike price of 26.3%. In another
          example, IQ used a lower strike price than the contractual strike price in the term sheet
          when valuing a long position in a forward-start variance swap on the KOSPI 200 Index.57
          For example, in the month-end valuation for May 2020, IQ inflated the valuation by
          using a strike price of 7.6% as IQ was long, while the agreed-upon and contractual strike
          price in the term sheet was 18.6%.

      •   Notional Amount. Alterations to the notional amount act as a scaler for the gains and
          losses of a position. A long position would record a gain if the realized and expected
          volatility are higher than the strike price and a loss if the realized and expected volatility
          are lower than the strike price. The opposite would be true for a short position – there
          would be a gain if the realized and expected volatility are lower than the strike price and
          a loss if the realized and expected volatility are higher than the strike price. Since the


56
     DAF: XDACQ9DO [IQCM-SEC-00601321].
57
     DAF: XDACXGV8 [TAP_SDNY_000637].


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          notional amount is the base for the gains and losses calculations, using a larger notional
          amount would amplify gains and losses and using a smaller notional amount would
          diminish gains and losses. For example, IQ used a larger notional amount than the
          contractual notional amount in the term sheet when valuing a long position in an up
          barrier variance swap on the EURO STOXX 50 Index where IQ recorded a gain.58 In the
          month-end valuation for June 2020, IQ inflated the valuation by using a notional amount
          of €400K when the agreed-upon and contractual value in the term sheet was €250K.

      •   Corridors and Barriers. Alterations to the corridors and barriers change the economics
          of a position and affect the calculation of realized variance and volatility. In some
          corridor variance swaps, IQ effectively removed the lower bound by changing the value
          of the lower bound to 1 and effectively removed the upper bound by changing the value
          to 10 million, for example.59 For other corridor variance swaps, IQ valued the positions
          as vanilla variance swaps in OVME, which cannot account for corridors.60 In other
          instances, IQ also changed the programming in the Bloomberg script to disregard the
          corridors and value the corridor variance swaps as vanilla variance swaps.61

          64.     For the 733 month-end valuations that IQ valued using DLIB, OVME, and
OVML, I compared the contractual terms of each security against the terms used in the valuation
as documented in the monthly Bloomberg scripts. I find that 92.9% of the IQ month-end
valuations that I examined are based on altered terms. Exhibit 12 summarizes the findings for the
733 month-end valuations. I examined a total of 733 monthly scripts for 62 positions and find
that 92.9% have alterations in the terms of the positions used in the IQ valuations.




58
     DAF: XDACRN7H [TAP_SDNY_000902].
59
     For example, DAF: XDACUIB5 [TAP_SDNY_000044].
60
     For example, VAF: IS8379140 [IQCM-SEC-00581895].
61
     For example, VAF: XDACVX5D [IQCM-SEC-00582356].


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                    Exhibit 12. Summary of Alterations Identified In the Bloomberg Scripts for
                    the 62 Positions that IQ Valued Using DLIB, OVME, and OVML

                  No. of           Total No. of         No. of Scripts
                 Positions        Monthly Scripts      with Alterations        Percent
                    (1)                (2)                   (3)                 (4)
                                                                              = (3) / (2)

                             62                 733                681                92.9 %


        65.     Next, I use conservative criteria to estimate the percentage of the scripts with
alterations and estimate that 78.0% of the valuation scripts have alterations. See Exhibit 13. I
classify a strike price as altered if the difference between the strike price of a position as in the
term sheet and the strike price used in the IQ valuation based on the Bloomberg scripts is greater
than 10%. For example, the Bloomberg scripts show that IQ altered the strike price in its
valuations by more than 10.0% of the strike price in the term sheets for 42.3% of the month-end
valuations for the 62 positions with Bloomberg scripts. I apply the same criteria for all
quantitative variables such as notional. For example, the Bloomberg scripts also show that IQ
altered the vega notional in its valuations by more than 10.0% of the notional amount in the term
sheets for 14.7% of the month-end valuations for the 62 positions with Bloomberg scripts. For
dates such as effective and maturity dates, I classify a date as altered if there is a difference of 7
days between the dates stated in the terms sheet contracts and the ones used in the scripts.
Applying these conservative criteria to classify alterations, the percentage of scripts with
alterations is 78.0%. This means that IQ altered the terms for nearly three out of four valuations
based on the 733 month-end valuations that I examined for DAF and VAF, after applying the
conditions discussed above for defining alterations.

                    Exhibit 13. Summary of Alterations Identified In the Bloomberg Scripts With
                    Allowances in Differences to Term Sheet Values for the 62 Positions IQ
                    Valued Using DLIB, OVME, and OVML

                  No. of           Total No. of         No. of Scripts
                 Positions        Monthly Scripts      with Alterations        Percent
                    (1)                (2)                   (3)                 (4)
                                                                              = (3) / (2)

                             62                 733                572                78.0 %




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                D. Identical Positions in DAF and VAF with Conflicting IQ Valuations

          66.      Within the 62 positions with Bloomberg scripts, there are positions in DAF and
VAF that were identical in all contract terms including the agreed-upon price (strike price), the
notional amount, the effective date, and maturity date. I confirmed that the positions are identical
through a manual review of the term sheets.

          67.      I examined the IQ reported valuations for the overlapping positions in DAF and
VAF and find that positions in DAF had different valuations compared to identical positions in
VAF. There are no parameters or features in the term sheets that would explain why identical
positions would have different valuations when valued by the same person as of the same date.
The discrepancies in the valuations can be explained by IQ’s alterations to the contractual terms
in the term sheets as I demonstrate below. In addition, IQ made inconsistent alterations to the
identical positions in DAF and VAF resulting in conflicting valuations for identical positions.
Below I describe several examples of the changes IQ made and how the alterations inflated the
valuations of the positions.

                      Example 3: Short Variance Swaps on the Russell 2000 Index in the
                      Mutual and Hedge Funds (DAF and VAF)

          68.      For example, DAF and VAF each sold the same variance swap to Merrill Lynch
as the counterparty on the variance of the Russell 2000 Index as the reference asset on January 7,
2020.62 Each swap contract was for $340K notional, the strike price in each contract was 20%,
the effective date was January 7, 2020, and the maturity date was September 18, 2020. Since the
IQ funds were sellers (short positions), they would report gains if the variance on the Russell
2000 Index was low and below the strike price of 20%. Given that the COVID-19 crisis occurred
during the life of these variance swaps and market volatility was high, IQ would be experiencing
losses on these positions. Exhibit 14 below shows the conflicting IQ reported month-end
valuations for this position in DAF and VAF from January 2020 to August 2020. As
demonstrated in Exhibit 14 below, IQ marked this variance swap in DAF at negative $12.0
million and the identical VAF position at negative $8.1 million as of May 29, 2020. There are no
parameters or features in the term sheets that would explain why the valuations by the same

62
     DAF: XDAC8QB4 [TAP_SDNY_001716] and VAF: XDAC98HE [IQCM-SEC-00538550].


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person for identical positions with the same counterparty should differ, and the IQ valuations do
not match closely in any month between March 2020 and August 2020.

       69.                The Bloomberg scripts are a record of IQ’s alterations to the contractual terms of
the DAF and VAF positions and the inconsistent alterations for the two positions. According to
the Bloomberg scripts, IQ changed the notional amount for the DAF position from $340K as
stated in the term sheet to $220K in March 2020, then it reduced the notional further in June
2020 to $180K, and then finally in August 2020, it changed the notional in the other direction to
$310K and closer to the term sheet value. According to the Bloomberg scripts, IQ changed the
notional of the swap held in VAF to $350K by February 2020, then changed the notional to
$150K in April 2020, and finally by the time of its maturity in September 2020, it changed the
notional in the other direction to $300K and closer to the term sheet value.

                              Exhibit 14. IQ Valuations for DAF and VAF in Example 3

                         $2 MM
                         $0 MM
                        -$2 MM
                        -$4 MM
         IQ Valuation




                        -$6 MM
                        -$8 MM
                        -$10 MM
                        -$12 MM
                        -$14 MM
                        -$16 MM
                        -$18 MM
                              Jan-20   Feb-20   Mar-20   Apr-20   May-20    Jun-20    Jul-20   Aug-20

                                          Mutual Fund (DAF)        Hedge Fund (VAF)



       70.                The changes that IQ made to the notional of these two swaps away from the
contract explain the differences in the valuations between these two identical positions in DAF
and VAF. In addition, IQ’s changes to the notional to be lower than the term sheet values
inflated the IQ valuations by lowering the reported losses. For example, IQ reduced the notional
amount of the DAF variance swap position in June 2020 from $220K to $180K, leading to a
reduction in the reported loss on the position (smaller losses). IQ marked the DAF position in
June 2020 at negative $10.3 million whereas the mark for the DAF position in June 2020 should


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have been negative $20.0 million if it had used the correct notional amount of $340K and using
the same Bloomberg valuation tools.

                    Example 4: Long Corridor Variance Swaps on the FTSE 100 Index in the
                    Mutual and Hedge Funds (DAF and VAF)

          71.    Another example is a corridor variance swap. DAF and VAF both purchased the
same corridor variance swap with Société Générale as the counterparty and the FTSE 100 Index
as the reference asset.63 The FTSE 100 Index is an index of the 100 largest companies, by market
capitalization, on the London Stock Exchange. The swaps were for £200K notional each, the
strike price was 13.65%, the trade date and effective date were February 10, 2020, and the
maturity date was December 18, 2020. The IQ funds would report gains if the variance on the
FTSE 100 Index was high and above the strike price of 13.65%. Given that the COVID-19 crisis
occurred during the life of these variance swaps and market volatility was high, IQ would be
experiencing gains on these positions. Exhibit 15 below shows the month-end valuations for this
identical position in DAF and VAF for February 2020 to November 2020 and how the valuations
diverge in most months. There are no parameters or features in the term sheets that would
explain why the valuations by the same person for identical positions with the same counterparty
should differ, and the IQ valuations do not match except in November 2020. The valuation
differences between the identical positions in DAF and VAF reached $19.2 million in April
2020, and the valuations sometimes moved in opposite directions for multiple months. As
demonstrated in Exhibit 15, IQ marked the DAF position in July 2020 at $9.2 million and
increased it to $10.6 million in August (an increase in the valuation of $1.4 million). By contrast,
IQ marked the same exact position in VAF at $18.6 million in July 2020 and decreased it to $8.9
million in August (a decrease in the valuation of $9.6 million).




63
     DAF: XDADACKX [TAP_SDNY_001457] and VAF: IS8379143 [IQCM-SEC-00539564].


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                              Exhibit 15. IQ Valuations for DAF and VAF in Example 4

                     $25 MM

                     $20 MM
      IQ Valuation


                     $15 MM

                     $10 MM

                     $5 MM

                     $0 MM




                                       Mutual Fund (DAF)         Hedge Fund (VAF)



          72.            These are examples of identical positions between DAF and VAF with conflicting
valuations. IQ altered the terms when valuing these positions, at times inconsistently for identical
positions in DAF and VAF, leading to an inflation in the reported valuations.

                      E. IQ’s Alterations Led to Inflated Valuations

          73.            Using the Bloomberg valuation tools and scripts described above, I prepared 733
month-end valuations for the 62 positions that I examined using the actual terms of each position
according to the term sheets and the Bloomberg valuation tools. I assessed the impact of the
alterations on the valuations using the Bloomberg monthly scripts. In general, the alterations that
IQ made to the terms of the positions inflated its valuations – by increasing its gains and
reducing the losses of its positions. I find that IQ inflated its valuations for approximately 96.0%
of the month-end valuations with altered terms when compared to my valuations and allowing
for a $10K difference in valuations. Appendix D describes the process for generating my
valuations for the 62 positions using the same Bloomberg valuation tools that IQ used.




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                   Example 5: Short Variance Swap on the Russell 2000 Index in the Mutual
                   Fund (DAF)

         74.    As an example, Exhibit 16 below shows the IQ reported valuations of a short
variance swap on the Russell 2000 Index with a strike price of 20%, notional of $340K, trade
date and effective date of January 7, 2020, and maturity date of September 18, 2020 held by
DAF.64 IQ would report a gain if the volatility of the Russell 2000 Index was low and below the
strike price of 20% and would report a loss if the volatility was above the strike price of 20%.
This position was outstanding during the COVID-19 crisis and period of high market volatility
and my valuations show that this short position experienced a loss on a monthly basis.

         75.    The black line shows the IQ monthly valuations using the altered terms and the
orange line shows my valuations using the actual terms according to the term sheet of the
position. IQ altered the notional for this position by using a notional lower than the term sheet
value, which scales down the reported valuation and in this case, inflates the valuation by
reporting a smaller loss than expected. In March 2020, IQ changed the notional of the position to
$220K and reported a valuation of negative $11.6 million. IQ’s change in the notional artificially
reduces the exposure of IQ to losses due to this position and given that the position was losing
money in March, this one alteration underestimated the losses of IQ’s by 43.1%. My valuations
are consistent with the ones by the counterparty included in the blue line.




64
     DAF: XDAC8QB4 [TAP_SDNY_001716].


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                                 Exhibit 16. Comparison of IQ Reported Values and My Valuations With Term
                                 Sheet Values for Example 5

              $2 MM

              $0 MM

                                                      March 2020:                       June 2020:                   August 2020:
             -$2 MM                                   IQ changed notional               IQ changed notional          IQ changed notional
                                                      from -$340k to -$220k             from -$220k to -$180k        from -$180k to -$310k
             -$4 MM

             -$6 MM        January 2020:
                           IQ set notional
                           to -$340k as in
             -$8 MM        term sheet
 Valuation




             -$10 MM

             -$12 MM

             -$14 MM

             -$16 MM

             -$18 MM

             -$20 MM

             -$22 MM

             -$24 MM
                  Dec-19      Jan-20         Feb-20       Mar-20        Apr-20    May-20      Jun-20        Jul-20         Aug-20        Sep-20


                                                 IQ Valuation          NERA Valuation      CP Valuation




                  76.      As demonstrated in Exhibit 16, IQ changed the notional to $310K in August
2020, a month before the maturity of the position. As a result, its valuation in August became
much closer to my valuation and the counterparty’s valuation. The position closed in September
with a realized price of negative $17.2 million, and my valuation of the position in August was
negative $17.3 million.

                  77.      The main reason behind the discrepancy between IQ and my valuations using the
contractual terms is IQ’s use of altered terms. Specifically, IQ’s use of altered terms explains
between 81.8% to 97.8% of the discrepancy between IQ and my valuations depending on the
valuation month. Differences in the selection of the valuation model and time of the valuation
explain the remaining difference.65


65
     IQ valued the variance swap using the Local Volatility model in January and switched to the Black Scholes model
     between February and August 2020. IQ valued the swap as of New York 2 pm between January and February and
     as of New York 10 am between March and August. Instead, I used the Bloomberg Local Volatility model and
     valued the swap as of 4 pm New York time across all months.


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                 78.      I was able to replicate the IQ valuations using the same Bloomberg tools and the
terms that IQ altered as documented in the Bloomberg scripts. See Exhibit 17 for my replication
of IQ’s reported valuations for the variance swap on the Russell 2000 Index discussed above.

                                Exhibit 17. Comparison of IQ Reported Values and My Replication with
                                Altered Terms for Example 5

             $2 MM

             $0 MM

                                                     March 2020:                         June 2020:                   August 2020:
            -$2 MM                                   IQ changed notional                 IQ changed notional          IQ changed notional
                                                     from -$340k to -$220k               from -$220k to -$180k        from -$180k to -$310k
            -$4 MM

            -$6 MM        January 2020:
                          IQ set notional
                          to -$340k as in
            -$8 MM        term sheet
Valuation




            -$10 MM

            -$12 MM

            -$14 MM

            -$16 MM

            -$18 MM

            -$20 MM

            -$22 MM

            -$24 MM
                 Dec-19      Jan-20         Feb-20       Mar-20        Apr-20     May-20       Jun-20        Jul-20         Aug-20        Sep-20


                                                 IQ Valuation           NERA Replication of IQ Valuation



                                Example 6: Long Corridor Variance Swap on the Nikkei 225 Index in the
                                Mutual Fund (DAF)

                 79.      As another example, Exhibit 18 below shows the IQ reported valuations of a long
corridor variance (up barrier) swap on the Nikkei 225 Index held by DAF with a strike price of
18.3%, notional of ¥53.75 million, trade date and effective date of June 26, 2019, maturity date
of December 11, 2020, and lower barrier at 70% of the reference index level at the inception of




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the trade.66 IQ would report a gain if the volatility of the Nikkei 225 Index was high and above
the strike price of 18.3% and would report a loss if the volatility was below the strike price of
18.3%. For this position, I document that the Bloomberg scripts show that IQ altered the strike
price to use a value lower than the term sheet value in its valuations, which is beneficial to IQ’s
position as a buyer and inflates IQ’s valuations.67

           80.      The black line shows the IQ monthly valuations using the altered terms and the
orange line shows my valuations using the actual terms according to the term sheet of the
position. IQ altered the strike price from at least the month-end valuation in August 2019, using
15.3% in place of the actual term sheet value of 18.3%, and used a lower strike price up until
November 2020, the last month-end valuation before the maturity of the swap. Using a lower
strike price inflated IQ’s valuations since DAF was the buyer. My valuations are consistent with
the ones by the counterparty included in the blue line.




66
     DAF: XDACXGU2 [TAP_SDNY_000402].
67
     IQ made an additional alteration starting in April 2020 to remove the lower barrier at 14,776 on the Nikkei 225
     Index. The Nikkei 225 Index was always above the lower barrier since the June 26, 2019 effective date and
     through the December 11, 2020 maturity date.


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                              Exhibit 18. Comparison of IQ Reported Values and My Valuations With Term
                              Sheet Values for Example 6

        $20 MM                                                            February      April 2020:               July 2020:     September
                                                                          2020:         As of April 2020, IQ      IQ changed     2020:
                                                                          IQ changed    used strike of 0.063      strike from    IQ changed
        $18 MM                                                            strike from   and had removed           0.103 to       strike from
                                                                          0.138 to      corridor low as defined   0.133 and      0.168 to
                                                                          0.103         in term sheet of          set no         0.143 and
        $16 MM                                                                          corridor variance swap    corridor low   set no
                                                                                                                                 corridor low

        $14 MM                                                                                        June 2020:                                November
                                                                                                      IQ changed         August                 2020:
                                                                                                      strike from        2020:                  IQ changed strike
                                                                                                      0.063 to 0.103     IQ changed             from 0.143 to
        $12 MM                                                                                                           strike from            0.183 as in
                                                                                                      and set no
                                                                                                      corridor low       0.133 to               term sheet,
                                                       January 2020:                                                     0.168 and              set no corridor
Valuation




        $10 MM                                         IQ changed                                                        set no                 low and changed
                                                       strike from                                                       corridor low           annualization
                                                       0.153 to 0.138                                                                           factor from
            $8 MM                                                                                                                               252 as in term
                                                                                                                                                sheet to 360

            $6 MM                  August 2019:
                                   IQ used strike of
                                   0.153 instead of 0.183
            $4 MM                  as in term sheet


            $2 MM


            $0 MM


            -$2 MM




                                              IQ Valuation              NERA Valuation               CP Valuation



                     81.   As demonstrated in Exhibit 18, IQ changed the strike price to a lower value of
6.3% and also removed the lower barrier as of April 2020. This means that IQ valued the
position as a vanilla variance swap and not a corridor variance swap. Starting in August 2020, IQ
used strike prices closer to the 18.3% value in the term sheets as the position neared maturity in
December 2020. As a result, its valuations moved closer to my valuations and to the valuation of
the counterparty. For example, IQ reported a valuation of $4.8 million in August 2020 and my
valuation is $3.5 million, while the counterparty also marked the position at $3.5 million. For the
November 2020 valuation, IQ undid the strike price alteration and used the actual strike price in
the term sheet, kept the alteration to remove the lower barrier, and made a new alteration to the
annualization factor. The position closed in December with a realized price of $2.4 million, and
my valuation of the position in November was $2.5 million while IQ valued the position at $6.2
million.



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                     82.   I was able to replicate the IQ valuations using the same Bloomberg tools and the
terms that IQ altered as documented in the Bloomberg scripts. Note that IQ’s alterations account
for 90.6% to 100% of the difference between its valuations and my valuations—depending on
the valuation month. The remainder is accounted by the selection of the valuation model and/or
volatility surface (technical inputs in the valuation).

                              Exhibit 19. Comparison of IQ Reported Values and My Replication with
                              Altered Terms for Example 6

        $20 MM                                                          February      April 2020:               July 2020:     September
                                                                        2020:         As of April 2020, IQ      IQ changed     2020:
                                                                        IQ changed    used strike of 0.063      strike from    IQ changed
        $18 MM                                                          strike from   and had removed           0.103 to       strike from
                                                                        0.138 to      corridor low as defined   0.133 and      0.168 to
                                                                        0.103         in term sheet of          set no         0.143 and
        $16 MM                                                                        corridor variance swap    corridor low   set no
                                                                                                                               corridor low

        $14 MM                                                                                       June 2020:                               November
                                                                                                     IQ changed        August                 2020:
                                                                                                     strike from       2020:                  IQ changed strike
                                                                                                     0.063 to 0.103    IQ changed             from 0.143 to
        $12 MM                                                                                                         strike from            0.183 as in
                                                                                                     and set no
                                                                                                     corridor low      0.133 to               term sheet,
                                                       January 2020:                                                   0.168 and              set no corridor
Valuation




        $10 MM                                         IQ changed                                                      set no                 low and changed
                                                       strike from                                                     corridor low           annualization
                                                       0.153 to 0.138                                                                         factor from
            $8 MM                                                                                                                             252 as in term
                                                                                                                                              sheet to 360

            $6 MM                  August 2019:
                                   IQ used strike of
                                   0.153 instead of 0.183
            $4 MM                  as in term sheet


            $2 MM


            $0 MM


            -$2 MM




                                               IQ Valuation             NERA Replication of IQ Valuation



                     83.   Exhibit 20 compares the IQ reported valuations for the 62 positions to my
valuations using the agreed-upon inputs from the term sheets. Using IQ’s altered terms, the net
market value of the positions outstanding as of March 2020 was $186.1 million, whereas the
valuation using the actual terms according to the term sheets is negative $46.2 million. The
market value of the outstanding positions in April 2020 was $368.0 million according to IQ, but
using the actual term sheets, I estimate the market value for the positions to be negative $16.0
million. Similarly, the market value of the outstanding positions in May 2020 was $275.6


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million, whereas the valuation of the positions using the actual term sheets is negative $26.0
million. Overall, the market value of the 62 positions in 2020 was between $20.8 million and
$394.0 million, however, using the actual inputs from the term sheets, I estimate the market
value of the 62 positions to be between negative $46.2 million to $89.0 million.

                             Exhibit 20. Comparison of IQ Reported Values and My Valuations with Term
                             Sheet Values for 62 OTC Positions

                 $450 MM

                 $400 MM

                 $350 MM

                 $300 MM

                 $250 MM
   Valuation




                 $200 MM

                 $150 MM

                 $100 MM

                 $50 MM

                     $0 MM

                 -$50 MM

                -$100 MM
                       May-18 Aug-18 Nov-18   Feb-19 May-19 Aug-19 Nov-19     Feb-20 May-20 Aug-20 Nov-20



                                              IQ Valuation   NERA Valuation



               84.      I document that IQ used altered terms in 92.9% of the month-end valuations for
the 62 positions with Bloomberg scripts. When IQ altered the contractual terms in valuing the 62
positions with Bloomberg scripts, IQ inflated the valuations for 96.0% of these month-end
valuations based on altered terms as compared to my valuations using the actual inputs from in
the term sheets and allowing for a $10K difference in valuations. IQ nearly always altered the
terms when valuing the 62 positions with Bloomberg scripts, and when it did, IQ nearly always
inflated its valuations.

               85.      In addition, 33 of the 62 positions with Bloomberg scripts closed on or before
January 2021. For 9 out of these 33 positions, IQ changed the terms used in the month-end


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valuations back towards the contractual terms at or near the maturity dates and as a result, the IQ
valuation became more in line with my valuations and the valuations from the counterparties.

           86.      Exhibit 21 compares my valuations using the agreed-upon terms of the term
sheets for the 62 positions to the valuations from the counterparties.68 My valuations, generated
in Bloomberg using the valuation tools that IQ used to value its OTC positions, are consistent
with the counterparties’ valuations. For example, my valuations for March 2020 are negative
$51.7 million and the counterparties reported a total valuation of negative $52.9 million, my
valuations for April 2020 are negative $23.7 million and the counterparties reported a total
valuation of negative $24.6 million, and my valuations for May 2020 are negative $35.2 million
and the counterparties reported a total valuation of negative $30.4 million.




68
     I compared the valuations for 57 of the 62 positions with Bloomberg scripts. There are 5 positions where the
     counterparty reported combined valuations for multiple positions instead of individual valuations. When this
     occurs, I was unable to disaggregate the combined valuations from the counterparties to the individual valuations
     to compare to my valuations.


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                                  Exhibit 21. Comparison of My Valuations With Term Sheet Values to the
                                  Counterparties’ Valuations for the 62 OTC Positions

                      $450 MM

                      $400 MM

                      $350 MM

                      $300 MM

                      $250 MM
        Valuation




                      $200 MM

                      $150 MM

                      $100 MM

                      $50 MM

                          $0 MM

                      -$50 MM

                     -$100 MM
                            May-18 Aug-18 Nov-18   Feb-19 May-19 Aug-19 Nov-19     Feb-20 May-20 Aug-20 Nov-20



                                               NERA Valuation    Counterparty Valuation



V.          CERTAIN IQ VALUATIONS ARE MATHEMATICALLY IMPOSSIBLE AND
            INFLATED
                    87.      This section documents that certain alterations that IQ made to the contractual
     terms led to inflated valuations that are mathematically impossible if one were to use the
     accurate terms of the positions. The contractual terms of the variance swaps with IQ as a seller of
     variance swaps create a cap or a maximum valuation for each of these positions but IQ reported
     values that exceeded these caps. When IQ is a seller of a variance swap, for example on the S&P
     500 Index, IQ benefits if the volatility of the price of the S&P 500 Index decreases and the
     maximum valuation that IQ could possibly gain from a such a position occurs if the volatility
     decreases all the way to zero. IQ reported valuations for such positions where its valuation
     exceeded the maximum possible gain in the case of zero volatility. Out of the 62 positions with
     monthly scripts, there are seven variance swaps where IQ is variance seller. All of the seven
     positions had mathematically impossible valuations reported by IQ, in at least one month due to
     the alterations.


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           88.      As an example to explain what IQ did, imagine a scenario where you have five
$100 wagers with a friend. You have already lost three of them, i.e. you already lost $300
dollars, and there are two wagers left. At this point, the best-case scenario is owing your friend
$100 if you win the last two bets—this is your cap on the upper bound result or valuation of your
position (so you win the last two bets for $200, already lost $300, and on net you would lose
$100 in the best-case scenario). As is, it would be mathematically impossible, and it would not
make sense to think of this situation as being even or in your favor.

           89.      Yet, in similar circumstances, IQ reported valuations for variance swaps where it
would report a higher value than is mathematically possible based on the actual realized variance
up to that point and the actual contractual terms of the swap. This would happen precisely
because of the alterations that IQ made to the terms of these swaps. The alterations led to inflated
valuations that were mathematically impossible (under the actual terms) because IQ reported
values that were better than the maximum possible valuation, such as reporting a gain on a
position that could not possibly have ended in IQ’s favor. I explain the intuition using the
valuation of an actual variance swap in the portfolio and then document various instances of
inflated valuation positions.

           90.      At any time before maturity, the value of a variance swap is based on the
weighted average of the actual realized variance and the expected future variance for the
remaining time until maturity. This means that if one knows the valuation of a variance swap at a
given point in time, the actual realized volatility, the size of the position and strike price, one can
then infer the expected future volatility that is implied by the valuation. The expected future
volatility is the only unobservable variable in the valuation of a variance swap and hence could
be a source of discrepancy in the valuation of the swap.

           91.      I use IQ’s monthly valuations for each position to estimate IQ’s expected
variance. Next, I use the terms of the variance swap, including effective date, maturity date and
strike as reported in the term sheet for each position. As of each valuation date, I calculate the
realized volatility of the referenced index between the effective date and the valuation date.69



69
     Some positions may close partially which would reduce the size (vega notional) of the position, and in that case, I
     rely on the outstanding notional as of the valuation date.


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Finally, using the contractual terms of the position and actual historical volatility as of the
valuation date, I calculate the expected volatility for each position which is the expected
volatility between the valuation date and the maturity date. Given that IQ changed the
contractual terms of positions in its portfolio, some of its valuations based on altered terms
would imply a negative variance which is mathematically impossible as discussed below and
demonstrate the impact of the alterations on inflating the valuation of the positions.

             A. What is a Mathematically Impossible Valuation?

       92.      The range of values for variance and volatility is zero or positive values. Variance
and volatility would be zero if the price of the reference index, such as the S&P 500 Index, did
not move at all during the measurement period (i.e., the same value every day), such as a month.
If the S&P 500 Index had any variability during the time period in question, by increasing or
decreasing by the end of the month, then variance and volatility of the price of the S&P 500
Index would be positive values that measure how much the index moved during the month.
Variance and volatility do not capture the direction of the price movements but just the
magnitude of them. From a mathematical standpoint, final realized volatility is based on the
square of logarithmic returns. As such, it cannot be a negative number. It can only be zero or
positive. Variance is simply the square of the volatility and also cannot be a negative number.

       93.      Suppose IQ is a seller of a six-month variance swap on the S&P 500 Index with a
strike price of 20%, expressed in volatility. This means that IQ would pay the counterparty at the
end of the contract (in six months) if the volatility of the S&P 500 Index is above the strike price.
IQ is effectively making a bet that the volatility of the price of the S&P 500 Index would remain
low in the next months. The payment that IQ would have to make to its counterparty would be
based on how much higher the actual volatility over the life of the swap would be relative to the
agreed-upon volatility at the start of the swap (the strike price of 20%). Conversely, as a seller of
the swap, the maximum payment from the counterparty to IQ would occur if actual volatility of
the S&P 500 Index ends up being zero, which is highly unlikely. In this case, the payment to IQ
would be the difference between the strike price of 20% and the actual volatility of 0%.

       94.      When valuing this variance swap on the S&P 500 Index after three months of its
initiation, the valuation is based on a weighted average of actual historical variance during the



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first three months and the expected future variance over the remaining life of the swap. If one
knows the valuation that IQ assigned to this swap and the actual historical volatility for the first
three months in the life of the swap, then one can back out the expected future volatility that is
implicit in the IQ valuation (assuming one also knows the size and strike price of the position). I
back out the future volatility that is implicit in IQ’s valuations using the strike and notional as
reported in the term sheet.

         95.      Out of the 62 positions with Bloomberg scripts that I examined, there are seven
variance swaps with IQ as seller. The contractual terms of the variance swaps with IQ as
variance seller create a cap or a maximum valuation of each of these positions. However, IQ
reported valuations that are greater than the maximum valuations in at least one month for all
seven variance swaps with IQ as seller due to the alterations. These IQ valuations are inflated
and impossible because the valuation estimates could only be possible if the future variance or
rate of change of the price of the underlying reference asset is negative. I also demonstrate below
that it was the alterations that IQ made to the contractual terms that led to the mathematically
impossible valuations.

         96.      Below, I present examples of these impossible valuations from the IQ portfolio. I
then discuss the seven variance swaps with Bloomberg scripts and IQ as seller. I demonstrate
that they all had mathematically impossible valuations in at least one month.

               B. Examples of Impossible Valuations and the Impact of the Altered
                  Contractual Terms of the Position

                     Example 7: Short Variance Swap on the Russell 2000 Index in the Mutual
                     Fund (DAF)

         97.      IQ sold a swap to Merrill Lynch on the variance of the Russell 2000 Index and the
start date of the contract was January 7, 2020, and the maturity date was September 18, 2020
(variance swap on the Russell 2000 Index).70 The notional amount of the variance swap was
$340K and the agreed-upon strike price was 20%.71 This means that if the final realized volatility



70
     DAF: XDAC8QB4 [TAP_SDNY_001716].
71
     TAP_SDNY_001716.


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on the Russell 2000 Index at maturity turned out to be less than 20%, then Merrill would pay IQ
the difference between the final realized variance and the agreed upon variance (400 which
represents the square of the strike price of 20) times the notional. Conversely, if the actual
volatility on the Russell 2000 Index at maturity turned out to be greater than 20%, then IQ would
pay Merrill the difference. So, IQ would benefit if the rate of change or volatility of the Russell
2000 Index is low and the maximum benefit to IQ would be if the volatility turns out to be zero,
which is highly unlikely.

       98.     For this variance swap, I calculated the maximum theoretical valuation each
month for IQ by assuming that the future expected volatility is zero between the month-end
valuation date and maturity of the swap. As of July 31, 2020, the actual realized volatility or the
actual rate of the change of the Russell 2000 Index between January 7, 2020 and July 31, 2020
was 54.2%. If I assume that the expected future volatility is 0% from that point until the maturity
on September 18, 2020, the best-case scenario for IQ at this point would be a valuation of
negative $16.6 million. The negative $16.6 million valuation is calculated as the notional amount
in variance terms multiplied by the difference in the term sheet strike price in variance and the
weighted average variance = [($340K notional / (2 * 20 strike price)) * (20^2 strike price in
variance – 49^2 weighted average variance)]. In other words, if I assume that the Russell 2000
Index was going to stay constant and not move up or down at all from August through
September 2020, then the value of this position would be a loss of $16.6 million. Instead, IQ
reported a valuation of negative $9.5 million, which is more favorable to IQ than a loss of $16.6
million. Even if volatility was 0% over the remaining life of the swap, IQ’s best-case scenario
would have been a loss in excess of $16.6 million per my calculations and could not have been a
loss of $9.5 million. IQ’s valuation of negative $9.5 million as of July 31, 2020 is inflated and
would imply an impossible expected future volatility of the Russell 2000 Index. The reason IQ’s
valuation was reported as negative $9.5 million is that IQ reduced the notional amount of the
position from its contractual value of $340K to $180K as of July 31, 2020, based on the
Bloomberg scripts.

       99.     In addition, I examined IQ’s month-end valuations from January through August
of 2020 for the same position and found that five out of the eight months were impossible




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valuations because the IQ valuations would imply negative expected variance for the Russell
2000 Index which is mathematically impossible. See Exhibit 22.

                   Exhibit 22. IQ Reported Valuations and Impossible Valuations for Example 7

                                               Maximum
                   Valuation    Infinity Q     Theoretical    Realized     Impossible
                     Date       Valuation      Valuation      Volatility   Valuation
                      (1)           (2)            (3)           (4)          (5)
                                ----------- $MM -----------

                   1/31/2020    $     0.3     $        3.2       11.1%         No
                   2/28/2020         (1.8)             2.6       20.5          No
                   3/31/2020        (11.6)            (9.3)      68.0          No
                   4/30/2020        (11.8)           (12.7)      65.2          Yes
                   5/29/2020        (12.0)           (14.3)      61.3          Yes
                   6/30/2020        (10.3)           (16.1)      58.1          Yes
                   7/31/2020         (9.5)           (16.6)      54.2          Yes
                   8/31/2020        (15.7)           (16.8)      50.8          Yes

                   % of monthly valuations that are impossible = 5/8 = 62.5%


       100.    I identified alterations to the notional amount of this variance swap on the Russell
2000 Index based on the Bloomberg scripts for the months of March through August 2020. In
March 2020, IQ reduced the notional amount used for valuing the position from the agreed upon
level in the contract/term sheet of $340K to $220K which would reduce the losses that IQ had to
report. The notional amount remained at $220K for the IQ valuations in April and May and then
IQ reduced it again in June to $180K. The notional in July still did not match the term sheet and
remained at $180K and then IQ increased the notional amount to $310K in August, as the
position neared maturity, which is also inconsistent but much closer to the actual notional of
$340K in the term sheet. In the five months where there was an impossible valuation, IQ had
altered the terms in Bloomberg to value this position in each of the five months. See Exhibit 23.




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                              Exhibit 23. Altered Terms and Expected Variance for Impossible Valuations
                              for Example 7

     Valuation                      Infinity Q                 Impossible       Script Alterations 1             NERA (Term Sheet Values)
        Date         Valuation         Expected Variance 2      Valuation          Notional Amount             Valuation     Expected Variance
         (1)             (2)                   (3)                 (4)                   (5)                       (6)              (7)
                    --- $MM ---                                                                               --- $MM ---
                                                                                   Term Sheet: -$340k
      1/31/2020     $        0.3                       387         No          $             (340,000)   $            0.3                  384
      2/28/2020             (1.8)                      665         No                        (340,000)               (3.2)                 865
      3/31/2020            (11.6)                      408         No                        (220,000)              (20.5)               1,953
      4/30/2020            (11.8)                     (199)        Yes                       (220,000)              (19.8)               1,497
      5/29/2020            (12.0)                     (603)        Yes                       (220,000)              (19.5)               1,379
      6/30/2020            (10.3)                   (2,157)        Yes                       (180,000)              (20.0)               1,458
      7/31/2020             (9.5)                   (4,359)        Yes                       (180,000)              (18.5)               1,164
      8/31/2020            (15.7)                   (1,878)        Yes                       (310,000)              (17.3)                 728


Notes and Sources:
 1
     Monthly scripts are received from counsel and values are highlighted in red if different from term sheet values.
 2
     Infinity Q expected variance is calculated using term sheet values and Infinity Q reported valuations.



                              Example 8: Short Variance Swap on the MSCI World Index in the
                              Mutual Fund (DAF)

             101.       Another example of an inflated valuation that implies a negative expected future
variance estimate for the reference index is a variance swap that IQ sold to Deutsche Bank on the
variance of a MSCI World Index (MXWO) held by DAF. The start date of the contract was on
March 15, 2019 and the maturity date was December 17, 2021.72 The notional amount of the
variance swap was $600K and the agreed-upon volatility (strike price) was 17.3%.73 This means
that if the actual volatility on the MXWO Index at maturity turned out to be less than 17.3%,
then Deutsche Bank would pay IQ the difference between the final realized variance and the
agreed upon variance (based on a strike price of 17.3%) times the notional. Conversely, if the
actual volatility on the MXWO Index at maturity turned out to be greater than 17.3%, then IQ
would pay Deutsche Bank the difference. So, IQ would benefit if the rate of change or volatility
of the MXWO Index is low and the maximum benefit to IQ would be if the volatility is zero.

             102.       For this variance swap, I calculated the maximum theoretical valuation each
month by assuming that the future expected volatility is going to be zero from each month-end


72
     DAF: XDACQ6H3 [IQCM-SEC-00601353].
73
     IQCM-SEC-00601353.


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valuation date until the maturity of the swap. As of November 29, 2019, the actual realized
volatility or the actual rate of the change of the MXWO Index between March 15, 2019 and
November 29, 2019 was 10.2%. If I assume that the expected future volatility is 0% until the
maturity on December 17, 2021, the best-case scenario for IQ would be a gain of $4.6 million.
The $4.6 million valuation is calculated as the notional amount in variance terms multiplied by
the difference in the term sheet strike price in variance and the weighted average variance =
[($600K notional / (2 * 17.3 strike price)) * (17.3^2 strike price in variance – 5^2 weighted
average variance)]. In other words, if I assume that the MXWO Index was going to stay constant
and not move up or down at all from December 2019 through December 2021, then the value of
this position would be a gain of $4.6 million. Instead, IQ reported a valuation of $5.9 million,
which is notably more favorable to IQ than a gain of $4.6 million. Even if volatility was 0% over
the remaining life of the swap, IQ’s best-case scenario would have been a gain of $4.6 million
per my calculations. IQ’s valuation of $5.9 million as of November 29, 2019 is inflated and
would imply an impossible negative expected future volatility of the MXWO Index. The reason
for the impossible valuation by IQ is that IQ changed the contractual terms of this position as
documented by the Bloomberg scripts.

       103.    In addition, I examined IQ’s month-end valuation from March 2019 through
January 2021 and found that five out of the twenty-three months were impossible valuations
because the IQ valuations would imply negative expected variance for the MXWO Index which
is mathematically impossible. See Exhibit 24.




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                   Exhibit 24. IQ Reported Valuations and Impossible Valuations for Example 8

                                               Maximum
                   Valuation    Infinity Q     Theoretical     Realized     Impossible
                      Date      Valuation      Valuation       Volatility   Valuation
                       (1)          (2)            (3)            (4)          (5)
                                ----------- $MM -----------

                    3/29/2019   $      0.4    $         4.8       10.9%         No
                    4/30/2019          1.5              4.8        7.8          No
                    5/31/2019          2.2              4.7        9.6          No
                    6/28/2019          3.5              4.7        9.8          No
                    7/31/2019          4.0              4.7        9.1          No
                    8/30/2019          1.6              4.6       11.1          No
                    9/30/2019          3.5              4.6       10.6          No
                   10/31/2019          5.7              4.6       10.7          Yes
                   11/29/2019          5.9              4.6       10.2          Yes
                   12/31/2019          7.0              4.6        9.9          Yes
                    1/31/2020          7.3              4.5        9.7          Yes
                    2/28/2020          5.7              4.3       11.2          Yes
                    3/31/2020         (7.3)             1.2       24.7          No
                    4/30/2020         (4.9)             0.6       25.5          No
                    5/29/2020         (4.9)             0.4       25.2          No
                    6/30/2020         (4.1)             0.1       25.2          No
                    7/31/2020         (3.4)            (0.0)      24.5          No
                    8/31/2020         (4.1)            (0.1)      23.9          No
                    9/30/2020         (4.8)            (0.3)      23.7          No
                   10/30/2020         (4.7)            (0.4)      23.4          No
                   11/30/2020         (3.8)            (0.5)      23.1          No
                   12/31/2020         (3.7)            (0.6)      22.6          No
                    1/29/2021         (4.3)            (0.7)      22.3          No

                   % of monthly valuations that are impossible = 5/23 = 21.7%


       104.    I identified alterations to the strike price of this variance swap on the MXWO
Index based on the Bloomberg scripts for the months of November 2019 and January 2020
where IQ reported impossible valuations. In November 2019, IQ used a strike price of 25.3%
that is higher than the contractual strike price of 17.3% in the term sheet. By increasing the strike
price, IQ made an alteration that benefits the IQ fund as the seller of this position because it
gives the seller more room to be profitable. The realized volatility now needs to be higher for IQ
to experience a loss since IQ used a strike price of 25.3% instead of the contractual strike price
of 17.3%—now any realized variance under 25.3% will be a gain for IQ. IQ used a higher strike
price in January 2020 of 26.3%. See Exhibit 25.




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                               Exhibit 25. Altered Terms and Expected Variance for Impossible Valuations
                               for Example 8
                              Infinity Q                                                                                NERA (Term Sheet Values)
      Valuation                       Expected        Impossible                  Script Alterations 1                                   Expected
         Date          Valuation      Variance 2      Valuation              Strike              Corridor Low            Valuation           Variance
          (1)              (2)           (3)             (4)                  (5)                     (6)                    (7)               (8)
                      --- $MM ---                                                                                       --- $MM ---
                                                                       Term Sheet: 0.173        Term Sheet: None
       3/29/2019     $         0.4           276          No                          0.183                       1     $        0.1              294
       4/30/2019               1.5           211          No                            n.a.                     n.a.            0.7              267
       5/31/2019               2.2           170          No                          0.203                       1              0.6              278
       6/28/2019               3.5            85          No                          0.213                       1              1.1              250
       7/31/2019               4.0            52          No                          0.218                       1              1.2              246
       8/30/2019               1.6           221          No                            n.a.                     n.a.            0.0              334
       9/30/2019               3.5            80          No                            n.a.                     n.a.            0.5              307
      10/31/2019               5.7           (90)         Yes                           n.a.                     n.a.            1.0              277
      11/29/2019               5.9          (106)         Yes                         0.253                       1              0.7              313
      12/31/2019               7.0          (207)         Yes                           n.a.                     n.a.            1.0              294
       1/31/2020               7.3          (244)         Yes                         0.263                       1              1.1              297
       2/28/2020               5.7          (126)         Yes                           n.a.                     n.a.           (6.7)             998
       3/31/2020              (7.3)          790          No                          0.193                   1,200             (8.7)             921
       4/30/2020              (4.9)          536          No                          0.213                   1,000             (7.0)             739
       5/29/2020              (4.9)          546          No                          0.213                     800             (5.7)             628
       6/30/2020              (4.1)          455          No                          0.203                       1             (6.0)             666
       7/31/2020              (3.4)          396          No                          0.193                       1             (6.3)             725
       8/31/2020              (4.1)          496          No                          0.183                       1             (4.9)             602
       9/30/2020              (4.8)          597          No                          0.183                       1             (5.7)             716
      10/30/2020              (4.7)          606          No                          0.183                       1             (5.8)             758
      11/30/2020              (3.8)          497          No                          0.173                       1             (3.7)             490
      12/31/2020              (3.7)          517          No                          0.173                       1             (3.7)             525
       1/29/2021              (4.3)          656          No                          0.173                       1             (4.2)             643


Notes and Sources:
 1
     Monthly scripts are received from counsel and values are highlighted in red if different from term sheet values. "n.a" indicates that
     the corresponding monthly scripts has an update date after the valuation date and could not be used to confirm the exact
     parameters used by IQ.
 2
     Infinity Q expected variance is calculated using term sheet values and Infinity Q reported valuations.



             105.        In addition to identifying inflated and impossible IQ valuations for October 2019
to February 2020 using the actual realized volatility, I find that these same valuations violate the
absolute maximum valuation possible on this position. If realized volatility was 0% during the
life of the swap, which maximizes the value for IQ as the seller, the counterparty would need to
pay IQ $5.2 million.74 IQ reported valuations that were mathematically impossible for October
2019 to February 2020 because it implies a negative variance. Also, the IQ reported valuations
could never be reached at all for this position, given the contractual terms of the position. The




74
     The $5.2 million maximum payoff to IQ is calculated using 0% realized volatility during the life of the swap =
     [($600K notional / (2 * 17.3 strike price)) * (17.3^2 strike price in variance – 0^2 weighted average variance)].


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maximum gain for IQ from this position would have been $5.2 million and it is not possible for
IQ to have had a greater gain than that.

                C. All Seven Variance Swaps with Bloomberg Scripts and IQ as Seller
                   had Impossible Valuations reported by IQ

           106.     In total, out of the seven variance swaps with Bloomberg scripts where IQ was a
seller, all had impossible valuations reported by IQ for some months.75 Each of the seven
securities had at least one impossible month-end valuation, that is, IQ’s valuation implied a
negative variance which is mathematically impossible. For these seven securities, there are a
total of 30 impossible month-end valuations by IQ as the valuations imply negative expected
future variance in each case. For each of the 30 impossible month-end valuations, IQ used
altered contractual terms as verified by my review of the Bloomberg scripts and the term sheets
for the positions. As a result of the alterations, IQ’s reported inflated valuations by either
overstating gains or understating losses for the 30 month-end valuations.

           107.     Exhibit 26, below, presents the seven securities and 30 months where IQ’s
valuations for the positions are deemed impossible as they imply a negative expected future
variance.




75
     The seven variance swaps are not a complete list of all impossible valuations in the IQ’s portfolio. There are
     additional instances of impossible valuations for variance swaps with IQ as seller that are not part of the 62
     positions with available monthly Bloomberg scripts.


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           Exhibit 26. Summary of Impossible Valuations in IQ Reported Values

                                              Infinity Q       Implied
               No.         Month              Valuation        Variance
               (1)          (2)                    (3)           (4)
                                            ---- $ MM ----

            MXWO Variance Swap @ 17.3 12/17/21 (XDACQ6H3 in DAF)
                 1.           Oct-19    $               5.7          (90)
                 2.           Nov-19                    5.9         (106)
                 3.           Dec-19                    7.0         (207)
                 4.            Jan-20                   7.3         (244)
                 5.           Feb-20                    5.7         (126)

            MXWO Variance Swap @ 17.3 12/17/21 (XDACQ9DO in DAF)
                 6.           Oct-19    $               2.9          (90)
                 7.           Nov-19                    2.9         (106)
                 8.           Dec-19                    3.5         (206)
                 9.            Jan-20                   3.7         (244)
                10.           Feb-20                    2.8         (125)

             MXWO Variance Swap @ 17.3 12/17/21 (XDAC2G26 in VAF)
                11.           Mar-20    $               9.7         (785)
                12.           Apr-20                    3.7         (303)

                RTY Variance 8/21/20 @ 18.75 (XDAC8ZIA in DAF)
                13.          Mar-20     $              (4.2)         (547)
                14.          Apr-20                    (1.2)       (3,002)
                15.          May-20                    (4.3)       (2,604)

                 RTY Variance 8/21/20 @ 18.75 (XDAC98J6 in VAF)
                16.          Apr-20     $              (7.2)         (190)
                17.          May-20                    (7.6)         (558)
                18.          Jun-20                    (8.2)       (1,339)
                19.           Jul-20                   (7.4)       (5,842)

                     RTY Variance 9/18/20 20% (XDAC8QB4 in DAF)
                20.          Apr-20     $             (11.8)         (199)
                21.          May-20                   (12.0)         (603)
                22.          Jun-20                   (10.3)       (2,157)
                23.           Jul-20                   (9.5)       (4,359)
                24.          Aug-20                   (15.7)       (1,878)

                     RTY Variance 9/18/20 20% (XDAC98HE in VAF)
                25.          Mar-20     $              (7.8)         (257)
                26.          Apr-20                    (7.8)       (1,047)
                27.          May-20                    (8.1)       (1,651)
                28.          Jun-20                    (8.6)       (2,782)
                29.           Jul-20                   (7.9)       (5,325)
                30.          Aug-20                   (15.1)       (2,797)




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             108.     The 30 impossible valuations occurred during the period of October 2019 to
      August 2020 across DAF and VAF. Exhibit 27 shows that IQ reported at least two impossible
      valuations during each of these months and inflated the valuations by at least $3.8 million.
      Between February and July 2020, IQ inflated the valuations between $18.5 and $43.8 million in
      each of those months. For example, in April 2020, IQ reported five impossible valuations and
      marked those five positions at a loss of negative $24.3 million. These April 2020 valuations were
      inflated by $43.8 million and using the same Bloomberg valuation tools as Infinity Q used, I
      estimate that these positions should have been marked at negative $68.1 million. IQ altered the
      terms in valuing these five positions as of the end of April 2020 and the alterations resulted in
      inflated and impossible valuations. Overall, IQ’s alterations inflated the 30 monthly valuations
      with mathematically impossible values by $211.8 million. There are no parameters or features in
      the term sheets that would explain IQ reporting impossible valuations.

                          Exhibit 27. Summary of Inflated Valuations for Impossible Valuations

                               No. of Securities
                               with Impossible        Total Valuatiom                  Difference
                    Month         Valuation        Infinity Q    NERA           Amount          Average
                     (1)              (2)              (3)         (4)              (5)             (6)
                                                                                =(3) - (4)       =(5)/(2)
                                                       -------------------- $ MM --------------------

                     Oct-19                    2   $     8.6     $     1.5     $      7.1     $     3.5
                     Nov-19                    2         8.8           1.0            7.8           3.9
                     Dec-19                    2        10.6           1.6            9.0           4.5
                      Jan-20                   2        11.0           1.7            9.3           4.6
                     Feb-20                    2         8.5         (10.0)          18.5           9.3
                     Mar-20                    3        (2.3)        (40.3)          38.0          12.7
                     Apr-20                    5       (24.3)        (68.1)          43.8           8.8
                     May-20                    4       (32.1)        (60.2)          28.1           7.0
                     Jun-20                    3       (27.1)        (51.0)          23.8           7.9
                      Jul-20                   3       (24.9)        (47.3)          22.4           7.5
                     Aug-20                    2       (30.8)        (34.6)           3.8           1.9
                    Overall                   30   $   (93.9)    $ (305.7)     $    211.8     $     7.1


VI.      INFINITY Q’S ALTERATIONS DEPEND ON WHETHER IT IS SHORT OR LONG AND
         INFLATED ITS REPORTED VALUATIONS
             109.     This section demonstrates that IQ used inconsistent expectations about the future
      variability of the price of the underlying assets which inflated the valuations. IQ effectively used
      different expected variability of the price of the reference assets depending on whether IQ was


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long or short, for the same underlying reference assets and over the same time period. By
contrast, my valuations and the counterparties’ valuations are consistent in terms of the
expectations of future variability of the price of the underlying asset regardless of whether the
position is short or long.

           110.      A key variable in valuing a variance swap on an underlying asset such as the S&P
500 Index or the Russell 2000 Index is the expectation of the uncertainty in the price of the asset
over the remaining life of the swap. When valuing a swap, the forecast of the degree of
dispersion of the price of reference asset should not change whether one is long or short on a
position. For example, if I expect the price of S&P 500 Index to be highly uncertain over the next
few months, then I would use a forecast of future variance that reflects a high degree of
dispersion of the S&P 500 Index price regardless of whether the position is short or long. This is
not the case in IQ’s valuations.

           111.      The value of a variance swap depends on the actual realized variance from the
effective date to the valuation date, as well as the expectation of the variance of the price of the
reference asset over the remaining life of the swap between the valuation date and the
termination date. The expected variance is the only unobservable variable needed in the
valuation and hence could be a source of discrepancy in the valuation of the swap. Similarly, the
variance swap rate or VS rate is the forecast for the expected volatility of an asset over its
remaining life. Using the valuation of the swap at a given date, the actual realized variance, and
other inputs, one can back out the expected variance that is implied by the valuation.

           112.      I identified four positions within the 62 discussed above that were variance swaps
with the same underlying reference asset—which is the Russell 2000 Index—and termination
date and with IQ as a seller in one and a buyer in another.76 The expected variance of the price of
the Russell 2000 Index over the remaining life of the swap should be consistent whether IQ was
a buyer or a seller. This is not the case in IQ’s valuations. This inconsistency is caused by IQ’s




76
     The four positions are the only ones within the 62 positions with monthly scripts that satisfy the following criteria:
     the positions are variance or volatility swaps, the positions have the same underlying index, the positions have the
     same termination date and IQ is buyer and seller.


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alterations and there are no parameters or features in the term sheets that would explain this
inconsistency.

                        Example 9: Long and Short Variance Swaps on the Russell 2000 Index in
                        the Hedge Fund (VAF)

           113.    I discuss below the valuation of two VAF variance swaps as of April 30, 2020,
one where IQ was a buyer and another where IQ was a seller. In both positions, the underlying
asset is the Russell 2000 Index and both positions have the same maturity date on August 21,
2020.77 I calculated three sets of estimates of the expected variance, i.e., the expected degree of
variation in the price of the Russell 2000 Index for the time period between the end of April 2020
and the maturity of the swaps. I first backed out the expected variance using IQ’s valuations
which are based on IQ’s altered terms, then I calculated the expected variance using the
valuations of the counterparties and my valuations.

           114.    Exhibit 28 presents the expected variance of the price of the Russell 2000 Index
for the two positions, one with IQ as a seller and the other as a buyer, implied by the valuation of
IQ, the counterparties and my valuations as of April 30, 2020. The expected variance implied by
the valuations of the two positions is consistent in my valuations and the counterparties’
estimates, but not in IQ’s valuations. IQ’s expected variance is notably greater than my estimates
and the counterparty’s estimates for the position where IQ is the buyer and would benefit if the
expected variance is higher. On the other hand, for the position where IQ is a seller, IQ’s
expected variance is lower compared to my estimates and the counterparty’s estimates and even
negative, which also inflates the valuation. A negative expected variance is another instance of
IQ’s flawed valuation as it is mathematically impossible for the variance to be negative and is a
result of its alterations of the contractual terms of the position, as I explain in detail below.




77
     VAF: XDAC98J6 [IQCM-SEC-00539173]. This position has an effective date of January 13, 2020 and a strike
     price of 18.75% with IQ as the seller.
     VAF: IS8495499 [IQCM-SEC-00539411]. This position has an effective date of April 1, 2020 and a strike price
     of 54.80% with IQ as the buyer.


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                                      Exhibit 28. Expected Variance (VS Rate as Variance) as of April 30, 2020 for
                                      VAF Variance Swaps of Russell 2000 Index Maturing August 21, 2020 for
                                      Example 9

                        3,000


                                                   2,547
                        2,500



                        2,000
                                                                               1,687
                                                                                           1,588
                                                                                                                               1,513
Expected Variance (%)




                                                                                                                       1,504
                        1,500



                        1,000



                         500



                           0
                                                                              CP:        CP:
                                                                              BAML       Barclays
                                      -190

                         -500
                                        Infinity Q                               Counterparty                         NERA Valuation
                                        Valuation                                 Valuation

                                             IQ as Seller of Russell 2000 Variance Swap @ 18.75 Expiring 8/21/20 (XDAC98J6)
                                             IQ as Buyer of Russell 2000 Variance Swap @ 54.80 Expiring 8/21/20 (IS8495499)



                            115.   The IQ valuation implied an expected variance of the price of the Russell 2000
Index of -190 between April 30, 2020 and August 21, 2020, where IQ was a variance seller.
However, its valuation of the position where IQ is a variance buyer implied an expected variance
of the Russell 2000 Index over the exact time period of 2,547. While different market
participants may have different views regarding expected or projected variance, there are no
parameters or features in the term sheets that would explain why the same person would have
conflicting or inconsistent expectations regarding the future variance of the price of the same
asset at the same point in time. IQ’s valuations imply inconsistent inputs about the variance of
the underlying asset, which depends on whether IQ is a buyer or a seller and inflates the
valuations.




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       116.    The two positions in Exhibit 28 had different counterparties. Merrill Lynch/Bank
of America was the counterparty to IQ in the swap where IQ was the seller and Barclays was the
counterparty to IQ in the swap where IQ was buyer. The valuation of Merrill Lynch/Bank of
America implied an expected variance of the price of Russell 2000 Index between April 30, 2020
and August 21, 2020 of 1,687 and Barclays predicted it to be at 1,588. My valuation of the two
swaps is consistent with an expected variance of 1,504 to 1,513 which is consistent with the
counterparties and quite different from the IQ valuation.

       117.    The findings hold when I analyze the valuations in the remaining months prior to
maturity for the two swaps. Exhibit 29 below presents the comparison of the expected variance
of the price of Russell 2000 Index using the valuations of IQ, the counterparties and my
valuations between April 2020 (as depicted before) and July 2020.

       118.    The IQ valuations implied an expected variance for the price of the Russell 2000
Index that is increasingly inconsistent. The expected variance implied by the April 2020
valuation where IQ as buyer was 2,547 and -190 for the position where it was the seller, as of the
same date, for the same reference asset. The difference was 2,737 in April 2020. Similarly, the
difference between its expected variance increased to 3,326 in May 2020 to 4,776 in June 2020
and to 13,613 in July 2020. The forecasted variance of the price of the Russell 2000 Index as
indicated by the valuations of Merrill Lynch/Bank of America, Barclays and my valuations each
month remained consistent with each other whether IQ was seller or buyer. The position with IQ
as buyer closed in August with a realized price of negative $3.6 million, my valuation of the
position in July was negative $3.3 million, the counterparty valued the position at negative $3.3
million whereas IQ valued the position at negative $1.0 million. The position with IQ as seller
closed in August with a realized price of negative $9.9 million, my valuation of the position in
July was negative $10.2 million, the counterparty valued the position at negative $10.2 million
whereas IQ valued the position at negative $7.4 million.




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                                                  Exhibit 29. Expected Variance (VS Rate as Variance) between April 30, 2020
                                                  and July 31, 2020 for VAF Variance Swaps of Russell 2000 Index Maturing
                                                  On August 21, 2020 for Example 9

                                                       April 30, 2020                                                                            May 29, 2020

                         8,000                                                                                      8,000

                         6,000                                                                                      6,000
                                    2,737 difference                                                                          3,326 difference
                         4,000                                                                                      4,000




                                                                                            Expected Variance (%)
 Expected Variance (%)




                                              2,547                                                                                     2,768
                         2,000                              1,687   1,588   1,504   1,513                           2,000                            1,494   1,563   1,369   1,379

                             0                                                                                          0
                                                IQ         BAML Barclays      NERA                                                      IQ           BAML Barclays     NERA
                                      -190                                                                                      -558 Valuation
                                             Valuation     Counterparty      Valuation                                                                Counterparty    Valuation
                         -2,000                                                                                     -2,000
                                                             Valuation                                                                                 Valuation
                         -4,000                                                                                     -4,000

                         -6,000                                                                                     -6,000

                         -8,000                                                                                     -8,000




                                                       June 30, 2020                                                                             July 31, 2020
                                                                                                                             13,613 difference
                         8,000                                                                                      8,000                7,772

                         6,000      4,776 difference                                                                6,000

                         4,000                3,438                                                                 4,000
                                                                                            Expected Variance (%)
 Expected Variance (%)




                         2,000                              1,525   1,574   1,396   1,414                           2,000                            1,044   1,086   1,051   1,093
                             0                                                                                          0
                                                IQ         BAML Barclays      NERA                                                         IQ        BAML Barclays     NERA
                                                            Counterparty                                                                Valuation     Counterparty    Valuation
                         -2,000      -1,339 Valuation                        Valuation                              -2,000
                                                                                                                                                       Valuation
                                                             Valuation
                         -4,000                                                                                     -4,000

                         -6,000                                                                                     -6,000
                                                                                                                               -5,842
                         -8,000                                                                                     -8,000




                                  119.       The inconsistencies in the IQ valuations are due to the alterations that IQ made to
the contractual terms of the positions. The alterations depended on whether IQ was a buyer or
seller and inflated the valuations for each of those positions. For the position where IQ was a
seller (short the variance), IQ changed the maturity date of the swap in February 2020 from its
contractual date of August 21, 2020 to December 18, 2020. The alteration had the effect of
artificially reducing the weight of the actual realized volatility between the effective date and the
valuation date and hence underestimated the projected losses associated with the position where
IQ was a seller. By altering the contractual terms and inflating the valuation, IQ’s valuation


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effectively resulted in negative expected variance which is a serious flaw as the variance cannot
possibly have a negative value. It is mathematically impossible for the variance to be a negative
number.

        120.    For the variance swap on the Russell 2000 Index where IQ was buyer (long
variance), IQ lowered the notional in April 2020 to $100K instead of its contractual notional of
$250K and changed the maturity date to July 17, 2020 instead of August 21, 2020 as in the term
sheet. By reducing the notional, IQ scaled down the loss it was projecting for this position. This
position would record a loss upon maturity if the final realized volatility was below the 54.8%
strike price.

                   Example 10: Long and Short Variance Swaps on the Russell 2000 Index
                   in the Mutual Fund (DAF)

        121.    Here is the other example of IQ’s inconsistent valuations for swaps on the same
reference asset depending on whether IQ was a buyer or a seller. IQ held the same two positions
in DAF but made different alterations which resulted in even more inconsistencies in its
valuations and associated expectation of the variance of the price of the Russell 2000 Index. In
addition, IQ made no alterations for the DAF position where IQ was the buyer (long) which
resulted in valuations that are consistent with my valuations and the counterparties’ valuations.
Similarly, because there were no alterations in IQ’s DAF position as a buyer, its projected
variance of the price of the Russell 2000 Index is in line with the counterparties and with my
valuations. This is another empirical analysis that shows that the inconsistencies in IQ’s
valuations and expected variance are associated with the alterations in the contractual terms
leading to inflated valuations.

        122.    The two variance swaps in the DAF portfolio are identical to the ones in the VAF
portfolio discussed above, one where IQ is a buyer and another where IQ is a seller. In both




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positions, the underlying asset is the Russell 2000 Index and both positions have the same
maturity date of August 21, 2020.78

           123.    IQ did not alter the contract terms for the DAF position where IQ was long. As a
result, its valuation of that position indicates an expected variance which is consistent with my
and the counterparties’ valuations. By contrast, for the position where IQ was short, IQ changed
the effective date of the swap in March 2020 from its contractual date of January 13, 2020 to
April 17, 2020. This alteration effectively removed the high values for actual realized variance
between January and April 2020 from the valuation of the swap. IQ was seller and would benefit
if the expected variance was lower. The IQ alterations implied a negative expected variance
which is mathematically impossible and made IQ’s expected variance notably lower than my and
the counterparties’. IQ also changed the notional to $55K in April 2020 instead of its true
notional of $155.5K. By reducing the notional, IQ further underestimated its projected losses.

           124.    Exhibit 30 presents the expected variance based on the valuations of IQ, the
counterparties and my valuations as of April 30, 2020. The expected variance implied by the IQ
valuation for the position with IQ as buyer is consistent with the estimates based on my and the
counterparties’ valuations. IQ did not make any alterations to this position. By contrast, IQ’s
expected variance is notably lower—and negative—where IQ is the seller. This is the position
where IQ changed the contract terms. The IQ valuation implied an expected variance of the
Russell 2000 Index between April 30, 2020 and August 21, 2020 of negative 3,002 when valuing
the variance swap as a seller. IQ predicted the expected variance of the Russell 2000 Index over
the same time period to be 1,637 when valuing the variance swap with IQ as variance buyer.




78
     DAF: XDAC8ZIA [TAP_SDNY_001703]. This position has an effective date of January 13, 2020 and a strike
     price of 18.75% with IQ as seller.
     DAF: IS8434001 [TAP_SDNY_001928]. This position has an effective date of April 1, 2020 and a strike price of
     54.80% with IQ as buyer.


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                                       Exhibit 30. Expected Variance (VS Rate as Variance) as of April 30, 2020 for
                                       DAF Variance Swaps of Russell 2000 Index Maturing August 21, 2020 for
                                       Example 10



                        2,000
                                                 1,637                       1,680
                                                                                        1,588                       1,504    1,513


                        1,000




                            0
                                                                            CP:       CP:
                                                                            BAML      Barclays
Expected Variance (%)




                        -1,000




                        -2,000




                        -3,000
                                      -3,002



                        -4,000
                                         Infinity Q                           Counterparty                          NERA Valuation
                                         Valuation                             Valuation

                                          IQ as Seller of Russell 2000 Variance Swap @ 18.75 Expiring 8/21/20 (XDAC8ZIA)
                                          IQ as Buyer of Russell 2000 Variance Swap @ 54.80 Expiring 8/21/20 (IS8434001)



                             125.   Finally, IQ reversed some of the alterations to the contractual terms as the
positions neared maturity, which is an additional signal that the alterations led to inconsistent
valuations. The discrepancy in the expected variance of IQ’s valuations diminished over time as
IQ reversed some of the alterations for the short position. Exhibit 31 presents the comparison of
the expected variance of the Russell 2000 Index using the valuations of IQ, the counterparties
and my valuations between April 2020 (as depicted before) and July 2020. The difference in IQ’s
expected variance between its buy and sell positions decreased from 4,639 in April 2020 to 4,188
in May 2020 when IQ changed the effective date in the short position from April 17, 2020 to
February 17, 2020—i.e. closer to the contractual date of January 13, 2020. The difference in IQ’s
expected variance of the buy and sell positions further decreased to 111 in June 2020 when IQ
reversed the notional amount in the short position from $55K to $135K—i.e. closer to the


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contractual amount of $155K. The position with IQ as buyer closed in August with a realized
price of negative $3.6 million, my valuation of the position in July was negative $3.3 million, the
counterparty valued the position at negative $3.3 million whereas IQ valued the position at
negative $3.2 million. The position with IQ as seller closed in August with a realized price of
negative $9.9 million, my valuation of the position in July was negative $10.2 million, the
counterparty valued the position at negative $10.2 million whereas IQ valued the position at
negative $10.4 million.

                                                   Exhibit 31. Expected Variance (VS Rate as Variance) Between April 30, 2020
                                                   and July 31, 2020 for DAF Variance Swaps of Russell 2000 Index Maturing
                                                   August 21, 2020 for Example 10

                                                     April 30, 2020                                                                           May 29, 2020

                         8,000                                                                                    8,000

                         6,000                                                                                    6,000
                                  4,639 difference                                                                         4,188 difference
                         4,000                                                                                    4,000
 Expected Variance (%)




                                                                                          Expected Variance (%)

                         2,000               1,637        1,680   1,588   1,504   1,513                           2,000               1,584        1,489   1,563   1,369   1,379

                             0                                                                                        0
                                               IQ        BAML Barclays        NERA                                                      IQ        BAML Barclays       NERA
                                            Valuation     Counterparty       Valuation                                               Valuation     Counterparty      Valuation
                         -2,000                                                                                   -2,000
                                                           Valuation                                                                                Valuation
                                   -3,002                                                                                   -2,604
                         -4,000                                                                                   -4,000

                         -6,000                                                                                   -6,000

                         -8,000                                                                                   -8,000




                                                     June 30, 2020                                                                            July 31, 2020

                         8,000                                                                                    8,000

                         6,000                                                                                    6,000

                         4,000    111 difference                                                                  4,000    435 difference
 Expected Variance (%)




                                                                                          Expected Variance (%)




                         2,000     1,729     1,619        1,521   1,574   1,396   1,414                                     1,643
                                                                                                                  2,000               1,208       1,041    1,086   1,051   1,093
                             0                                                                                        0
                                        IQ               BAML Barclays       NERA                                                IQ               BAML Barclays       NERA
                         -2,000      Valuation            Counterparty      Valuation                                         Valuation            Counterparty      Valuation
                                                                                                                  -2,000
                                                           Valuation                                                                                Valuation
                         -4,000                                                                                   -4,000

                         -6,000                                                                                   -6,000

                         -8,000                                                                                   -8,000




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                  126.    In summary, I examined four variance swap positions on the Russell 2000 Index,
       a set of buy and sell positions in VAF, and a set of buy and sell positions in DAF that
       demonstrate IQ’s inconsistent valuations depending on whether it is short or long. My findings
       are: 1) the IQ valuations indicate conflicting expected variance of the price of the Russell 2000
       Index (the same reference asset in the example) depending on whether IQ was a buyer or a seller;
       2) the conflicting valuations are associated with the IQ alterations of the contractual terms; 3)
       IQ’s expected variance was consistent with my calculations and the counterparties’ for the one
       position where IQ did not make any alterations; and 4) IQ reversed some of these alterations as
       the positions neared maturity and, as a result, some of the inconsistencies implied by its
       valuations decreased as the positions neared maturity.


VII.          THE IQ VALUATIONS INFLATED THE NET ASSET VALUE, MANAGEMENT FEES,
              AND PERFORMANCE ALLOCATIONS OF THE FUNDS

                  127.    IQ’s alterations of the contractual terms inflated the valuation of many OTC
       derivative securities and overstated the reported NAV of the Infinity Q funds. The NAV equals
       the value of all underlying securities and cash. In the previous sections, I have verified that my
       valuations are consistent with the valuations of the counterparties as compared to the valuations
       of IQ for the OTC positions. This section demonstrates the amount and impact of IQ’s inflated
       valuations for the OTC positions by comparing the VAF NAV using the counterparties’
       valuations as compared to IQ’s reported NAV. I recalculated the management and performance
       fees based on the counterparty valuations. In addition, I estimated the but-for NAV for VAF
       using my valuations for the VAF positions in the list of 62 positions with Bloomberg scripts.79

                  128.    Each month the counterparties to Infinity Q provided their estimates of market
       value for open positions.80 I recalculated the VAF’s NAV each month by replacing the historical
       IQ valuations with valuations from its counterparties. IQ’s overstatements of the VAF NAV
       were largest in and after March 2020 following the COVID-19 crisis. The largest difference




       79
            Similar analyses can be applied to DAF which would include management fees but not a performance allocation
            component.
       80
            For example, IQCM-SEC-00585972 is a Barclays report for January 2020 which shows Barclay’s valuations as
            the counterparty for the positions.


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between the reported VAF NAV and the counterparty-based NAV is in March 2020, with a
difference in the NAV of about $617.7 million or 223.4%.81

           129.     Given that the counterparty estimates are usually lower than IQ’s reported
valuations, the management fees using the counterparty valuations are lower after correcting for
the inflation in IQ’s valuations. Management fees to Infinity Q were $24.4 million, while they
would have been $16.1 million using the counterparty valuations. Accordingly, Infinity Q was
allocated $8.4 million in excess management fees.

           130.     Similarly, I recalculated the performance allocations from the Limited Partners
share in the fund to the General Partner based on the counterparty valuations. Because gains that
are reported in the IQ’s valuations typically are replaced by losses based on the counterparty
valuations, the performance allocation to Infinity Q will either be zero or lower than reported
using the counterparties’ valuations. The performance allocation to Infinity Q was reported as
$21.0 million, while it would have been $1.0 million using the counterparty valuations between
the inception of the fund in February 2017 to January 2021. Infinity Q was then allocated $20.0
million in excess performance allocation.

           131.     Moreover, if I calculate the NAV of the hedge fund assuming that IQ only made
alterations to the 27 VAF positions out of the 62 positions that I examined in the earlier sections,
then IQ inflated the NAV for the hedge fund by a range of $3.6 million to $148.4 million
between January 2020 and January 2021, resulting in $1.4 million in excess management fees
and $8.5 million in excess performance allocation.

               A. Comparison of the Estimated Net Asset Value of Infinity Q Using
                  Counterparty Valuations to the Reported Net Asset Value IQ’s
                  Reported NAV

           132.     I recalculated the hedge fund’s NAV each month between February 2017 and
January 2021 by replacing IQ’s historical valuations of the open positions with valuations from




81
     The DAF NAV would also be overstated as the alterations of contract terms and inflation of IQ’s valuations were
     not restricted to VAF, as discussed in prior sections. The overstatement in the DAF NAV means that excess
     management fees had been paid by DAF investors.


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the counterparties. The recalculated NAVs result in lower management fees based on the lower
balance of the Limited Partners using counterparty valuations.

           133.     First, I replicated the historical end-of-month NAVs using IQ’s valuations. I
started with the end-of-month NAV as of the prior month. Next, I added month-start
contributions and subtracted month-start withdrawals to compute the monthly beginning balance
of the fund. The VAF’s monthly beginning balance is the basis for calculating management
fees.82 Then, I subtracted management fees paid to Infinity Q. Next, I added historical monthly
gains and losses and subtracted end-of-month withdrawals. The resulting VAF’s balance matches
the reported end-of-month NAV of the fund per IQ’s valuations.

           134.     Next, I calculated the NAV using the counterparties’ valuations by replacing the
hedge fund’s historical unrealized gains and losses as reported by IQ with gains and losses based
on the valuations from the counterparty and the resulting management fees. To recalculate the
gains and losses at the fund level using counterparty valuations, I identified open positions and
the historical market values as well as the counterparty estimates from the margin reports, when
available. I calculated the difference between the market value as estimated by IQ and the market
value as estimated by each counterparty and adjusted the unrealized gains and losses
accordingly. The resulting VAF’s balance after adjusting the gains and losses and management
fees is the NAV based on the counterparty valuations.83

           135.     Exhibit 32 presents the historical and the counterparty-based NAVs over time.
The counterparty-based NAV is lower than the historical NAV for every month between
December 2017 (the first month with available counterparty reports) through January 2021. The
difference between the reported NAVs and the adjusted NAVs increased over time, from roughly
$3.2 million in 2017 to $491.5 million in January 2021. The largest difference between the
reported NAV and the counterparty-based NAV is in March 2020, with a difference in the NAV
of about $617.7 million.




82
     Management fees are equal to 12.5 basis points multiplied by the VAF Adjusted Capital after excluding the
     General Partner interest in the fund.
83
     I considered all Limited Partners investors as one in my analysis.


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                             Exhibit 32. IQ’s and Counterparty-Based NAVs for VAF Between February
                             2017 to January 2021

              $1,400 MM
                                                                         March 11, 2020:
                                                                         COVID-19 is declared
                                                                         a global pandemic by
                                                                         the WHO
              $1,200 MM



              $1,000 MM



               $800 MM
  Valuation




               $600 MM



               $400 MM



               $200 MM



                 $0 MM




                                           Historical NAV   Counterparty Based NAV



                 136.     The difference between the historical and counterparty-based NAVs increased
notably following the declaration of COVID-19 as a global pandemic on March 11, 2020.
Exhibit 33 presents the ratio of IQ NAV to the adjusted NAV (based on counterparty
values) over time. The IQ NAV was higher and remained within 35 percent of the counterparty-
adjusted NAV until March 2020. Between March 2020 and January 2021, the difference between
IQ’s NAV and the NAV using the counterparties’ valuations is between 63.7% and 223.4%
higher than the counterparty-based NAV.




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                          Exhibit 33. Ratio of IQ’s NAV to Counterparty-Based NAV for VAF Between
                          February 2017 to January 2021

          4.0
                                                                          March 11, 2020:
                                                                          COVID-19 is declared
                                                                          a global pandemic by
          3.5                                                             the WHO



          3.0



          2.5
  Ratio




          2.0



          1.5



          1.0



          0.5



          0.0




                                           Historical NAV / Counterparty Based NAV



                   B. Comparison of Management Fees based on Historical and
                      Counterparty Valuations

                137.   Management fees of the VAF is equal to 12.5 basis points multiplied by the
aggregate balance of the fund balance after excluding the General Partner’s interest. Because the
counterparty-based NAV is usually lower than the NAV per IQ’s valuations, the aggregate
balance for the Limited Partners and hence management fees are lower for all months under the
counterparties’ valuations.

                138.   Exhibit 34 presents management fees for the VAF as reported by IQ and as
recalculated using counterparty valuations. Using IQ’s reported valuations, management fees to
Infinity Q General Partner from February 2017 through January 2021 totaled $24.4 million.
Using the counterparty valuations, the recalculated management fees totaled $16.1 million. The
overall difference in management fees using the counterparty’s valuations is about $8.4 million.


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                   Exhibit 34. Management Fees for Infinity Q Volatility Alpha Fund between
                   February 2017 to January 2021

                                                      Management Fees
                                          Infinity Q    Counterparty
                              Year        Valuation        Valuation        Difference
                               (1)            (2)              (3)              (4)
                                                                             =(2) - (3)
                                   -------------------------- $ MM --------------------------

                                      1
                              2017        $     0.3    $            0.3     $        0.0
                              2018              1.4                 1.3              0.2
                              2019              5.8                 4.9              0.9
                              2020             15.4                 8.6              6.7
                                      2
                              2021              1.5                 1.0              0.5
                              Total       $    24.4    $          16.1      $        8.4


                         Notes and Sources:
                          1
                              2017 management fees are for February through
                              December.
                          2
                              2021 management fees are as of January 2021.


             C. Comparison of Performance Allocation based on Historical and
                Counterparty Valuations

         139.   I also recalculated the performance allocation to the General Partner between
February 2017 and January 2021 using the counterparty valuations instead of the reported ones.
The performance allocation is a transfer of the Limited Partners share in the fund to the General
Partner. The performance allocation reduces the interest of the Limited Partners in the fund and
increases the General Partner interest by the same exact amount.

         140.   The performance allocation is equal to 15 percent of the return to investors net of
previous losses that were not offset by subsequent gains.84 In other words, the performance
allocation may be zero even if the return to the Limited Partners is positive for the fiscal year if
prior losses to investors were not completely recovered. Because gains based on the IQ NAVs
are typically replaced by losses based on the counterparty-based NAV, the performance
allocation to the GP are often zero using the counterparty-based NAV.




84
     SEC-SDNY-EPROD-003725092.


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       141.    Exhibit 35 presents the performance allocation for the VAF using IQ’s and
counterparty valuations. Using IQ’s valuations, the total performance allocation to the Infinity Q
General Partner was $21.0 million, while the allocation would have been $1.0 million using
counterparty valuations. Under the counterparty valuations there would be little to no
performance allocation to the GP and as a result, the Infinity Q General Partner received
approximately $20.0 million in excess performance allocation.

                   Exhibit 35. Performance Allocation for Infinity Q Volatility Alpha Fund From
                   February 2017 to January 2021

                                                  Performance Allocation
                                      Infinity Q Counterparty
                             Year     Valuation           Valuation        Difference
                              (1)          (2)                (3)              (4)
                                                                            =(2) - (3)
                                  -------------------------- $ MM --------------------------

                             2017         $    0.7     $           0.2     $        0.5
                             2018              3.8                 0.0              3.8
                             2019              8.3                 0.5              7.7
                             2020              8.2                 0.2              8.0
                                      1
                             2021              0.0                 0.0              0.0
                            Total         $   21.0     $           1.0     $      20.0


                       Notes and Sources:
                       - Performance fees due to withdrawal are assumed to
                         be unchanged under NERA valuation.
                        1
                            2021 performance allocation is as of January 2021.


           D. But-For NAV for VAF Using My Valuations For the 62 Positions with
              Bloomberg Scripts

       142.    I estimated the net asset value for VAF using my valuations for the 27 VAF
positions out of the 62 position with Bloomberg scripts. Using the same methodology as outlined
in the prior section, I revalued the NAV by replacing the IQ valuations with my valuations for
the 27 VAF positions, keeping all other IQ valuations the same. This resulted in notably lower
NAV for VAF especially in 2020. Exhibit 36 presents the but-for NAV using my valuations for
2020 and 2021. Infinity Q inflated the NAV by $3.6 million to $148.4 million between January
2020 to January 2021. Infinity Q inflated the NAV by $141.1 million in March 2020, $148.4
million in April 2020 and $130.7 million in May 2020.



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                  Exhibit 36. But-For NAV for Infinity Q Volatility Alpha Fund in 2020 and
                  2021 Based on Valuation Using Term Sheet Values for 27 VAF Positions

                                            But-For NAV using
                            Infinity Q       NERA Valuation
                  Date        NAV          for 27 VAF Positions          Difference
                   (1)          (2)                 (3)                       (4)
                                                                           =(2)-(3)
                                ---------------------- $ MM ----------------------

                  Jan-20    $     753.8   $                  750.2    $        3.6
                 Feb-20           820.6                      801.2            19.4
                 Mar-20           894.1                      753.1           141.1
                 Apr-20           977.4                      828.9           148.4
                 May-20           988.3                      857.7           130.7
                  Jun-20        1,088.3                      960.4           127.9
                   Jul-20       1,118.5                      991.1           127.3
                 Aug-20         1,117.2                    1,019.7            97.6
                 Sep-20         1,136.1                    1,036.9            99.2
                 Oct-20         1,141.1                    1,032.5           108.6
                 Nov-20         1,134.9                    1,051.3            83.6
                 Dec-20         1,183.7                    1,126.7            57.1
                  Jan-21        1,224.8                    1,171.1            53.6

       143.   The inflated NAV also resulted in inflated management fees and inflated
performance allocation. In total, between the inception of the fund in February 2017 through
January 2021, based on the inflated valuations of just the 27 VAF positions, Infinity Q charged
investors $1.4 million in excess management fees and $8.5 million in excess performance
allocation.




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VIII.   MISCELLANEOUS

           144.    My work is ongoing, and my analyses are subject to revision based on new
    information (including documentation, reports or testimony from the Defendant), which
    subsequently may be provided to, or obtained by, me. In this regard, I will separately respond to
    any economic analysis that Mr. Velissaris may advance in a rebuttal report or otherwise.




                                                                By: _________________________
                                                                       Faten Sabry, Ph.D.




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APPENDIX A: DESCRIPTION OF TYPES OF SECURITIES IN THE INFINITY Q FUNDS

       1.       This appendix provides a brief description of some of the of OTC derivative
securities underlying Infinity Q’s DAF and VAF portfolio other than variance swaps.

Corridor Variance Swaps

       2.       A variant of a vanilla variance swap is a corridor variance swap. For corridor
variance swaps, the swap only accrues volatility when the price of the reference asset is within
the lower and upper corridors stated in the term sheet. In other words, if the price of the reference
asset is below the lower corridor or above the upper corridor at the end of a day, the swap does
not include that day when calculating the realized volatility. Alternative variants of the corridor
variance swap are up barrier variance swaps and down barrier variance swaps. In an up barrier
variance swap, the swap only accrues volatility when the price of the reference asset is above the
barrier. In a down barrier variance swap, the swap only accrued volatility when the price of the
reference asset is below the barrier.

Dispersion Swaps

       3.       Another variant of a variance swap is a dispersion swap. In one form of a
dispersion swap, there can be two legs where one leg is based on the variance of an equity index
and the other leg is based on the variance of the components of the same equity index (index
constituents). This type of dispersion swap is designed to capture the differential in the variance
of the index as compared to the variance of the components of the index. The buyer of the
variance of the index gains if the realized volatility of the index is greater than the realized
volatility of the components of the index. The buyer of the variance of the components of the
index gains if the realized volatility of the components of the index is greater than the volatility
of the index.

       4.       For example, the diagram below presents the dispersion swap where the first leg
is the Nasdaq 100 (NDX) index and the second leg is 20 of the stocks in the NDX index. Person
A (green) is a buyer of the variance of the index and seller of the variance of the components of
the index and Person B (red) is a buyer of the variance of the components of the index and seller
of the variance of the index. If the variance of the index is greater than the index of the


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components of the index over the life of the dispersion swap, then Person B would pay Person A
based on the differential in the realized variances, and vice versa.




Volatility Swaps

           5.       Volatility swaps share the same key term and valuation inputs as variance swaps,
with the exception of volatility swaps tracking the volatility of the price of a reference asset,
instead of the variance. Volatility swaps are also over-the-counter positions and are popular in
foreign exchange markets.85

Correlation Swaps

           6.       Correlation and covariance swaps are over-the-counter contracts where the parties
exchange cash flows based on the realized correlation between several assets and a strike price.86
They are similar to variance swaps in terms of the payoff structure. One party is a buyer of or in
a long position on the correlation of returns of two reference assets, such as two different stocks,
and gains if the correlation exceeds an agreed-upon strike price. A correlation swap can extend to




85
     Carr, Peter and Roger Lee. Robust Replication of Volatility Derivatives. May 31, 2009, p. 3.
86
     Dresdner Kleinwort. A New Approach for Modeling and Pricing Correlation Swaps. May 9, 2007, p. 2.


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a basket or portfolio of reference assets, such as the 30 stocks in the Dow Jones Industrial
Index.87

Options

           7.       Options are contractual agreements in which the buyer of an option has the right,
although not the obligation, to purchase or sell a reference asset at a specified price from the
seller of the option. The features of an option contract include the strike price, the reference
asset, expiry date, premium, and contract size. European Options can only be exercised at
expiration while American Options can be exercised at any time prior to expiration.

           8.       An option which grants the buyer the right to purchase the reference asset is
referred to as a call option while an option that grants the buyer the right to sell the reference
asset is referred to as a put option. The strike price of an option is the price at which the buyer
can purchase or sell the reference asset. The buyer of a call option has the right to purchase the
reference asset at the strike price from the option seller, regardless of the current price of the
reference asset. The buyer of a put option has the right to sell the reference asset at the strike
price to the option seller, regardless of the current price of the reference asset.

           9.       For this right, and not obligation, the option buyer pays the option seller a
premium at the time of executing the trade.88 The amount of the premium will depend on how
close or far away the strike price is to the current price of the reference asset. The premium for a
call option will be higher if the call option strike price is below or close to the current price. The
premium for a put option will be higher if the put option strike price is above or close to the
current price. All else equal, the lower the strike price for a call option, the higher the premium,
and the higher the strike price for a put option, the higher the premium.

For an options trade, the premium needs to be accounted for when calculating gains and losses
on the position. For an option buyer, the premium is a cost and will go to offset a gain. For an
option seller, the premium is a profit and will go to offset a loss. Generally, a call option will


87
     For example, see a term sheet for a correlation swap on the USDKRW and EURKRW currency pairs
     (TAP_SDNY_001013).
88
     Hull, John C. Options, Futures, and Other Derivatives (8th Ed.). Prentice Hall, Boston, 2012, p. 8.


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increase in value if the price of the reference asset moves up and a put option will increase in
value if the price of the reference asset moves down. At expiration, the buyer of a call option will
have a positive payoff if the current price of the reference asset is above the strike price since the
buyer of the call option can buy the reference asset from the option seller at below the market
price. Similarly, at expiration, the buyer of a put option will have a positive payoff if the current
price of the reference asset is below the strike price since the buyer of the put option can sell the
reference asset to the option seller at above the market price. If the current price is below the
strike price for a call option at expiration, the option will expire worthless, and if the current
price is above the strike price for a put option at expiration, the option will also expire worthless.

           10.      Options can be classified based on the nature of the reference asset. An equity
option refers to an option in which the reference asset is the stock of a company. An index option
refers to an option in which the reference asset is a market index such as the S&P 500 Index or
Russell 2000 Index. A foreign exchange is an option in which the reference asset is a currency
and it grants the buyer the right to purchase or sell a currency at a contractually specified
exchange rate (strike price).

Credit Default Swaps

           11.      A credit default swap (“CDS”) is a contract between two parties in which the
buyer makes periodic payments, or CDS spread, to the seller for protection against a default or
credit event on a reference entity, such as a public company or a fixed income security. A CDS
contract is commonly compared to an insurance policy on the reference entity. A CDS contract
specifies the reference entity, a list of credit events, the delivery obligations, the premium
payments, the expiration date, and other details.

           12.      The diagram below is an example of the periodic cash flows between the buyer
and seller of a credit default swap.89 The buyer is the default protection buyer (left-hand side)
and agrees to pay the seller, or default protection seller (right-hand side), a rate of 90 basis points
on a notional amount. In return, the seller agrees to pay the buyer if there is a default or credit
event by the reference entity.


89
     Hull, John C. Options, Futures, and Other Derivatives (8th Ed.). Prentice Hall, Boston, 2012, p. 549.


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           13.      If the reference entity experiences a credit event, such as a company filing for
bankruptcy or a default on a fixed income security, the CDS seller would make a substantial
payment to the CDS buyer. For example, “[t]he buyer of the insurance obtains the right to sell
bonds issued by the company for their face value when a credit event occurs and the seller of the
insurance agrees to buy the bonds for their face value when a credit event occurs.”90 In this
instance, the CDS buyer receives a payment for the full face value of the defaulted bond and
delivers the defaulted bond, with an impaired value, to the CDS seller.

Total Return Swaps

           14.      A total return swap (“TRS”) is a contract to exchange cash flows based on the
realized returns on a reference asset at future dates. The TRS buyer is entering into a long
position on the return of the reference asset while the swap seller is in a short position. The TRS
buyer receives the realized returns on a reference asset while paying the seller a contractual rate,
such as an interest rate with a spread. The TRS buyer profits when the realized returns on the
reference asset exceed the contractual rate and losses when the realized returns are below the
contractual rate. Total return swaps provide the buyer exposure to the returns of the reference
asset without having to own the reference asset directly. The buyer instead faces
counterparty/default risk and interest rate risk.

           15.      The diagram below is an example of the periodic cash flows between the buyer
and seller of a total return swap on a bond.91 The buyer is the total return receiver (right-hand
side) and agrees to pay the seller, or total return payer (left-hand side), a rate of LIBOR plus 25
basis points on a notional amount. In return, the seller (total return payer) agrees to pay the buyer



90
     Hull, John C. Options, Futures, and Other Derivatives (8th Ed.). Prentice Hall, Boston, 2012, p. 548.
91
     Hull, John C. Options, Futures, and Other Derivatives (8th Ed.). Prentice Hall, Boston, 2012, p. 558.


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(total return receiver) the total return on the bond.




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APPENDIX B: LIST OF POSITIONS WITH BLOOMBERG SCRIPTS

     1.    Exhibit 37 presents the list of 62 positions by overlapping pairs, if available, in
DAF and VAF.

               Exhibit 37. List of 62 Positions by Overlapping Positions in DAF and VAF

                    No.    DAF BVAL ID             VAF BVAL ID
                    (1)         (2)                    (3)

                      1.   XDADACKX         IS8379143
                      2.   XDAC8QBZ         XDADAACM
                      3.   XDAC0FNA         IS8104550
                      4.   XDACVLWK         XDACVX6P
                      5.   XDADBKKY         XDADLDCT
                      6.   XDACRN7H         XDACSKXN
                      7.   XDADBIOT         IS8438749
                      8.   XDADCSI5         IS8438801
                      9.   XDADBIGC         XDADDD1A
                     10.   XDADBIRG         XDADDD00
                     11.   XDAC9TW8         XDAC99TB
                     12.   XDACOURG         XDACQZY7
                     13.   XDAC9RM2         XDAC99UP
                     14.   XDAC7E7L         IS7988117
                     15.   XDAC8ZIA         XDAC98J6
                     16.   OPWJW544         OPWKZYMD
                     17.   XDAC8QB4         XDAC98HE
                     18.   IS8507821        XDADFZWK
                     19.   IS8434001        IS8495499
                     20.   XDAC9Y5A         IS8379140
                     21.   XDAC1O00         XDAC112G
                     22.   XDACUIB5         XDACVX5D
                     23.   XDAC55AZ         IS8300389
                     24.   XDACY8G9         XDAC113A
                     25.   XDACY8HF         XDAC113A
                     26.   XDACQ6H3         XDAC2G26
                     27.   XDACQ9DO         XDAC2G26
                     28.   XDAB25EH         XDACMDBT / XDACMDBN
                     29.   XDAB22MA         XDACMDBT / XDACMDBN
                     30.   XDACXGU2         N/A
                     31.   XDACXGV8         N/A
                     32.   XDACXGVW         N/A
                     33.   XDAA9CVG         N/A
                     34.   XDAC9VWB         N/A
                     35.   XDAC9VWJ         N/A




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       2.       Exhibit 38 presents the list of twenty identical positions which were held by both
DAF and VAF with the largest differences in valuations between DAF and VAF as of May 2020.
I verified that the overlapping positions are identical by reviewing the term sheets of the
positions.

                   Exhibit 38. List of Twenty Identical Positions in DAF and VAF With the
                   Largest Differences in Valuation as of May 2020

                                                              Infinity Q Valuation
     No.     DAF BVAL ID   VAF BVAL ID           DAF                  VAF                 Difference
     (1)         (2)           (3)                (4)                  (5)                    (6)
                                                                                         =abs[(4) - (5)]

       1.    XDADACKX      IS8379143       $     2,206,396     $    19,603,395       $       17,396,999
       2.    XDAC0FNA      IS8104550            15,298,088           4,733,462               10,564,626
       3.    XDACVLWK      XDACVX6P             17,075,622           6,926,809               10,148,813
       4.    XDAC8QBZ      XDADAACM              6,399,868          14,231,002                7,831,134
       5.    XDAC9TW8      XDAC99TB             11,913,762           4,095,422                7,818,340
       6.    XDAC9RM2      XDAC99UP             (1,061,083)         (8,356,741)               7,295,658
       7.    XDACRN7H      XDACSKXN             10,434,879           3,634,504                6,800,375
       8.    XDADBIGC      XDADDD1A             10,306,113           4,610,918                5,695,195
       9.    XDADBIOT      IS8438749             7,199,371          11,966,426                4,767,055
      10.    XDADBKKY      XDADLDCT              9,344,282           4,636,657                4,707,625
      11.    XDADCSI5      IS8438801             6,579,073           1,971,732                4,607,341
      12.    XDACQ6H3      XDAC2G26             (4,896,877)           (767,740)               4,129,137
      13.    XDAC8QB4      XDAC98HE            (12,045,292)         (8,120,253)               3,925,039
      14.    XDAC9Y5A      IS8379140            21,712,092          25,170,860                3,458,768
      15.    XDACOURG      XDACQZY7              8,853,644           5,484,674                3,368,970
      16.    XDAC8ZIA      XDAC98J6             (4,326,618)         (7,576,046)               3,249,428
      17.    XDADBIRG      XDADDD00              3,936,108           1,148,045                2,788,063
      18.    IS8507821     XDADFZWK              1,930,698             256,287                1,674,411
      19.    IS8434001     IS8495499            (2,603,345)           (994,576)               1,608,769
      20.    OPWJW544      OPWKZYMD             (1,624,600)            (22,349)               1,602,251




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       3.     Exhibit 39 presents the list of twenty positions with the largest number of
UPDATE DEAL actions according to the Bloomberg audit trail data.

                  Exhibit 39. List of Twenty Positions With the Largest Number of UPDATE
                  DEAL Actions in the Bloomberg Audit Trail Data

                                                       Number of
                   No.     BVAL ID         Fund    UPDATE DEAL Actions
                   (1)       (2)            (3)            (4)

                    1.   XDAB25EH          DAF                             341
                    2.   XDACY8G9          DAF                             265
                    3.   XDACY8HF          DAF                             249
                    4.   XDACQ9DO          DAF                             168
                    5.   XDACQ6H3          DAF                             162
                    6.   XDACUIB5          DAF                             105
                    7.   XDACXGU2          DAF                              77
                    8.   XDAA9CVG          DAF                              73
                    9.   XDACXGV8          DAF                              69
                   10.   XDAC1O00          DAF                              69
                   11.   XDAC7E7L          DAF                              68
                   12.   XDACXGVW          DAF                              68
                   13.   XDAC9Y5A          DAF                              68
                   14.   XDACVLWK          DAF                              65
                   15.   XDAC9VWJ          DAF                              64
                   16.   XDAC0FNA          DAF                              61
                   17.   XDAC9VWB          DAF                              60
                   18.   XDAB22MA          DAF                              60
                   19.   XDACOURG          DAF                              49
                   20.   XDAC55AZ          DAF                              47

       4.     Exhibit 40 presents the list of the 62 positions based on the Bloomberg valuation
tool that IQ used for each position. As noted earlier, IQ used OVME to value corridor variance
swaps as documented in the Bloomberg system while OVME is not designed to value corridor
swaps according to Bloomberg. IQ would value these corridor variance swaps as variance swaps
and without upper or lower bounds in OVME.




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           Exhibit 40. List of 62 Positions by Bloomberg Valuation Tool
                  No.    BVAL ID    Fund    Bloomberg Valuation Tool
                  (1)      (2)       (3)              (4)

                   1.   XDAA9CVG    DAF    DLIB
                   2.   XDAB22MA    DAF    DLIB
                   3.   XDAB25EH    DAF    DLIB
                   4.   XDAC0FNA    DAF    DLIB
                   5.   XDAC1O00    DAF    DLIB
                   6.   XDAC55AZ    DAF    DLIB
                   7.   XDAC7E7L    DAF    DLIB
                   8.   XDAC8QB4    DAF    DLIB
                   9.   XDAC8QBZ    DAF    DLIB
                  10.   XDAC8ZIA    DAF    DLIB
                  11.   XDAC9RM2    DAF    DLIB
                  12.   XDAC9TW8    DAF    DLIB
                  13.   XDAC9VWB    DAF    DLIB
                  14.   XDAC9VWJ    DAF    DLIB
                  15.   XDAC9Y5A    DAF    DLIB
                  16.   XDACOURG    DAF    DLIB
                  17.   XDACQ6H3    DAF    DLIB
                  18.   XDACQ9DO    DAF    DLIB
                  19.   XDACRN7H    DAF    DLIB
                  20.   XDACUIB5    DAF    DLIB
                  21.   XDACVLWK    DAF    DLIB
                  22.   XDACXGU2    DAF    DLIB
                  23.   XDACXGV8    DAF    DLIB
                  24.   XDACXGVW    DAF    DLIB
                  25.   XDACY8G9    DAF    DLIB
                  26.   XDACY8HF    DAF    DLIB
                  27.   XDADACKX    DAF    DLIB
                  28.   XDADBIGC    DAF    DLIB
                  29.   XDADBIOT    DAF    DLIB
                  30.   XDADBIRG    DAF    DLIB
                  31.   XDADBKKY    DAF    DLIB
                  32.   XDADCSI5    DAF    DLIB
                  33.   XDAC112G    VAF    DLIB
                  34.   XDAC113A    VAF    DLIB
                  35.   XDAC2G26    VAF    DLIB
                  36.   XDAC98HE    VAF    DLIB
                  37.   XDAC98J6    VAF    DLIB
                  38.   XDAC99TB    VAF    DLIB
                  39.   XDAC99UP    VAF    DLIB
                  40.   XDACMDBN    VAF    DLIB
                  41.   XDACMDBT    VAF    DLIB
                  42.   XDACQZY7    VAF    DLIB
                  43.   XDACSKXN    VAF    DLIB
                  44.   XDACVX5D    VAF    DLIB
                  45.   XDACVX6P    VAF    DLIB
                  46.   XDADAACM    VAF    DLIB
                  47.   XDADDD00    VAF    DLIB
                  48.   XDADDD1A    VAF    DLIB
                  49.   XDADFZWK    VAF    DLIB
                  50.   XDADLDCT    VAF    DLIB
                  51.   IS8434001   DAF    OVME
                  52.   IS8507821   DAF    OVME
                  53.   IS7988117   VAF    OVME
                  54.   IS8104550   VAF    OVME
                  55.   IS8300389   VAF    OVME
                  56.   IS8379140   VAF    OVME
                  57.   IS8379143   VAF    OVME
                  58.   IS8438749   VAF    OVME
                  59.   IS8438801   VAF    OVME
                  60.   IS8495499   VAF    OVME
                  61.   OPWJW544    DAF    OVML
                  62.   OPWKZYMD    VAF    OVML



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APPENDIX C: TERM SHEET MATCHING PROCESS

          1.    The purpose of this appendix is to document the process that I used to confirm the
term sheets for each of the 62 positions with Bloomberg scripts. I relied on electronic files from
the DOJ which mapped the term sheets to the unique identifiers for each position. I then
conducted a manual review of the term sheets for the 62 positions with monthly scripts for
verification.

          2.    The first step was to identify the term sheets by using the mapping files provided
by the DOJ and to extract information from the term sheets. The mapping files are listed in
Exhibit 2. I received the term sheets in different electronic formats including PDF files, Excel
files, text files, and emails. There is no standardized format or document for the term sheets. The
term sheets generally come from the counterparty and include details on the derivative, such as
the type of position, strike price, notional amount and currency, corridors and barriers, trade date,
start date, and end date, and details on the calculations for the payoff, such as how to calculate
volatility and the payoff amount.

          3.    The second step was to identify a match between the historical valuations run and
stored in the Bloomberg system associated with each of the 62 positions with Bloomberg scripts
and the historical valuations reported by IQ in its monthly VAF US Bank profit and loss reports
or the quarterly DAF SEC filings. Matching historical valuations stored in the Bloomberg system
with historical valuations in reports and filings by IQ allowed me to obtain identifying
information for the position associated with the Bloomberg script. For example, the historical
valuations stored in the Bloomberg system for XDAC98JW matched the historical valuations in
the VAF US Bank profit and loss reports for the US Bank ID position
“VAF_011020_SG_VARSWP_2.”92

          4.    The third step was to compare whether the parameters in the term sheet matched
the label and description for the position with matched historical valuations in the VAF US Bank
profit and loss reports or the quarterly DAF SEC filings. For example, the US Bank ID position
“VAF_011020_SG_VARSWP_2” is described in the US Bank profit and loss report as “SX5E


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     VAF: XDAC98JW [IQCM-SEC-00583216].


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70/110% 12/17/21 16.85%”. The US Bank report identifies that this position is in the VAF, the
trade date is January 10, 2020, the counterparty is Société Générale, and that it is a type of swap.
The US Bank description provides more details, including that the reference index is the SX5E
Index (EURO STOXX 50 Index), that this is a corridor variance swap with corridors at 70% and
110% of the reference index level at the inception of the trade, that the maturity date is
December 17, 2021, and that the strike price is 16.85%. I checked and verified these details
against the term sheet. Another source was the DAF SEC filings that included descriptions of the
positions in a similar format.

       5.      Exhibit 41 is a list of the matched term sheets for the 62 positions with
Bloomberg scripts.




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           Exhibit 41. List of Matched Term Sheets for the 62 Positions with Bloomberg
           Scripts
                     No.     BVAL ID    Fund       Term Sheet
                     (1)       (2)       (3)          (4)

                       1.   IS7988117   VAF    IQCM-SEC-00105017
                       2.   IS8104550   VAF    IQCM-SEC-00110010
                       3.   IS8300389   VAF    IQCM-SEC-00539799
                       4.   IS8379140   VAF    IQCM-SEC-00581895
                       5.   IS8379143   VAF    IQCM-SEC-00539564
                       6.   IS8434001   DAF    TAP_SDNY_001928
                       7.   IS8438749   VAF    IQCM-SEC-00036938
                       8.   IS8438801   VAF    IQCM-SEC-00037093
                       9.   IS8495499   VAF    IQCM-SEC-00539411
                      10.   IS8507821   DAF    TAP_SDNY_001909
                      11.   OPWJW544    DAF    TAP_SDNY_001570
                      12.   OPWKZYMD    VAF    IQCM-SEC-00537878
                      13.   XDAA9CVG    DAF    TAP_SDNY_000592
                      14.   XDAB22MA    DAF    TAP_SDNY_001485
                      15.   XDAB25EH    DAF    TAP_SDNY_001485
                      16.   XDAC0FNA    DAF    TAP_SDNY_000791
                      17.   XDAC112G    VAF    IQCM-SEC-00539070
                      18.   XDAC113A    VAF    IQCM-SEC-00601434
                                               IQCM-SEC-00582265
                      19.   XDAC1O00    DAF    TAP_SDNY_001058
                      20.   XDAC2G26    VAF    IQCM-SEC-00601414
                                               IQCM-SEC-00582276
                      21.   XDAC55AZ    DAF    TAP_SDNY_001055
                      22.   XDAC7E7L    DAF    TAP_SDNY_000550
                      23.   XDAC8QB4    DAF    TAP_SDNY_001716
                      24.   XDAC8QBZ    DAF    TAP_SDNY_000316
                      25.   XDAC8ZIA    DAF    TAP_SDNY_001703
                      26.   XDAC98HE    VAF    IQCM-SEC-00538550
                      27.   XDAC98J6    VAF    IQCM-SEC-00539173
                      28.   XDAC99TB    VAF    IQCM-SEC-00539364
                      29.   XDAC99UP    VAF    IQCM-SEC-00540190
                      30.   XDAC9RM2    DAF    TAP_SDNY_001559
                      31.   XDAC9TW8    DAF    TAP_SDNY_000657
                      32.   XDAC9VWB    DAF    TAP_SDNY_000517
                      33.   XDAC9VWJ    DAF    TAP_SDNY_000387
                      34.   XDAC9Y5A    DAF    TAP_SDNY_000740
                      35.   XDACMDBN    VAF    IQCM-SEC-00538695
                      36.   XDACMDBT    VAF    IQCM-SEC-00538695
                      37.   XDACOURG    DAF    TAP_SDNY_000521
                      38.   XDACQ6H3    DAF    IQCM-SEC-00601353
                      39.   XDACQ9DO    DAF    IQCM-SEC-00601321
                      40.   XDACQZY7    VAF    IQCM-SEC-00601446
                      41.   XDACRN7H    DAF    TAP_SDNY_000902
                      42.   XDACSKXN    VAF    IQCM-SEC-00601310
                      43.   XDACUIB5    DAF    TAP_SDNY_000044
                      44.   XDACVLWK    DAF    TAP_SDNY_000154
                      45.   XDACVX5D    VAF    IQCM-SEC-00582356
                      46.   XDACVX6P    VAF    IQCM-SEC-00601292
                      47.   XDACXGU2    DAF    TAP_SDNY_000402
                      48.   XDACXGV8    DAF    TAP_SDNY_000637
                      49.   XDACXGVW    DAF    TAP_SDNY_000282
                      50.   XDACY8G9    DAF    IQCM-SEC-00601342
                      51.   XDACY8HF    DAF    IQCM-SEC-00601331
                      52.   XDADAACM    VAF    IQCM-SEC-00539290
                      53.   XDADACKX    DAF    TAP_SDNY_001457
                      54.   XDADBIGC    DAF    TAP_SDNY_000665
                      55.   XDADBIOT    DAF    TAP_SDNY_000580
                      56.   XDADBIRG    DAF    TAP_SDNY_000500
                      57.   XDADBKKY    DAF    TAP_SDNY_000209
                      58.   XDADCSI5    DAF    TAP_SDNY_000888
                      59.   XDADDD00    VAF    IQCM-SEC-00582239
                      60.   XDADDD1A    VAF    IQCM-SEC-00582228
                      61.   XDADFZWK    VAF    IQCM-SEC-00601278
                      62.   XDADLDCT    VAF    IQCM-SEC-00304040




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APPENDIX D: VALUATION OF THE 62 POSITIONS WITH BLOOMBERG SCRIPTS
           1.       For my valuations of the 62 positions with Bloomberg scripts, I relied on the
Bloomberg valuation tools that IQ used. The 62 positions include vanilla variance swaps,
corridor variance swaps, and foreign exchange options. I valued the variance swaps using DLIB
and the foreign exchange options using OVML

           2.       The DOJ provided electronic files called CSV uploader files. These files included
a form for the inputs to enter all the relevant attributes of each of the positions in the Bloomberg
system. The CSV uploader files can be used to prepare multiple positions at a time, in lieu of
entering each position manually through the DLIB or OVME functions. I filled in the uploader
files using the parameters from the term sheets, such as the effective date, maturity date, strike
price, reference index or indices, notional, currency, whether IQ was long or short, and any
barriers or corridors.93 There is an uploader file for each security type and for the DLIB
valuations, Bloomberg identified the BLT template to use for each security type. For example,
Bloomberg selected BLT template 601 for vanilla variance swaps and BLT template 598 for
corridor variance swaps. For certain positions, Bloomberg provided custom templates to account
for unique features, such as 0% strike prices.94 I did not use any Bloomberg BLAN scripts,
where the code is accessible and editable, for my valuations.

           3.       For variance swaps, I used the Bloomberg Local Volatility model as
recommended by Bloomberg. Bloomberg’s DLIB valuations support using different volatility
models such as, the Black-Scholes model, Heston model, Local Volatility model, as well as
hybrid models.95 It is well-known that the Black-Scholes model may fail to reflect certain
features of the financial markets due to certain unrealistic assumptions, such as the constant
volatility assumption. Constant volatility is a critical determinate of the value of the Black-
Scholes model. DLIB also supports the valuation of variance swaps under alternative models that



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     There were two positions where IQ had a partial close-out during the life of the swaps and I accounted for the
     decrease in the notional during the life of the swaps. The starting notional was $311K for both positions (January
     13, 2020) and there was a partial close-out for half of the positions of $155.5K each prior to the March 2020
     month-end valuations. See DAF: XDAC8ZIA [TAP_SDNY_001251], VAF: XDAC98J6 [IQCM-SEC-
     00585941], DAF: [TAP_SDNY_001127] and VAF: [IQCM-SEC-00585930].
94
     DAF: XDAB25EH and XDAB22MA and VAF: XDACMDBT and XDACMDBN.
95
     Bloomberg. Variance Swap Pricing in DLIB. September 14, 2017.


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do not assume that volatility is constant as in the Black-Scholes model. In the Heston model, the
variance follows a mean reverting process that allows for correlation between volatility and the
asset price level.96 Local Volatility models consider volatility to be a function of the asset price
and time.97 Lastly, I run the valuations as of market close in New York (4PM ET).

           4.       After completing the forms in the uploader files, I submitted the files to the
Bloomberg system to generate the DLIB and OVML positions in my Bloomberg portfolio in the
BVPM (Derivative Valuations Portfolio Manager) function. See Exhibit 42 for a screenshot of
the uploaded positions in my Bloomberg portfolio for the 62 positions with monthly scripts.
From the BVPM function, I can review the positions and verify that they were uploaded
correctly and with the valuation parameters I entered based on the term sheets as well as the
volatility model selection.

                         Exhibit 42. Screenshot of My Bloomberg Portfolio for the 62 Positions With
                         Monthly Scripts




96
     Heston, S. (1993), ‘A closed form solution of options with stochastic volatility with applications to bond and
     currency options’, The Review of Financial Studies 6(2), 327–343.
97
     Derman, E., Kani, I. and Zou, J. Z. (1996), ‘The local volatility surface unlocking the information in index option
     prices’, Financial Analysts Journal 52(4), 25–36.


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       5.      Using the BVPM function, I generated monthly valuations by updating the “as of”
date to be the month-end dates from the trade date and up to the maturity date for the 62
positions. See Exhibit 43. I then exported the valuations for each month-end date for the 62
positions. The monthly valuations are generated in the local currency based on the term sheets. I
relied on the foreign exchange rate from Bloomberg as of the month-end dates to convert any
non-US dollars valuations to valuations in US dollars.

                   Exhibit 43. Screenshot of Repricing the Bloomberg Portfolio




       6.      In addition to my own valuations, I used the Bloomberg valuation tools to
replicate the IQ valuations. The DOJ provided a copy of the IQ portfolios for DAF and VAF
through BVPM with the Golden Copy data that recorded the contemporaneous market data at the
time of the IQ valuations. I used the same valuation model that IQ used for each position,
whether it was OVME for a corridor variance swap or DLIB and BLAN code for a vanilla
variance swap. I relied on the monthly Bloomberg scripts for the parameters and BLAN code
that IQ used in its valuations and entered IQ’s valuation terms, including any alterations. In
addition, I used historical Bloomberg data in BVPM to identify the timing of valuations, such as
New York 4 pm, as well as the VS rates that IQ used in valuing positions in OVME.




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       7.      The Bloomberg data for the IQ portfolios do not identify the volatility model used
for the IQ valuations. For completeness, I ran the IQ valuations for each position under the Local
Volatility model, Black-Scholes model, and Heston model and compared my replicated
valuations to the IQ valuations to identify the best fitting volatility model. There are instances
when IQ would switch the timing of the valuation of a position during the life of a position, such
as from New York 4 pm to London 4 pm, and then the best fitting volatility model would
change, such as from the Black-Scholes model to the Heston model.




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                                                             Faten Sabry, Ph.D.
                                                             Managing Director

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                                          EXHIBIT 1

                                      FATEN SABRY
                              MANAGING DIRECTOR
                 CHAIR OF GLOBAL SECURITIES & FINANCE PRACTICE

I am a Managing Director in the Securities and Finance Practice at National Economic Research
Associates, Inc. (“NERA”) and Chair of the Global Securities and Finance Practice. I have over
twenty years of experience in economic and financial consulting in the valuation of fixed income
securities, derivatives, illiquid assets, businesses and litigation settlements. I have consulted in
disputes involving investment management firms, solvency, leveraged buyouts, distressed
exchanges, options, swaps, and hedging strategies, among other issues. I have testified as an
expert in State and Federal Courts.
I have provided expert testimony on credit default swaps, collateralized debt obligations
(“CDOs”), residential mortgage-backed securities (“RMBS”), and mortgage derivatives;
deposition testimony on options trading in an SEC litigation against a hedge fund; and deposition
testimony, trial testimony and expert reports on econometric analysis of materiality and damages,
as well as class certification issues in various matters related to structured products and fixed
income. I have analyzed the performance of hedge funds and mutual funds that invested in
options and other derivative positions, allocated settlements in two of the largest private
residential mortgage-backed securities settlements in the “put-back” litigation. In addition, I have
provided consulting analyses of trading data and trade allocation for various types of funds; and
analyzed risk management and hedging strategies of securities, including options and other
derivatives, to assess losses and allegations of misrepresentations of the risks of the portfolios.
I am the author of various articles on the credit crisis, mortgage defaults, credit default swaps,
LIBOR transition, the impact of securitization on the cost and availability of credit to consumers,
and claiming behavior. My research has been published as a chapter in The Handbook of
Mortgage-Backed Securities, edited by Dr. Frank J. Fabozzi. I am also the lead author of an
econometric study on the impact of securitization on the costs and availability of credit for
consumers and liquidity. My research has also been published in the Journal of Structured
Finance, Journal of Real Estate Practice, Journal of Investment Compliance, Journal of
Alternative Investments, Business Economics, International Trade Journal, and other periodicals.
I am a member of the American Finance Association and the American Statistics Association. I
have been accredited as a professional statistician by the American Statistics Association. I
received my Ph.D. in Business from Stanford Business School and prior to joining NERA, I was
a Post-Doctoral Fellow at the International Food Policy Research Institute and an assistant
professor of economics at the American University in Cairo, where I taught graduate and
undergraduate economic courses.



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Education
1996                         Stanford University, Graduate School of Business
                             Ph.D., Business
1991                         American University in Cairo, Egypt
                             M.A., magna cum laude, Economics
1988                         American University in Cairo, Egypt
                             B.A., GPA 4.0, Economics

Professional Experience
                             NERA Economic Consulting
2010 -                       Managing Director
2002 – 2010                  Vice President
2000 – 2002                  Senior Consultant
1998 – 2000                  Consultant

1997 - 1998                  American University in Cairo
                             Assistant Professor of Economics
                             Taught graduate and undergraduate macroeconomics, economic
                             development, and project valuation courses.

1997 - 1998                  International Food Policy Research Institute
                             Post-Doctoral Fellow
                             Developed and estimated econometric almost ideal demand systems
                             (AIDS) models for the demand for food commodities using a national
                             survey data. Prepared a report on the subsidy system based on the results
                             of the econometric analysis.

1991 - 1996                  Stanford University, Graduate School of Business
                             Research and Teaching Assistant
                             Conducted statistical analysis for stochastic models of multi-party decision
                             making. Designed a survey assessing moral responsibility of providing
                             public goods in organizations. Developed case studies on the trade dispute
                             between Fuji and Eastman Kodak. Also worked as a teaching assistant for
                             graduate courses on negotiation and conflict resolution.

Honors and Professional Activities
             Post-Doctoral Fellow, International Food Policy Research, 1997.
             J. M. Olin Research Fellowship, Stanford Law School, 1995.
             Stanford University Graduate School of Business Fellowship, 1991-1996.
             Ford Foundation Scholarship, 1990-1991.




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Expert Reports, Deposition and Testimony

Direct and Rebuttal Trial Testimony, before the Supreme Court of the State of New York for the
County of New York, in Securitized Asset Funding 2011-2, Ltd. v. Canadian Imperial Bank of
Commerce / Canadian Imperial Bank of Commerce v. Securitized Asset Funding 2011-2, Ltd.
and Securitized Asset Funding 2009-1, Ltd., Promontoria Europe Investments XXIII LDC, and
CSMC 2012-8R, Ltd, on economic analysis of damages involving credit default swaps, 2022.

Deposition Testimony, Affirmative Report and Expert Rebuttal Report, before the Supreme
Court of the State of New York for the County of New York, in Securitized Asset Funding 2011-
2, Ltd. v. Canadian Imperial Bank of Commerce / Canadian Imperial Bank of Commerce v.
Securitized Asset Funding 2011-2, Ltd. and Securitized Asset Funding 2009-1, Ltd., Promontoria
Europe Investments XXIII LDC, and CSMC 2012-8R, Ltd, on economic analysis of damages
involving credit default swaps, 2021.

Expert Rebuttal Report, in the Superior Court of Justice (Commercial List) for the Province of
Ontario, in The Mangrove Partners Master Fund, Ltd. V. TransAlta Corporation, Brookfield
BRP Holdings (Canada) Inc., Rona H. Ambrose, John P. Dielwart, Timothy W. Faithfull, Dawn
L. Farrell, Alan J. Forrer, Gordon D. Griffin, Yakout Mansour, Georgia Nelson, Beverlee F.
Park and Bryan D. Pinney, on rebuttal analysis of damages related to a financial transaction with
the option to convert debt to minority equity interest in hydro assets, 2021.

Trial Testimony, in the Superior Court of Justice (Commercial List) for the Province of Ontario,
in Duo Bank of Canada v. Fairstone Financial Holdings Inc., J.C. Flowers IV Coinvest Canada
L.P., J.C. Flowers IV L.P. and VP Canada Acquisition, LP and Fairstone Financial Holdings
Inc., J.C. Flowers IV L.P. and VP Canada Acquisition, LP v. Duo Bank of Canada, on economic
analysis of roll rate models, loan loss reserves and amortization events for consumer loans
collateral in asset-backed securities, 2020.

Rebuttal Report, Expert Report, in the Superior Court of Justice (Commercial List) for the
Province of Ontario, in Duo Bank of Canada v. Fairstone Financial Holdings Inc., J.C. Flowers
IV Coinvest Canada L.P., J.C. Flowers IV L.P. and VP Canada Acquisition, LP / Fairstone
Financial Holdings Inc., J.C. Flowers IV L.P. and VP Canada Acquisition, LP v. Duo Bank of
Canada, on projections of losses on consumer loans and impact of macroeconomic factors, 2020.

Deposition Testimony, Expert Rebuttal Report, in the United States District Court for the
Southern District of New York, in Pacific Life Insurance Company et al v. The Bank of New
York Mellon, on alleged damages in a mortgage-backed securities case, 2020.

Declaration, in the United States District Court for the Southern District of New York, in
Phoenix Light SF Limited, et. al. v. the Bank of New York Mellon, on alleged damages in a
mortgage-backed securities case, 2019.

Deposition, Expert Rebuttal Report and Expert report, in the United States District Court for the
District Court of Puerto Rico in The Financial Oversight and Management Board for Puerto
Rico As A Representative of The Commonwealth of Puerto Rico, et al. Debtor and The Financial



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Oversight and Management Board for Puerto Rico As A Representative of The Employees
Retirement System of The Government of Puerto Rico, Debtor, on evaluation of PR bonds, 2019.

Deposition, in the United States District Court for the Southern District of New York, in Phoenix
Light SF Limited, et. al. v. the Bank of New York Mellon, on alleged damages in a mortgage-
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                             Materials Relied Upon


• IQCM-SEC-00586002
• IQCM-SEC-00586003
• IQCM-SEC-00586004
• IQCM-SEC-00586005
• IQCM-SEC-00586006
• IQCM-SEC-00586007
• IQCM-SEC-00586008
• IQCM-SEC-00586009
• IQCM-SEC-00586010
• IQCM-SEC-00586011
• IQCM-SEC-00586012
• IQCM-SEC-00586013
• IQCM-SEC-00586014
• IQCM-SEC-00586015
• IQCM-SEC-00586016
• IQCM-SEC-00586017
• IQCM-SEC-00586018
• IQCM-SEC-00586019
• IQCM-SEC-00586020
• IQCM-SEC-00586021
• IQCM-SEC-00586022
• IQCM-SEC-00586023
• IQCM-SEC-00586024
• IQCM-SEC-00586025
• IQCM-SEC-00586026
• IQCM-SEC-00586027
• IQCM-SEC-00586028
• IQCM-SEC-00586029
• IQCM-SEC-00586030
• IQCM-SEC-00586031
• IQCM-SEC-00586032
• IQCM-SEC-00586033
• IQCM-SEC-00586034
• IQCM-SEC-00586035
• IQCM-SEC-00586036
• IQCM-SEC-00586037
• IQCM-SEC-00586038
• IQCM-SEC-00586039
• IQCM-SEC-00586040
• IQCM-SEC-00586041
• IQCM-SEC-00586042
• IQCM-SEC-00586043
• IQCM-SEC-00586044
• IQCM-SEC-00586045


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                                   Exhibit 2
                             Materials Relied Upon


• IQCM-SEC-00586046
• IQCM-SEC-00586047
• IQCM-SEC-00586048
• IQCM-SEC-00586049
• IQCM-SEC-00586050
• IQCM-SEC-00586051
• IQCM-SEC-00586052
• IQCM-SEC-00586053
• IQCM-SEC-00586054
• IQCM-SEC-00586055
• IQCM-SEC-00586056
• IQCM-SEC-00586057
• IQCM-SEC-00586058
• IQCM-SEC-00586059
• IQCM-SEC-00586060
• IQCM-SEC-00586061
• IQCM-SEC-00586062
• IQCM-SEC-00586063
• IQCM-SEC-00586064
• IQCM-SEC-00586065
• IQCM-SEC-00586066
• IQCM-SEC-00586067
• IQCM-SEC-00586068
• IQCM-SEC-00586069
• IQCM-SEC-00586070
• IQCM-SEC-00586071
• IQCM-SEC-00586072
• IQCM-SEC-00586073
• IQCM-SEC-00586074
• IQCM-SEC-00586075
• IQCM-SEC-00586076
• IQCM-SEC-00586077
• IQCM-SEC-00586078
• IQCM-SEC-00586079
• IQCM-SEC-00586080
• IQCM-SEC-00586081
• IQCM-SEC-00586082
• IQCM-SEC-00586083
• IQCM-SEC-00586084
• IQCM-SEC-00586085
• IQCM-SEC-00586086
• IQCM-SEC-00586087
• IQCM-SEC-00586088
• IQCM-SEC-00586089


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                             Materials Relied Upon


• IQCM-SEC-00586090
• IQCM-SEC-00586091
• IQCM-SEC-00586092
• IQCM-SEC-00586093
• IQCM-SEC-00586094
• IQCM-SEC-00586095
• IQCM-SEC-00586096
• IQCM-SEC-00586097
• IQCM-SEC-00586098
• IQCM-SEC-00586099
• IQCM-SEC-00586100
• IQCM-SEC-00586101
• IQCM-SEC-00586102
• IQCM-SEC-00586103
• IQCM-SEC-00586104
• IQCM-SEC-00586105
• IQCM-SEC-00586106
• IQCM-SEC-00586107
• IQCM-SEC-00586108
• IQCM-SEC-00586109
• IQCM-SEC-00586110
• IQCM-SEC-00586111
• IQCM-SEC-00586112
• IQCM-SEC-00586113
• IQCM-SEC-00586114
• IQCM-SEC-00586115
• IQCM-SEC-00586116
• IQCM-SEC-00586117
• IQCM-SEC-00586118
• IQCM-SEC-00586119
• IQCM-SEC-00586120
• IQCM-SEC-00586121
• IQCM-SEC-00586122
• IQCM-SEC-00586123
• IQCM-SEC-00586124
• IQCM-SEC-00586125
• IQCM-SEC-00586126
• IQCM-SEC-00586127
• IQCM-SEC-00586128
• IQCM-SEC-00586129
• IQCM-SEC-00586130
• IQCM-SEC-00586131
• IQCM-SEC-00586132
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                             Materials Relied Upon


• IQCM-SEC-00586134
• IQCM-SEC-00586135
• IQCM-SEC-00586136
• IQCM-SEC-00586137
• IQCM-SEC-00586138
• IQCM-SEC-00586139
• IQCM-SEC-00586140
• IQCM-SEC-00586141
• IQCM-SEC-00586142
• IQCM-SEC-00586143
• IQCM-SEC-00586144
• IQCM-SEC-00586145
• IQCM-SEC-00586146
• IQCM-SEC-00586147
• IQCM-SEC-00586148
• IQCM-SEC-00586149
• IQCM-SEC-00586150
• IQCM-SEC-00586151
• IQCM-SEC-00586152
• IQCM-SEC-00586153
• IQCM-SEC-00586154
• IQCM-SEC-00586155
• IQCM-SEC-00586156
• IQCM-SEC-00586159
• IQCM-SEC-00586160
• IQCM-SEC-00586161
• IQCM-SEC-00586162
• IQCM-SEC-00586163
• IQCM-SEC-00586164
• IQCM-SEC-00586165
• IQCM-SEC-00586166
• IQCM-SEC-00586167
• IQCM-SEC-00586168
• IQCM-SEC-00586169
• IQCM-SEC-00586170
• IQCM-SEC-00586171
• IQCM-SEC-00586172
• IQCM-SEC-00586173
• IQCM-SEC-00586174
• IQCM-SEC-00586175
• IQCM-SEC-00586176
• IQCM-SEC-00586177
• IQCM-SEC-00586178
• IQCM-SEC-00586179


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                             Materials Relied Upon


• IQCM-SEC-00586180
• IQCM-SEC-00586181
• IQCM-SEC-00586182
• IQCM-SEC-00586183
• IQCM-SEC-00586184
• IQCM-SEC-00586185
• IQCM-SEC-00586186
• IQCM-SEC-00586187
• IQCM-SEC-00586188
• IQCM-SEC-00586189
• IQCM-SEC-00586190
• IQCM-SEC-00586191
• IQCM-SEC-00586194
• IQCM-SEC-00586195
• IQCM-SEC-00586196
• IQCM-SEC-00586197
• IQCM-SEC-00586198
• IQCM-SEC-00586199
• IQCM-SEC-00586200
• IQCM-SEC-00586201
• IQCM-SEC-00586202
• IQCM-SEC-00586203
• IQCM-SEC-00586204
• IQCM-SEC-00586205
• IQCM-SEC-00586206
• IQCM-SEC-00586207
• IQCM-SEC-00586208
• IQCM-SEC-00586209
• IQCM-SEC-00586210
• IQCM-SEC-00586211
• IQCM-SEC-00586212
• IQCM-SEC-00586213
• IQCM-SEC-00586214
• IQCM-SEC-00586215
• IQCM-SEC-00586216
• IQCM-SEC-00586217
• IQCM-SEC-00586218
• IQCM-SEC-00586219
• IQCM-SEC-00586220
• IQCM-SEC-00586221
• IQCM-SEC-00586222
• IQCM-SEC-00586223
• IQCM-SEC-00586224
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• IQCM-SEC-00586226
• IQCM-SEC-00586227
• IQCM-SEC-00586228
• IQCM-SEC-00586229
• IQCM-SEC-00586230
• IQCM-SEC-00586231
• IQCM-SEC-00586232
• IQCM-SEC-00586233
• IQCM-SEC-00586234
• IQCM-SEC-00586235
• IQCM-SEC-00586236
• IQCM-SEC-00586237
• IQCM-SEC-00586238
• IQCM-SEC-00586239
• IQCM-SEC-00586240
• IQCM-SEC-00586241
• IQCM-SEC-00586242
• IQCM-SEC-00586243
• IQCM-SEC-00586244
• IQCM-SEC-00586245
• IQCM-SEC-00586246
• IQCM-SEC-00586247
• IQCM-SEC-00586248
• IQCM-SEC-00586249
• IQCM-SEC-00586250
• IQCM-SEC-00586251
• IQCM-SEC-00586252
• IQCM-SEC-00586253
• IQCM-SEC-00586254
• IQCM-SEC-00586255
• IQCM-SEC-00586256
• IQCM-SEC-00586257
• IQCM-SEC-00586258
• IQCM-SEC-00586259
• IQCM-SEC-00586260
• IQCM-SEC-00586261
• IQCM-SEC-00586262
• IQCM-SEC-00586263
• IQCM-SEC-00586264
• IQCM-SEC-00586265
• IQCM-SEC-00586266
• IQCM-SEC-00586267
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                             Materials Relied Upon


• IQCM-SEC-00586270
• IQCM-SEC-00586271
• IQCM-SEC-00586272
• IQCM-SEC-00586273
• IQCM-SEC-00586274
• IQCM-SEC-00586275
• IQCM-SEC-00586276
• IQCM-SEC-00586277
• IQCM-SEC-00586278
• IQCM-SEC-00586279
• IQCM-SEC-00586280
• IQCM-SEC-00586281
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• IQCM-SEC-00586300
• IQCM-SEC-00586301
• IQCM-SEC-00586302
• IQCM-SEC-00586303
• IQCM-SEC-00586304
• IQCM-SEC-00586305
• IQCM-SEC-00586306
• IQCM-SEC-00586307
• IQCM-SEC-00586308
• IQCM-SEC-00586309
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• IQCM-SEC-00586314
• IQCM-SEC-00586315
• IQCM-SEC-00586316
• IQCM-SEC-00586317
• IQCM-SEC-00586318
• IQCM-SEC-00586319
• IQCM-SEC-00586320
• IQCM-SEC-00586321
• IQCM-SEC-00586322
• IQCM-SEC-00586323
• IQCM-SEC-00586324
• IQCM-SEC-00586325
• IQCM-SEC-00586326
• IQCM-SEC-00586327
• IQCM-SEC-00586328
• IQCM-SEC-00586329
• IQCM-SEC-00586330
• IQCM-SEC-00586331
• IQCM-SEC-00586332
• IQCM-SEC-00586333
• IQCM-SEC-00586334
• IQCM-SEC-00586335
• IQCM-SEC-00586336
• IQCM-SEC-00586337
• IQCM-SEC-00586338
• IQCM-SEC-00586339
• IQCM-SEC-00586340
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• IQCM-SEC-00586342
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• IQCM-SEC-00586349
• IQCM-SEC-00586350
• IQCM-SEC-00586351
• IQCM-SEC-00586352
• IQCM-SEC-00586353
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• IQCM-SEC-00586358
• IQCM-SEC-00586359
• IQCM-SEC-00586360
• IQCM-SEC-00586361
• IQCM-SEC-00586362
• IQCM-SEC-00586363
• IQCM-SEC-00586364
• IQCM-SEC-00586365
• IQCM-SEC-00586372
• IQCM-SEC-00586379
• IQCM-SEC-00586386
• IQCM-SEC-00586393
• IQCM-SEC-00586400
• IQCM-SEC-00586407
• IQCM-SEC-00586413
• IQCM-SEC-00586419
• IQCM-SEC-00586425
• IQCM-SEC-00586431
• IQCM-SEC-00586437
• IQCM-SEC-00586443
• IQCM-SEC-00586449
• IQCM-SEC-00586455
• IQCM-SEC-00586461
• IQCM-SEC-00586467
• IQCM-SEC-00586473
• IQCM-SEC-00586479
• IQCM-SEC-00586485
• IQCM-SEC-00586491
• IQCM-SEC-00586499
• IQCM-SEC-00586507
• IQCM-SEC-00586515
• IQCM-SEC-00586523
• IQCM-SEC-00586531
• IQCM-SEC-00586539
• IQCM-SEC-00586545
• IQCM-SEC-00586551
• IQCM-SEC-00586557
• IQCM-SEC-00586563
• IQCM-SEC-00586569
• IQCM-SEC-00586575
• IQCM-SEC-00586581
• IQCM-SEC-00586587
• IQCM-SEC-00586593
• IQCM-SEC-00586599


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                             Materials Relied Upon


• IQCM-SEC-00586605
• IQCM-SEC-00586611
• IQCM-SEC-00586617
• IQCM-SEC-00586623
• IQCM-SEC-00586624
• IQCM-SEC-00586625
• IQCM-SEC-00586626
• IQCM-SEC-00586627
• IQCM-SEC-00586628
• IQCM-SEC-00586629
• IQCM-SEC-00586630
• IQCM-SEC-00586631
• IQCM-SEC-00586632
• IQCM-SEC-00586633
• IQCM-SEC-00586634
• IQCM-SEC-00586635
• IQCM-SEC-00586636
• IQCM-SEC-00586637
• IQCM-SEC-00586638
• IQCM-SEC-00586639
• IQCM-SEC-00586640
• IQCM-SEC-00586641
• IQCM-SEC-00586642
• IQCM-SEC-00586643
• IQCM-SEC-00586644
• IQCM-SEC-00586645
• IQCM-SEC-00586646
• IQCM-SEC-00586647
• IQCM-SEC-00586648
• IQCM-SEC-00586649
• IQCM-SEC-00586650
• IQCM-SEC-00586651
• IQCM-SEC-00586652
• IQCM-SEC-00586653
• IQCM-SEC-00586654
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• IQCM-SEC-00586656
• IQCM-SEC-00586657
• IQCM-SEC-00586658
• IQCM-SEC-00586659
• IQCM-SEC-00586660
• IQCM-SEC-00586661
• IQCM-SEC-00586662
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• IQCM-SEC-00586664
• IQCM-SEC-00586665
• IQCM-SEC-00586666
• IQCM-SEC-00586667
• IQCM-SEC-00586668
• IQCM-SEC-00586669
• IQCM-SEC-00586670
• IQCM-SEC-00586671
• IQCM-SEC-00586672
• IQCM-SEC-00586673
• IQCM-SEC-00586674
• IQCM-SEC-00586675
• IQCM-SEC-00586676
• IQCM-SEC-00586677
• IQCM-SEC-00586678
• IQCM-SEC-00586679
• IQCM-SEC-00586680
• IQCM-SEC-00586681
• IQCM-SEC-00586682
• IQCM-SEC-00586683
• IQCM-SEC-00586684
• IQCM-SEC-00586685
• IQCM-SEC-00586686
• IQCM-SEC-00586687
• IQCM-SEC-00586688
• IQCM-SEC-00586689
• IQCM-SEC-00586690
• IQCM-SEC-00586691
• IQCM-SEC-00586692
• IQCM-SEC-00586693
• IQCM-SEC-00586694
• IQCM-SEC-00586695
• IQCM-SEC-00586696
• IQCM-SEC-00586697
• IQCM-SEC-00586698
• IQCM-SEC-00586699
• IQCM-SEC-00586707
• IQCM-SEC-00586715
• IQCM-SEC-00586723
• IQCM-SEC-00586731
• IQCM-SEC-00586739
• IQCM-SEC-00586747
• IQCM-SEC-00586753
• IQCM-SEC-00586759


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• IQCM-SEC-00586765
• IQCM-SEC-00586771
• IQCM-SEC-00586777
• IQCM-SEC-00586783
• IQCM-SEC-00586789
• IQCM-SEC-00586795
• IQCM-SEC-00586801
• IQCM-SEC-00586807
• IQCM-SEC-00586813
• IQCM-SEC-00586819
• IQCM-SEC-00586825
• IQCM-SEC-00586832
• IQCM-SEC-00586837
• IQCM-SEC-00586842
• IQCM-SEC-00586847
• IQCM-SEC-00586853
• IQCM-SEC-00586859
• IQCM-SEC-00586865
• IQCM-SEC-00586871
• IQCM-SEC-00586877
• IQCM-SEC-00586883
• IQCM-SEC-00586889
• IQCM-SEC-00586895
• IQCM-SEC-00586901
• IQCM-SEC-00586907
• IQCM-SEC-00586913
• IQCM-SEC-00586919
• IQCM-SEC-00586925
• IQCM-SEC-00586931
• IQCM-SEC-00586937
• IQCM-SEC-00586944
• IQCM-SEC-00586945
• IQCM-SEC-00586946
• IQCM-SEC-00586947
• IQCM-SEC-00586948
• IQCM-SEC-00586949
• IQCM-SEC-00586950
• IQCM-SEC-00586951
• IQCM-SEC-00586952
• IQCM-SEC-00586953
• IQCM-SEC-00586954
• IQCM-SEC-00586955
• IQCM-SEC-00586956
• IQCM-SEC-00586957


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• IQCM-SEC-00586958
• IQCM-SEC-00586959
• IQCM-SEC-00586960
• IQCM-SEC-00586961
• IQCM-SEC-00586962
• IQCM-SEC-00586963
• IQCM-SEC-00586964
• IQCM-SEC-00586965
• IQCM-SEC-00586966
• IQCM-SEC-00586967
• IQCM-SEC-00586968
• IQCM-SEC-00586969
• IQCM-SEC-00586970
• IQCM-SEC-00586971
• IQCM-SEC-00586972
• IQCM-SEC-00586973
• IQCM-SEC-00586974
• IQCM-SEC-00586975
• IQCM-SEC-00586976
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• IQCM-SEC-00586978
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• IQCM-SEC-00586980
• IQCM-SEC-00586981
• IQCM-SEC-00586982
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• IQCM-SEC-00586986
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• IQCM-SEC-00586988
• IQCM-SEC-00586989
• IQCM-SEC-00586990
• IQCM-SEC-00586991
• IQCM-SEC-00586992
• IQCM-SEC-00586993
• IQCM-SEC-00586994
• IQCM-SEC-00586995
• IQCM-SEC-00586996
• IQCM-SEC-00586997
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• IQCM-SEC-00587002
• IQCM-SEC-00587003
• IQCM-SEC-00587004
• IQCM-SEC-00587005
• IQCM-SEC-00587006
• IQCM-SEC-00587007
• IQCM-SEC-00587008
• IQCM-SEC-00587009
• IQCM-SEC-00587010
• IQCM-SEC-00587011
• IQCM-SEC-00587012
• IQCM-SEC-00587013
• IQCM-SEC-00587014
• IQCM-SEC-00587015
• IQCM-SEC-00587016
• IQCM-SEC-00587017
• IQCM-SEC-00587018
• IQCM-SEC-00587019
• IQCM-SEC-00587020
• IQCM-SEC-00587021
• IQCM-SEC-00587022
• IQCM-SEC-00587023
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• IQCM-SEC-00587025
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• IQCM-SEC-00587027
• IQCM-SEC-00587028
• IQCM-SEC-00587029
• IQCM-SEC-00587030
• IQCM-SEC-00587031
• IQCM-SEC-00587032
• IQCM-SEC-00587033
• IQCM-SEC-00587034
• IQCM-SEC-00587035
• IQCM-SEC-00587036
• IQCM-SEC-00587037
• IQCM-SEC-00587038
• IQCM-SEC-00587039
• IQCM-SEC-00587040
• IQCM-SEC-00587041
• IQCM-SEC-00587042
• IQCM-SEC-00587043
• IQCM-SEC-00587044
• IQCM-SEC-00587045


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• IQCM-SEC-00587046
• IQCM-SEC-00587047
• IQCM-SEC-00587048
• IQCM-SEC-00587049
• IQCM-SEC-00587050
• IQCM-SEC-00587051
• IQCM-SEC-00587052
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• IQCM-SEC-00587060
• IQCM-SEC-00587061
• IQCM-SEC-00587062
• IQCM-SEC-00587063
• IQCM-SEC-00587064
• IQCM-SEC-00587065
• IQCM-SEC-00587066
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• IQCM-SEC-00587068
• IQCM-SEC-00587069
• IQCM-SEC-00587070
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• IQCM-SEC-00587072
• IQCM-SEC-00587073
• IQCM-SEC-00587074
• IQCM-SEC-00587075
• IQCM-SEC-00587076
• IQCM-SEC-00587077
• IQCM-SEC-00587078
• IQCM-SEC-00587079
• IQCM-SEC-00587080
• IQCM-SEC-00587081
• IQCM-SEC-00587082
• IQCM-SEC-00587083
• IQCM-SEC-00587084
• IQCM-SEC-00587085
• IQCM-SEC-00587086
• IQCM-SEC-00587087
• IQCM-SEC-00587088
• IQCM-SEC-00587089


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• IQCM-SEC-00587090
• IQCM-SEC-00587091
• IQCM-SEC-00587092
• IQCM-SEC-00587093
• IQCM-SEC-00587094
• IQCM-SEC-00587095
• IQCM-SEC-00587096
• IQCM-SEC-00587097
• IQCM-SEC-00587098
• IQCM-SEC-00587099
• IQCM-SEC-00587100
• IQCM-SEC-00587101
• IQCM-SEC-00587102
• IQCM-SEC-00587103
• IQCM-SEC-00587104
• IQCM-SEC-00587105
• IQCM-SEC-00587106
• IQCM-SEC-00587107
• IQCM-SEC-00587108
• IQCM-SEC-00587109
• IQCM-SEC-00587110
• IQCM-SEC-00587111
• IQCM-SEC-00587112
• IQCM-SEC-00587117
• IQCM-SEC-00587122
• IQCM-SEC-00587127
• IQCM-SEC-00587132
• IQCM-SEC-00587137
• IQCM-SEC-00587142
• IQCM-SEC-00587147
• IQCM-SEC-00587153
• IQCM-SEC-00587158
• IQCM-SEC-00587163
• IQCM-SEC-00587167
• IQCM-SEC-00587172
• IQCM-SEC-00587178
• IQCM-SEC-00587184
• IQCM-SEC-00587190
• IQCM-SEC-00587196
• IQCM-SEC-00587203
• IQCM-SEC-00587210
• IQCM-SEC-00587216
• IQCM-SEC-00587217
• IQCM-SEC-00587218


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• IQCM-SEC-00587225
• IQCM-SEC-00587231
• IQCM-SEC-00587232
• IQCM-SEC-00587233
• IQCM-SEC-00587241
• IQCM-SEC-00587246
• IQCM-SEC-00587247
• IQCM-SEC-00587248
• IQCM-SEC-00587257
• IQCM-SEC-00587265
• IQCM-SEC-00587266
• IQCM-SEC-00587267
• IQCM-SEC-00587276
• IQCM-SEC-00587284
• IQCM-SEC-00587285
• IQCM-SEC-00587286
• IQCM-SEC-00587296
• IQCM-SEC-00587303
• IQCM-SEC-00587304
• IQCM-SEC-00587305
• IQCM-SEC-00587319
• IQCM-SEC-00587329
• IQCM-SEC-00587330
• IQCM-SEC-00587331
• IQCM-SEC-00587343
• IQCM-SEC-00587351
• IQCM-SEC-00587352
• IQCM-SEC-00587353
• IQCM-SEC-00587362
• IQCM-SEC-00587367
• IQCM-SEC-00587368
• IQCM-SEC-00587369
• IQCM-SEC-00587379
• IQCM-SEC-00587385
• IQCM-SEC-00587386
• IQCM-SEC-00587387
• IQCM-SEC-00587397
• IQCM-SEC-00587403
• IQCM-SEC-00587404
• IQCM-SEC-00587405
• IQCM-SEC-00587415
• IQCM-SEC-00587421
• IQCM-SEC-00587422
• IQCM-SEC-00587423


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• IQCM-SEC-00587433
• IQCM-SEC-00587439
• IQCM-SEC-00587440
• IQCM-SEC-00587441
• IQCM-SEC-00587454
• IQCM-SEC-00587459
• IQCM-SEC-00587460
• IQCM-SEC-00587461
• IQCM-SEC-00587473
• IQCM-SEC-00587478
• IQCM-SEC-00587479
• IQCM-SEC-00587480
• IQCM-SEC-00587495
• IQCM-SEC-00587502
• IQCM-SEC-00587503
• IQCM-SEC-00587504
• IQCM-SEC-00587518
• IQCM-SEC-00587523
• IQCM-SEC-00587524
• IQCM-SEC-00587525
• IQCM-SEC-00587539
• IQCM-SEC-00587545
• IQCM-SEC-00587546
• IQCM-SEC-00587547
• IQCM-SEC-00587561
• IQCM-SEC-00587567
• IQCM-SEC-00587568
• IQCM-SEC-00587569
• IQCM-SEC-00587582
• IQCM-SEC-00587588
• IQCM-SEC-00587589
• IQCM-SEC-00587590
• IQCM-SEC-00587591
• IQCM-SEC-00587592
• IQCM-SEC-00587593
• IQCM-SEC-00587594
• IQCM-SEC-00587595
• IQCM-SEC-00587596
• IQCM-SEC-00587597
• IQCM-SEC-00587598
• IQCM-SEC-00587599
• IQCM-SEC-00587600
• IQCM-SEC-00587601
• IQCM-SEC-00587602


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• IQCM-SEC-00587603
• IQCM-SEC-00587604
• IQCM-SEC-00587605
• IQCM-SEC-00587606
• IQCM-SEC-00587607
• IQCM-SEC-00587608
• IQCM-SEC-00587609
• IQCM-SEC-00587610
• IQCM-SEC-00587611
• IQCM-SEC-00587612
• IQCM-SEC-00587613
• IQCM-SEC-00587614
• IQCM-SEC-00587615
• IQCM-SEC-00587616
• IQCM-SEC-00587617
• IQCM-SEC-00587618
• IQCM-SEC-00587619
• IQCM-SEC-00587620
• IQCM-SEC-00587621
• IQCM-SEC-00587622
• IQCM-SEC-00587623
• IQCM-SEC-00587624
• IQCM-SEC-00587625
• IQCM-SEC-00587626
• IQCM-SEC-00587627
• IQCM-SEC-00587628
• IQCM-SEC-00587629
• IQCM-SEC-00587630
• IQCM-SEC-00587631
• IQCM-SEC-00587632
• IQCM-SEC-00587633
• IQCM-SEC-00587634
• IQCM-SEC-00587635
• IQCM-SEC-00587636
• IQCM-SEC-00587637
• IQCM-SEC-00587638
• IQCM-SEC-00587639
• IQCM-SEC-00587640
• IQCM-SEC-00587641
• IQCM-SEC-00587642
• IQCM-SEC-00587643
• IQCM-SEC-00587644
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• IQCM-SEC-00587646


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                             Materials Relied Upon


• IQCM-SEC-00587647
• IQCM-SEC-00587648
• IQCM-SEC-00587649
• IQCM-SEC-00587650
• IQCM-SEC-00587651
• IQCM-SEC-00587661
• IQCM-SEC-00587669
• IQCM-SEC-00587683
• IQCM-SEC-00587684
• IQCM-SEC-00587685
• IQCM-SEC-00587686
• IQCM-SEC-00587693
• IQCM-SEC-00587698
• IQCM-SEC-00587708
• IQCM-SEC-00587709
• IQCM-SEC-00587710
• IQCM-SEC-00587711
• IQCM-SEC-00587718
• IQCM-SEC-00587719
• IQCM-SEC-00587725
• IQCM-SEC-00587726
• IQCM-SEC-00587738
• IQCM-SEC-00587747
• IQCM-SEC-00587748
• IQCM-SEC-00587749
• IQCM-SEC-00587757
• IQCM-SEC-00587765
• IQCM-SEC-00587766
• IQCM-SEC-00587767
• IQCM-SEC-00587776
• IQCM-SEC-00587777
• IQCM-SEC-00587785
• IQCM-SEC-00587786
• IQCM-SEC-00587796
• IQCM-SEC-00587797
• IQCM-SEC-00587803
• IQCM-SEC-00587804
• IQCM-SEC-00587818
• IQCM-SEC-00587831
• IQCM-SEC-00587832
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• IQCM-SEC-00587839
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• IQCM-SEC-00587846
• IQCM-SEC-00587855
• IQCM-SEC-00587856
• IQCM-SEC-00587861
• IQCM-SEC-00587862
• IQCM-SEC-00587872
• IQCM-SEC-00587873
• IQCM-SEC-00587879
• IQCM-SEC-00587880
• IQCM-SEC-00587894
• IQCM-SEC-00587895
• IQCM-SEC-00587900
• IQCM-SEC-00587901
• IQCM-SEC-00587911
• IQCM-SEC-00587912
• IQCM-SEC-00587918
• IQCM-SEC-00587919
• IQCM-SEC-00587934
• IQCM-SEC-00587935
• IQCM-SEC-00587942
• IQCM-SEC-00587943
• IQCM-SEC-00587953
• IQCM-SEC-00587954
• IQCM-SEC-00587960
• IQCM-SEC-00587961
• IQCM-SEC-00587973
• IQCM-SEC-00587974
• IQCM-SEC-00587979
• IQCM-SEC-00587980
• IQCM-SEC-00587994
• IQCM-SEC-00587995
• IQCM-SEC-00588001
• IQCM-SEC-00588002
• IQCM-SEC-00588015
• IQCM-SEC-00588016
• IQCM-SEC-00588022
• IQCM-SEC-00601278
• IQCM-SEC-00601292
• IQCM-SEC-00601310
• IQCM-SEC-00601321
• IQCM-SEC-00601331
• IQCM-SEC-00601342
• IQCM-SEC-00601353
• IQCM-SEC-00601414


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• IQCM-SEC-00601434
• IQCM-SEC-00601446
• IQCM-SEC-00601484
• IQCM-SEC-00601485
• IQCM-SEC-00601486
• IQCM-SEC-00601487
• IQCM-SEC-00601488
• IQCM-SEC-00601489
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• IQCM-SEC-00601491
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• IQCM-SEC-00601498
• IQCM-SEC-00601499
• IQCM-SEC-00601500
• IQCM-SEC-00601501
• IQCM-SEC-00601502
• IQCM-SEC-00601503
• IQCM-SEC-00601504
• IQCM-SEC-00601505
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• IQCM-SEC-00601508
• IQCM-SEC-00601509
• IQCM-SEC-00601510
• IQCM-SEC-00601511
• IQCM-SEC-00601512
• IQCM-SEC-00601513
• IQCM-SEC-00601514
• IQCM-SEC-00601515
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• IQCM-SEC-00601518
• IQCM-SEC-00601519
• IQCM-SEC-00601520
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• IQCM-SEC-00601526
• IQCM-SEC-00601527
• IQCM-SEC-00601528
• IQCM-SEC-00601529
• IQCM-SEC-00601530
• IQCM-SEC-00601531
• IQCM-SEC-00601533
• IQCM-SEC-00601534
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• IQCM-SEC-00601540
• IQCM-SEC-00601541
• IQCM-SEC-00601542
• IQCM-SEC-00601543
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• IQCM-SEC-00601547
• IQCM-SEC-00601548
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• IQCM-SEC-00601558
• IQCM-SEC-00601559
• IQCM-SEC-00601560
• IQCM-SEC-00601561
• IQCM-SEC-00601562
• IQCM-SEC-00601563
• IQCM-SEC-00601568
• IQCM-SEC-00601569
• IQCM-SEC-00601571
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• IQCM-SEC-00601578
• IQCM-SEC-00601591
• IQCM-SEC-00601592
• IQCM-SEC-00601601
• IQCM-SEC-00601603
• IQCM-SEC-00601604
• IQCM-SEC-00601609
• IQCM-SEC-00601618
• IQCM-SEC-00601623
• IQCM-SEC-00601635
• IQCM-SEC-00601638
• IQCM-SEC-00601639
• IQCM-SEC-00601641
• IQCM-SEC-00601647
• IQCM-SEC-00601651
• IQCM-SEC-00601653
• IQCM-SEC-00601658
• IQCM-SEC-00601685
• SEC-SDNY-EPROD-000000202
• SEC-SDNY-EPROD-000000238
• SEC-SDNY-EPROD-000000250
• SEC-SDNY-EPROD-000000262
• SEC-SDNY-EPROD-000000273
• SEC-SDNY-EPROD-000000284
• SEC-SDNY-EPROD-000000295
• SEC-SDNY-EPROD-000000306
• SEC-SDNY-EPROD-000000317
• SEC-SDNY-EPROD-000000328
• SEC-SDNY-EPROD-000000339
• SEC-SDNY-EPROD-000000351
• SEC-SDNY-EPROD-000000375
• SEC-SDNY-EPROD-000000387
• SEC-SDNY-EPROD-000000399
• SEC-SDNY-EPROD-000000411
• SEC-SDNY-EPROD-000000423
• SEC-SDNY-EPROD-000000436
• SEC-SDNY-EPROD-002877984
• SEC-SDNY-EPROD-003246606
• SEC-SDNY-EPROD-003246739
• SEC-SDNY-EPROD-003343799
• SEC-SDNY-EPROD-003383668
• SEC-SDNY-EPROD-003383671
• SEC-SDNY-EPROD-003383695
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• SEC-SDNY-EPROD-003383866
• SEC-SDNY-EPROD-003383913
• SEC-SDNY-EPROD-003383941
• SEC-SDNY-EPROD-003383955
• SEC-SDNY-EPROD-003384111
• SEC-SDNY-EPROD-003384200
• SEC-SDNY-EPROD-003384232
• SEC-SDNY-EPROD-003384286
• SEC-SDNY-EPROD-003384349
• SEC-SDNY-EPROD-003384392
• SEC-SDNY-EPROD-003384465
• SEC-SDNY-EPROD-003384498
• SEC-SDNY-EPROD-003384629
• SEC-SDNY-EPROD-003384653
• SEC-SDNY-EPROD-003384673
• SEC-SDNY-EPROD-003384726
• SEC-SDNY-EPROD-003384879
• SEC-SDNY-EPROD-003384920
• SEC-SDNY-EPROD-003385105
• SEC-SDNY-EPROD-003385120
• SEC-SDNY-EPROD-003385242
• SEC-SDNY-EPROD-003385342
• SEC-SDNY-EPROD-003385442
• SEC-SDNY-EPROD-003385480
• SEC-SDNY-EPROD-003385609
• SEC-SDNY-EPROD-003385632
• SEC-SDNY-EPROD-003385756
• SEC-SDNY-EPROD-003385771
• SEC-SDNY-EPROD-003385803
• SEC-SDNY-EPROD-003385830
• SEC-SDNY-EPROD-003385835
• SEC-SDNY-EPROD-003385835
• SEC-SDNY-EPROD-003385835
• SEC-SDNY-EPROD-003385844
• SEC-SDNY-EPROD-003385898
• SEC-SDNY-EPROD-003385898
• SEC-SDNY-EPROD-003385898
• SEC-SDNY-EPROD-003385982
• SEC-SDNY-EPROD-003386002
• SEC-SDNY-EPROD-003386015
• SEC-SDNY-EPROD-003386025
• SEC-SDNY-EPROD-003386039
• SEC-SDNY-EPROD-003386099
• SEC-SDNY-EPROD-003386136


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• SEC-SDNY-EPROD-003386154
• SEC-SDNY-EPROD-003386282
• SEC-SDNY-EPROD-003386337
• SEC-SDNY-EPROD-003386364
• SEC-SDNY-EPROD-003386644
• SEC-SDNY-EPROD-003386672
• SEC-SDNY-EPROD-003386768
• SEC-SDNY-EPROD-003386796
• SEC-SDNY-EPROD-003386813
• SEC-SDNY-EPROD-003386956
• SEC-SDNY-EPROD-003387015
• SEC-SDNY-EPROD-003387033
• SEC-SDNY-EPROD-003387041
• SEC-SDNY-EPROD-003387097
• SEC-SDNY-EPROD-003387129
• SEC-SDNY-EPROD-003387133
• SEC-SDNY-EPROD-003387233
• SEC-SDNY-EPROD-003387233
• SEC-SDNY-EPROD-003387233
• SEC-SDNY-EPROD-003387245
• SEC-SDNY-EPROD-003387376
• SEC-SDNY-EPROD-003387465
• SEC-SDNY-EPROD-003387471
• SEC-SDNY-EPROD-003387517
• SEC-SDNY-EPROD-003387574
• SEC-SDNY-EPROD-003387587
• SEC-SDNY-EPROD-003387630
• SEC-SDNY-EPROD-003387689
• SEC-SDNY-EPROD-003387734
• SEC-SDNY-EPROD-003387748
• SEC-SDNY-EPROD-003387975
• SEC-SDNY-EPROD-003387991
• SEC-SDNY-EPROD-003388012
• SEC-SDNY-EPROD-003388022
• SEC-SDNY-EPROD-003388057
• SEC-SDNY-EPROD-003388159
• SEC-SDNY-EPROD-003388179
• SEC-SDNY-EPROD-003388206
• SEC-SDNY-EPROD-003388240
• SEC-SDNY-EPROD-003388277
• SEC-SDNY-EPROD-003388298
• SEC-SDNY-EPROD-003388358
• SEC-SDNY-EPROD-003388400
• SEC-SDNY-EPROD-003388483


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• SEC-SDNY-EPROD-003388495
• SEC-SDNY-EPROD-003388520
• SEC-SDNY-EPROD-003388630
• SEC-SDNY-EPROD-003388648
• SEC-SDNY-EPROD-003388682
• SEC-SDNY-EPROD-003388686
• SEC-SDNY-EPROD-003388695
• SEC-SDNY-EPROD-003388711
• SEC-SDNY-EPROD-003388748
• SEC-SDNY-EPROD-003388886
• SEC-SDNY-EPROD-003388941
• SEC-SDNY-EPROD-003388944
• SEC-SDNY-EPROD-003388957
• SEC-SDNY-EPROD-003388983
• SEC-SDNY-EPROD-003389030
• SEC-SDNY-EPROD-003389037
• SEC-SDNY-EPROD-003389057
• SEC-SDNY-EPROD-003389080
• SEC-SDNY-EPROD-003389173
• SEC-SDNY-EPROD-003389273
• SEC-SDNY-EPROD-003389443
• SEC-SDNY-EPROD-003389470
• SEC-SDNY-EPROD-003389484
• SEC-SDNY-EPROD-003389515
• SEC-SDNY-EPROD-003389526
• SEC-SDNY-EPROD-003389562
• SEC-SDNY-EPROD-003389606
• SEC-SDNY-EPROD-003389663
• SEC-SDNY-EPROD-003389823
• SEC-SDNY-EPROD-003389860
• SEC-SDNY-EPROD-003389873
• SEC-SDNY-EPROD-003389962
• SEC-SDNY-EPROD-003389983
• SEC-SDNY-EPROD-003390017
• SEC-SDNY-EPROD-003390017
• SEC-SDNY-EPROD-003390017
• SEC-SDNY-EPROD-003390025
• SEC-SDNY-EPROD-003390101
• SEC-SDNY-EPROD-003390302
• SEC-SDNY-EPROD-003390315
• SEC-SDNY-EPROD-003390379
• SEC-SDNY-EPROD-003390544
• SEC-SDNY-EPROD-003390569
• SEC-SDNY-EPROD-003390607


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                             Materials Relied Upon


• SEC-SDNY-EPROD-003390615
• SEC-SDNY-EPROD-003390911
• SEC-SDNY-EPROD-003391175
• SEC-SDNY-EPROD-003391213
• SEC-SDNY-EPROD-003391221
• SEC-SDNY-EPROD-003391221
• SEC-SDNY-EPROD-003391221
• SEC-SDNY-EPROD-003391262
• SEC-SDNY-EPROD-003391279
• SEC-SDNY-EPROD-003391322
• SEC-SDNY-EPROD-003391433
• SEC-SDNY-EPROD-003391452
• SEC-SDNY-EPROD-003391485
• SEC-SDNY-EPROD-003391523
• SEC-SDNY-EPROD-003391544
• SEC-SDNY-EPROD-003391566
• SEC-SDNY-EPROD-003391612
• SEC-SDNY-EPROD-003391793
• SEC-SDNY-EPROD-003391825
• SEC-SDNY-EPROD-003391855
• SEC-SDNY-EPROD-003391920
• SEC-SDNY-EPROD-003391950
• SEC-SDNY-EPROD-003391984
• SEC-SDNY-EPROD-003392157
• SEC-SDNY-EPROD-003392208
• SEC-SDNY-EPROD-003392216
• SEC-SDNY-EPROD-003392222
• SEC-SDNY-EPROD-003392239
• SEC-SDNY-EPROD-003392353
• SEC-SDNY-EPROD-003392375
• SEC-SDNY-EPROD-003392385
• SEC-SDNY-EPROD-003392396
• SEC-SDNY-EPROD-003392443
• SEC-SDNY-EPROD-003392443
• SEC-SDNY-EPROD-003392443
• SEC-SDNY-EPROD-003392487
• SEC-SDNY-EPROD-003392496
• SEC-SDNY-EPROD-003392543
• SEC-SDNY-EPROD-003392590
• SEC-SDNY-EPROD-003392596
• SEC-SDNY-EPROD-003392739
• SEC-SDNY-EPROD-003392741
• SEC-SDNY-EPROD-003392757
• SEC-SDNY-EPROD-003392765


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                             Materials Relied Upon


• SEC-SDNY-EPROD-003392784
• SEC-SDNY-EPROD-003392819
• SEC-SDNY-EPROD-003392852
• SEC-SDNY-EPROD-003392856
• SEC-SDNY-EPROD-003392874
• SEC-SDNY-EPROD-003392926
• SEC-SDNY-EPROD-003392958
• SEC-SDNY-EPROD-003392964
• SEC-SDNY-EPROD-003392972
• SEC-SDNY-EPROD-003393032
• SEC-SDNY-EPROD-003393049
• SEC-SDNY-EPROD-003393053
• SEC-SDNY-EPROD-003393134
• SEC-SDNY-EPROD-003393142
• SEC-SDNY-EPROD-003393163
• SEC-SDNY-EPROD-003393185
• SEC-SDNY-EPROD-003393221
• SEC-SDNY-EPROD-003393309
• SEC-SDNY-EPROD-003393503
• SEC-SDNY-EPROD-003393509
• SEC-SDNY-EPROD-003393565
• SEC-SDNY-EPROD-003393579
• SEC-SDNY-EPROD-003393608
• SEC-SDNY-EPROD-003393623
• SEC-SDNY-EPROD-003393633
• SEC-SDNY-EPROD-003393648
• SEC-SDNY-EPROD-003393720
• SEC-SDNY-EPROD-003393743
• SEC-SDNY-EPROD-003393788
• SEC-SDNY-EPROD-003423277
• SEC-SDNY-EPROD-003425660
• SEC-SDNY-EPROD-003426868
• SEC-SDNY-EPROD-003430597
• SEC-SDNY-EPROD-003434919
• SEC-SDNY-EPROD-003506067
• SEC-SDNY-EPROD-003506519
• SEC-SDNY-EPROD-003506667
• SEC-SDNY-EPROD-003507387
• SEC-SDNY-EPROD-003551197
• SEC-SDNY-EPROD-003552658
• SEC-SDNY-EPROD-003725092
• SEC-SDNY-EPROD-004024108
• SEC-SDNY-EPROD-004024111
• SEC-SDNY-EPROD-004024112


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• SEC-SDNY-EPROD-004024115
• SEC-SDNY-EPROD-004024117
• SEC-SDNY-EPROD-004024119
• SEC-SDNY-EPROD-004024120
• SEC-SDNY-EPROD-004024124
• SEC-SDNY-EPROD-004024125
• SEC-SDNY-EPROD-004024128
• SEC-SDNY-EPROD-004024129
• SEC-SDNY-EPROD-004024131
• SEC-SDNY-EPROD-004024132
• SEC-SDNY-EPROD-004024136
• SEC-SDNY-EPROD-004024137
• SEC-SDNY-EPROD-004024139
• SEC-SDNY-EPROD-004024140
• SEC-SDNY-EPROD-004024144
• SEC-SDNY-EPROD-004024145
• SEC-SDNY-EPROD-004024148
• SEC-SDNY-EPROD-004024149
• SEC-SDNY-EPROD-004024151
• SEC-SDNY-EPROD-004024152
• TAP_SDNY_000044
• TAP_SDNY_000154
• TAP_SDNY_000209
• TAP_SDNY_000282
• TAP_SDNY_000316
• TAP_SDNY_000387
• TAP_SDNY_000402
• TAP_SDNY_000500
• TAP_SDNY_000517
• TAP_SDNY_000521
• TAP_SDNY_000550
• TAP_SDNY_000580
• TAP_SDNY_000592
• TAP_SDNY_000637
• TAP_SDNY_000657
• TAP_SDNY_000665
• TAP_SDNY_000740
• TAP_SDNY_000791
• TAP_SDNY_000888
• TAP_SDNY_000902
• TAP_SDNY_001055
• TAP_SDNY_001058
• TAP_SDNY_001084
• TAP_SDNY_001120


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                            Materials Relied Upon


• TAP_SDNY_001123
• TAP_SDNY_001124
• TAP_SDNY_001125
• TAP_SDNY_001127
• TAP_SDNY_001128
• TAP_SDNY_001130
• TAP_SDNY_001131
• TAP_SDNY_001132
• TAP_SDNY_001134
• TAP_SDNY_001135
• TAP_SDNY_001136
• TAP_SDNY_001139
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• TAP_SDNY_001142
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• TAP_SDNY_001145
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• TAP_SDNY_001161
• TAP_SDNY_001163
• TAP_SDNY_001165
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• TAP_SDNY_001168
• TAP_SDNY_001170
• TAP_SDNY_001173
• TAP_SDNY_001175
• TAP_SDNY_001176
• TAP_SDNY_001177
• TAP_SDNY_001178
• TAP_SDNY_001180
• TAP_SDNY_001182
• TAP_SDNY_001183
• TAP_SDNY_001185
• TAP_SDNY_001186
• TAP_SDNY_001188


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• TAP_SDNY_001190
• TAP_SDNY_001191
• TAP_SDNY_001192
• TAP_SDNY_001199
• TAP_SDNY_001201
• TAP_SDNY_001202
• TAP_SDNY_001204
• TAP_SDNY_001209
• TAP_SDNY_001211
• TAP_SDNY_001212
• TAP_SDNY_001215
• TAP_SDNY_001218
• TAP_SDNY_001222
• TAP_SDNY_001224
• TAP_SDNY_001228
• TAP_SDNY_001229
• TAP_SDNY_001231
• TAP_SDNY_001235
• TAP_SDNY_001237
• TAP_SDNY_001240
• TAP_SDNY_001241
• TAP_SDNY_001242
• TAP_SDNY_001243
• TAP_SDNY_001244
• TAP_SDNY_001250
• TAP_SDNY_001251
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• TAP_SDNY_001256
• TAP_SDNY_001258
• TAP_SDNY_001259
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• TAP_SDNY_001263
• TAP_SDNY_001265
• TAP_SDNY_001457
• TAP_SDNY_001485
• TAP_SDNY_001485
• TAP_SDNY_001559
• TAP_SDNY_001570
• TAP_SDNY_001703
• TAP_SDNY_001716
• TAP_SDNY_001909
• TAP_SDNY_001928
• USAO_SDNY_00000001
• USAO_SDNY_00000010-00000017


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• USAO_SDNY_00000022
• USAO_SDNY_00002277-00002338
• USAO_SDNY_00003523-00003618
• USAO_SDNY_00004280
• USAO_SDNY_00004287
• USAO_SDNY_00004288
• USAO_SDNY_00004289-00004294
• USAO_SDNY_00004615-00004629
• USAO_SDNY_00004630-00004674
• USAO_SDNY_00004675-00004691
• USAO_SDNY_00004696-00004748
• USAO_SDNY_00004749-00004764
• USAO_SDNY_00004886-00004926
• USAO_SDNY_00004950-00004967
• USAO_SDNY_00004968-00005029
• USAO_SDNY_00005030-00005044
• USAO_SDNY_00005187-00005235
• USAO_SDNY_00005236-00005251
• USAO_SDNY_00005252-00005288
• USAO_SDNY_00005290-00005355
• USAO_SDNY_00005554-00005583
• USAO_SDNY_00005585-00005651
• USAO_SDNY_00005670-00005692
• USAO_SDNY_00005832-00005890
• USAO_SDNY_00005891-00005920
• USAO_SDNY_00005969-00006040
• USAO_SDNY_00006117-00006152
• USAO_SDNY_00006154-00006274
• USAO_SDNY_00006291-00006317
• USAO_SDNY_00006541-00006575
• USAO_SDNY_00006705
• USAO_SDNY_00006706
• USAO_SDNY_00006707
• USAO_SDNY_00006708
• USAO_SDNY_00006709
• USAO_SDNY_00006710
• USAO_SDNY_00006711
• USAO_SDNY_00006712
• USAO_SDNY_00006713
• USAO_SDNY_00006714
• USAO_SDNY_00006715
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• USAO_SDNY_00006717
• USAO_SDNY_00006718


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• USAO_SDNY_00006719
• USAO_SDNY_00006720
• USAO_SDNY_00006721
• USAO_SDNY_00006722
• USAO_SDNY_00006723
• USAO_SDNY_00006724
• USAO_SDNY_00006725
• USAO_SDNY_00006726
• USAO_SDNY_00006727
• USAO_SDNY_00006728
• USAO_SDNY_00006729
• USAO_SDNY_00006730
• USAO_SDNY_00006731
• USAO_SDNY_00006732
• USAO_SDNY_00006733
• USAO_SDNY_00006734
• USAO_SDNY_00006735
• USAO_SDNY_00006736
• USAO_SDNY_00006737
• USAO_SDNY_00006738
• USAO_SDNY_00006739
• USAO_SDNY_00006740
• USAO_SDNY_00006741
• USAO_SDNY_00006742
• USAO_SDNY_00006743
• USAO_SDNY_00006744
• USAO_SDNY_00006745
• USAO_SDNY_00006746
• USAO_SDNY_00006747
• USAO_SDNY_00006748
• USAO_SDNY_00006749
• USAO_SDNY_00006750
• USAO_SDNY_00006751
• USAO_SDNY_00006752
• USAO_SDNY_00006753
• USAO_SDNY_00006754
• USAO_SDNY_00006755
• USAO_SDNY_00006756
• USAO_SDNY_00006757
• USAO_SDNY_00006758
• USAO_SDNY_00006759
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• USAO_SDNY_00006761
• USAO_SDNY_00006762


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                                Materials Relied Upon


• USAO_SDNY_00006763
• USAO_SDNY_00006764
• USAO_SDNY_00006765
• USAO_SDNY_00006766
• USAO_SDNY_00006767
• USAO_SDNY_00006768
• USAO_SDNY_00006769
• USAO_SDNY_00006770
• USAO_SDNY_00006771
• USAO_SDNY_00006772
• USAO_SDNY_00006773
• USAO_SDNY_00006774
• USAO_SDNY_00006775
• USAO_SDNY_00006776
• USAO_SDNY_00006826
• USAO_SDNY_00006827
• USAO_SDNY_00007003-00007003
• USAO_SDNY_00007004-00007006
• USAO_SDNY_00007007-00007009
• USBGFS_SEC_0047111
• USBGFS_SEC_0047112
• USBGFS_SEC_0047113
• USBGFS_SEC_0047114
• USBGFS_SEC_0047115
• USBGFS_SEC_0047116
• USBGFS_SEC_0047117
• USBGFS_SEC_0047118
• USBGFS_SEC_0047119
• USBGFS_SEC_0047120
• USBGFS_SEC_0047121
• USBGFS_SEC_0047122
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• USBGFS_SEC_0047130
• USBGFS_SEC_0047131
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• USBGFS_SEC_0047136
• USBGFS_SEC_0047137
• USBGFS_SEC_0047138
• USBGFS_SEC_0047139
• USBGFS_SEC_0047140
• USBGFS_SEC_0047141
• USBGFS_SEC_0047142
• USBGFS_SEC_0047143
• USBGFS_SEC_0047144
• USBGFS_SEC_0047145
• USBGFS_SEC_0047146
• USBGFS_SEC_0047147
• USBGFS_SEC_0047148
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• USBGFS_SEC_0047151
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• USBGFS_SEC_0047153
• USBGFS_SEC_0047154
• USBGFS_SEC_0047155
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• USBGFS_SEC_0047159
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• USBGFS_SEC_0047162
• USBGFS_SEC_0047163
• USBGFS_SEC_0047164
• USBGFS_SEC_0047165
• USBGFS_SEC_0047166
• USBGFS_SEC_0047167
• USBGFS_SEC_0047168
• USBGFS_SEC_0047169
• USBGFS_SEC_0047170
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• USBGFS_SEC_0047172
• USBGFS_SEC_0047173
• USBGFS_SEC_0047174
• USBGFS_SEC_0047175
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• USBGFS_SEC_0047179


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• USBGFS_SEC_0047180
• USBGFS_SEC_0047181
• USBGFS_SEC_0047182
• USBGFS_SEC_0047183
• USBGFS_SEC_0047184
• USBGFS_SEC_0047185
• USBGFS_SEC_0047186
• USBGFS_SEC_0047187
• USBGFS_SEC_0047188
• USBGFS_SEC_0047189
• USBGFS_SEC_0047190
• USBGFS_SEC_0047191
• USBGFS_SEC_0047192
• USBGFS_SEC_0047193
• USBGFS_SEC_0047194
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• USBGFS_SEC_0047198
• USBGFS_SEC_0047199
• USBGFS_SEC_0047200
• USBGFS_SEC_0047201
• USBGFS_SEC_0047202
• USBGFS_SEC_0047203
• USBGFS_SEC_0047204
• USBGFS_SEC_0047205
• USBGFS_SEC_0047206
• USBGFS_SEC_0047207
• USBGFS_SEC_0047208
• USBGFS_SEC_0047209
• USBGFS_SEC_0047210
• USBGFS_SEC_0047211
• USBGFS_SEC_0047212
• USBGFS_SEC_0047213
• USBGFS_SEC_0047214
• USBGFS_SEC_0047215
• USBGFS_SEC_0047216
• USBGFS_SEC_0047217
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• USBGFS_SEC_0047219
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• USBGFS_SEC_0047223


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• USBGFS_SEC_0047224
• USBGFS_SEC_0047225
• USBGFS_SEC_0047226
• USBGFS_SEC_0047227
• USBGFS_SEC_0047228
• USBGFS_SEC_0047229
• USBGFS_SEC_0047230
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• USBGFS_SEC_0047241
• USBGFS_SEC_0047242
• USBGFS_SEC_0047243
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• USBGFS_SEC_0047262
• USBGFS_SEC_0047263
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• USBGFS_SEC_0047268
• USBGFS_SEC_0047269
• USBGFS_SEC_0047270
• USBGFS_SEC_0047271
• USBGFS_SEC_0047272
• USBGFS_SEC_0047273
• USBGFS_SEC_0047274
• USBGFS_SEC_0047275
• USBGFS_SEC_0047276
• USBGFS_SEC_0047277
• USBGFS_SEC_0047278
• USBGFS_SEC_0047279
• USBGFS_SEC_0047280
• USBGFS_SEC_0047281
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• USBGFS_SEC_0047286
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• USBGFS_SEC_0047300
• USBGFS_SEC_0047301
• USBGFS_SEC_0047302
• USBGFS_SEC_0047303
• USBGFS_SEC_0047304
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• USBGFS_SEC_0047307
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• USBGFS_SEC_0047312
• USBGFS_SEC_0047313
• USBGFS_SEC_0047314
• USBGFS_SEC_0047315
• USBGFS_SEC_0047316
• USBGFS_SEC_0047317
• USBGFS_SEC_0047318
• USBGFS_SEC_0047319
• USBGFS_SEC_0047320
• USBGFS_SEC_0047321
• USBGFS_SEC_0047322
• USBGFS_SEC_0047323
• USBGFS_SEC_0047324
• USBGFS_SEC_0047325
• USBGFS_SEC_0047326
• USBGFS_SEC_0047327
• USBGFS_SEC_0047328
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• USBGFS_SEC_0047332
• USBGFS_SEC_0047333
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                            Materials Relied Upon


• USBGFS_SEC_0047356
• USBGFS_SEC_0047357
• USBGFS_SEC_0047358
• USBGFS_SEC_0047359
• USBGFS_SEC_0047360
• USBGFS_SEC_0047361
• USBGFS_SEC_0047362
• USBGFS_SEC_0047363
• USBGFS_SEC_0047364
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• USBGFS_SEC_0047387
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• USBGFS_SEC_0047398
• USBGFS_SEC_0047399


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  • USBGFS_SEC_0047400
  • USBGFS_SEC_0047401
  • USBGFS_SEC_0047402
  • USBGFS_SEC_0047403
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  • USBGFS_SEC_0047405
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